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      1                        UNITED STATES DISTRICT COURT

      2           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

      3              HONORABLE S. JAMES OTERO, U.S. DISTRICT JUDGE

      4

      5   UNITED STATES OF AMERICA,            )
                                               )
      6                     Plaintiff,         )
                                               )                Case No.
      7        vs.                             )           CR 17-00697 SJO
                                               )
      8   DANIEL FLINT,                        )                VOLUME 2
                                               )           (Pages 209 - 429)
      9                     Defendant.         )
          ____________________________________ )
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    13                REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS
                                      TRIAL DAY 2
    14                        WEDNESDAY, OCTOBER 17, 2018
                                       8:51 A.M.
    15                         LOS ANGELES, CALIFORNIA

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    22        ________________________________________________________

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      1          LOS ANGELES, CALIFORNIA; WEDNESDAY, OCTOBER 17, 2018

      2                                  8:51 A.M.

      3                                     --oOo--

      4                THE COURTROOM DEPUTY:      Please come to order.     This

      5   court is again in session.        Please be seated.

      6                THE COURT:    We are back on the record on United

      7   States versus Flint.      We have counsel present, the defendant is

      8   present.

      9          And who is the Government's next witness?

    10                 MS. RO:   It's Ms. Ellen Sheahan, Your Honor.        And

    11    the witness is in the courtroom.

    12                 THE COURT:    And then the Government has filed a

    13    request for reconsideration of the Court's order regarding the

    14    404(b) evidence motion in limine, and that's Document Number

    15    105.   Does the defense intend to respond formally?

    16                 MS. WAKEFIELD:    Well, we were just reading it.       If

    17    we could have an opportunity to respond formally, we can work

    18    on that over lunch.

    19                 THE COURT:    And when do you think the opposition to

    20    the response could be filed?

    21                 MS. WAKEFIELD:    I will do my best to get it done

    22    over lunch and then file it this afternoon.

    23                 THE COURT:    Okay.    Thank you.

    24                 THE COURTROOM DEPUTY:      Ready, Your Honor?

    25                 THE COURT:    Yes.




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      1                THE COURTROOM DEPUTY:     All rise for the jury,

      2   please.

      3         (In the presence of the jury.)

      4                THE COURT:    We have our jury reassembled with our

      5   alternate.     Counsel are present with the defendant.       Please

      6   have a seat.

      7         The Government is able to call their next witness.           And

      8   just to remind the jury, we are on a tight schedule, so try to

      9   do your best to be here on time.       I recognize that this morning

    10    there's a Dodger game that's in progress -- well, that starts

    11    at 2:00, but the fans are already lining up at Elysian Stadium,

    12    so I recognize the traffic was heavy this morning.

    13          And with that, you may call your next witness.

    14                 MS. RO:   Thank you, Your Honor.      The United States

    15    calls Ms. Ellen Sheahan to the stand.

    16                 THE COURTROOM DEPUTY:     Good morning, ma'am.      Would

    17    you please come forward.

    18          Good morning.     Would you please stop right there, and

    19    raise your right hand to be sworn.

    20               ELLEN SHEAHAN, GOVERNMENT WITNESS, WAS SWORN

    21                 THE WITNESS:    I do.

    22                 THE COURTROOM DEPUTY:     Thank you.    Please be seated.

    23          Ma'am, for the record, would you please state your name,

    24    and then spell your last name.

    25                 THE WITNESS:    Ellen Sheahan, S-h-e-a-h-a-n.




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      1                 THE COURTROOM DEPUTY:    Thank you.

      2                 THE COURT:   Your witness.

      3                 MS. RO:   Thank you.

      4                              DIRECT EXAMINATION

      5   BY MS. RO:

      6   Q     Good morning, Ms. Sheahan.

      7   A     Good morning.

      8   Q     What is your occupation?

      9   A     I am a transportation security manager at Midway Airport

    10    in Chicago.

    11    Q     How long have you worked at Midway?

    12    A     I have worked at Midway since March of 2017, so about a

    13    year and a half so far.

    14    Q     And how long have you worked for TSA?

    15    A     I have worked for TSA since September of 2002, so over 16

    16    years now.

    17    Q     And where did you work prior to working at Midway?

    18    A     I worked at O'Hare International Airport for 14-1/2 years.

    19    Q     And you stated you are a transportation security manager,

    20    correct?

    21    A     Yes, I am.

    22    Q     And what are your duties as a transportation security

    23    manager?

    24    A     As a manager I'm in charge of overseeing the screening

    25    operations, mainly checkpoint and baggage operations, ensuring




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      1   that we are following Standard Operating Procedures, the

      2   officers are trained, they maintain their certifications.            I'm

      3   in charge of their payroll, their discipline and their

      4   performance reviews as well as all of their DARP reports.

      5   Q      Have you held prior positions, other than a transportation

      6   security manager, with TSA?

      7   A      Yes.   I was a supervisory transportation security officer

      8   at O'Hare for approximately, I want to say, eight years.

      9   Q      And what were your duties as a supervisor at O'Hare for

     10   those eight years?

     11   A      Pretty similar to the manager, I mean, more or less.          I

     12   was in charge of the officers directly, so as a supervisor, I

     13   could have approximately 80 direct reports.          As a manager, it

     14   would be more along the lines of 200, 252, actually, at one

     15   point at O'Hare.     Same thing as a supervisor, you're directly

     16   responsible for your officers, directly responsible for

     17   managing that particular checkpoint or baggage zone that you

     18   are in charge of and making sure that the Standard Operating

     19   Procedures are being carried out.

     20   Q      And are airports characterized in certain categories?

     21   A      Yes, they are.

     22   Q      And what's the category of -- can you explain those

     23   categories to the jury?

     24   A      Well, there's five categories.       There's a Cat X airport,

     25   and there's Cat 1, 2, 3 and 4 airports, and in that order,




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      1   largest being the Cat X, the smallest being the Cat 4

      2                THE REPORTER:     I'm sorry.    Slow down.   Say that

      3   again.

      4                THE WITNESS:    The largest airport being a Category

      5   X, and the smallest being a Category 4.

      6   BY MS. RO:

      7   Q      And do you know what O'Hare is categorized as?

      8   A      O'Hare is a Cat X airport.

      9   Q      And you said that's the largest?

     10   A      The largest of that category, yes.

     11   Q      And how is Midway characterized?

     12   A      It is a Cat 1 airport.

     13   Q      And based on your personal experience, if you know, how

     14   many TSA officers are in O'Hare compared to Midway?

     15   A      At O'Hare they have approximately close to 1600 employees,

     16   and at Midway, we have approximately about 430 employees.

     17   Q      And, again, based on your personal knowledge and personal

     18   experience, do you know how many flights depart from O'Hare

     19   versus Midway?

     20   A      I can probably tell you more of how many passengers would

     21   go through O'Hare versus Midway.        The departures are hundreds

     22   of thousands at O'Hare, so I couldn't get you an accurate

     23   answer on that.

     24   Q      It's hundreds of thousands a day for one day?

     25   A      A year.




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      1   Q      A year.

      2          And Midway, in terms of passengers in comparison?

      3   A      Passengers at Midway are far less than at O'Hare.          I would

      4   like to give you an example.       I know that for today at Midway

      5   about 18,000 are going to go through, and I know that just from

      6   checking the staffing or the -- sorry, the departing passengers

      7   today.    At O'Hare, again, I haven't been there in a year, but

      8   pretty much on average would have about 75,000 to -- I think my

      9   high was 98,000 in one day.

     10   Q      And based on your experience at O'Hare and Midway, have

     11   you handled a diplomatic pouches before?

     12   A      Could you repeat the question?

     13   Q      Have you handled diplomatic pouches before?

     14   A      Yes, I have.

     15   Q      And how many?

     16   A      At O'Hare?

     17   Q      Yes.

     18   A      At least 20, that I can think of.

     19   Q      And what about at Midway?

     20   A      None.

     21   Q      Are you familiar with the term "specialized screening"?

     22   A      I am.

     23   Q      And what is specialized screening?

     24   A      Specialized screening is a different procedure you would

     25   apply to diplomatic pouches, is one example.          A specialized




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      1   screening would apply to organs people are transferring,

      2   remains.      Sometimes we have scientific equipment, biohazards,

      3   things of that sort, they are screened in a different fashion.

      4   Q      And what types of specialized screening have you had

      5   experience with at O'Hare?

      6   A      All of the above.

      7   Q      And how about at Midway?

      8   A      None.

      9   Q      Why is that?

     10   A      It's a smaller airport.      They don't have a lot of

     11   international travel.      It's just not common there.       The number

     12   of people that come through, it's not likely.

     13   Q      Do you know what type of training Midway supervisors

     14   receive versus O'Hare supervisors?

     15   A      Every supervisor receives the same training.         They all go

     16   through the same training process.

     17   Q      Is there any difference between the experience or the

     18   level of experience at O'Hare supervisors versus Midway

     19   supervisors?

     20   A      Yes.    O'Hare supervisors are more experienced.

     21   Q      And why is that?

     22   A      Well, they see more in a day than somebody would see at

     23   Midway in a year.      They are -- it's with the volume, again,

     24   that comes through with the number of people that they work

     25   with and other people that are experienced, they definitely




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      1   have more knowledge.

      2   Q      And were you working as a transportation security manager

      3   at Midway in July of 2017?

      4   A      Yes, I was.

      5   Q      And are you familiar with two events that occurred at

      6   Midway in July 2017 as it pertained to diplomatic pouches?

      7   A      Yes.

      8   Q      And how are you familiar with the two events?

      9   A      The one event I had to write the after-action report,

     10   incident report regarding the event on July 20th.

     11   Q      And why did you have to write that after-action report?

     12   A      Because I was the manager on duty when we discovered the

     13   error, so --

     14   Q      And how did you discover the error?

     15   A      So I came to work the next day.       I go through my e-mail

     16   prior to staff briefings and gather up pertinent information

     17   for the briefing.     I received a BOLO the night before at 10:00

     18   from our coordination center, which was forwarded from the ORD

     19   coordination center.      The BOLO was basically regarding a

     20   diplomatic pouch be on the lookout for.         There was an

     21   individual that was trying to circumvent security at O'Hare.

     22          I brought that printout to the briefing, at the 12:00

     23   briefing.     I began to brief the officers about, you know, being

     24   conscious of this potential threat, and that's when one of the

     25   officers raised his hand and said, "We had one yesterday."               And




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      1   when we investigated further, we discovered that they were the

      2   same.

      3   Q       When you say you discovered they were the same, what was

      4   the same?

      5   A       The individual that was in the BOLO.

      6   Q       BOLO?

      7   A       Be on the lookout for.

      8   Q       BOLO?

      9   A       Correct.

     10                   THE COURT:   Before you continue, is there a

     11   definition as to diplomatic pouch?        How is it defined, if you

     12   know?

     13                   THE WITNESS:   A diplomatic pouch, when it's

     14   presented, has certain criteria you have to have in order to

     15   receive that specialized screening.        You can have a diplomatic

     16   bag or a diplomatic pouch.       Diplomatic bags are dropped with

     17   baggage side of security.       Diplomatic pouches are typically

     18   carried through the checkpoint with a courier, and there's --

     19   you have to have a diplomatic passport.         You have to have a

     20   letter from the Department of State.        If that letter is in

     21   Polish or another language, you have to have a second letter in

     22   English, and it has to have the seal, those types of criteria.

     23                   THE COURT:   The pouch actually has a seal?

     24                   THE WITNESS:   The pouch is not sealed.     It's marked

     25   "Deemed diplomatic pouch."       The bags that go in the baggage




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      1   system actually do have the seal.         There should be a seal or a

      2   tag of some type on the pouch, but it's more important the

      3   diplomatic -- the letter and the passport.

      4                  THE COURT:   Are they --

      5                  THE WITNESS:   And those items don't get screened.

      6   That's the specialized screening.

      7                  THE COURT:   Is there a limitation as to size of

      8   pouch?

      9                  THE WITNESS:   No.

     10                  THE COURT:   Thank you.

     11   BY MS. RO:

     12   Q      And if I could turn your direction to the exhibit binder.

     13   It's the black binder right in front.

     14          Yes.

     15          And if you can turn to what's been previously marked as

     16   Government's Exhibit 36.

     17          (Exhibit 36 for identification.)

     18   BY MS. RO:

     19   Q      Do you recognize the first page of Exhibit 36?

     20   A      I do.

     21   Q      What is it?

     22   A      This is the original BOLO that came from O'Hare Airport to

     23   Midway.

     24   Q      And how do you recognize it?

     25   A      Because that's the exact e-mail I received.




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      1   Q       How about page 2 of Exhibit 36, do you recognize that?

      2   A       Yes.   This is the attachment that was with that e-mail.

      3                  MS. RO:   United States moves to introduce

      4   Government's Exhibit 36 into evidence.

      5                  THE COURT:   Any objection?

      6                  MS. WAKEFIELD:   One moment, Your Honor.

      7           (Discussion off the record.)

      8                  MS. WAKEFIELD:   No objection.

      9                  THE COURT:   36 is received.

     10           (Exhibit 36 received into evidence.)

     11                  MS. RO:   Your Honor, permission to publish to the

     12   jury.

     13                  THE COURT:   Yes.

     14   BY MS. RO:

     15   Q       On the screen to your right, is this the e-mail that you

     16   indicated the BOLO, be on the lookout?

     17   A       Yes.

     18   Q       Sorry.

     19           And is this page 2 of the exhibit, the attachment?

     20   A       Yes.

     21   Q       And if I could turn your attention to the binder again to

     22   Government's Exhibit 46.

     23           (Exhibit 46 for identification.)

     24                  MS. RO:   46 that I'm showing defense counsel.

     25   Q       Do you recognize that exhibit?




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      1   A      Repeat the question, please.

      2   Q      Do you know what's on the exhibit?

      3   A      Yes.

      4   Q      And what is on the exhibit?

      5   A      It's a passport and a diplomatic passport.

      6   Q      Is it a United States --

      7   A      Yes.

      8   Q      Is it a true and accurate depiction of the official --

      9          I apologize, Your Honor.      Strike that.

     10          Is it a true and accurate depiction of a United States

     11   diplomatic passport?       And is there another passport shown in

     12   that image?

     13   A      There's the -- I don't understand your question.          I'm

     14   sorry.

     15   Q      No, I will ask it in a better way.

     16          What do you see in that exhibit?

     17   A      I see a United States passport, and then I see a

     18   diplomatic passport, also United States.         That would be what

     19   they look like on the outside.

     20                 MS. RO:   The United States moves to introduce

     21   Exhibit 46.

     22                 MS. WAKEFIELD:    No objection.

     23                 THE COURT:    Received.

     24          (Exhibit 46 received into evidence.)

     25   BY MS. RO:




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      1   Q      You mentioned a diplomatic pouch.       The courier needs to

      2   carry a diplomatic passport.       On the screen here, which one is

      3   a United States diplomatic passport?

      4   A      The passport on the right.

      5   Q      And how do you know that's the diplomatic passport?

      6   A      Because that's what it says across the front of the

      7   passport.    I have seen them before.

      8   Q      And going back to the two events in July '17 at Midway

      9   regarding the diplomatic pouch.        How were you aware of the

     10   second event?

     11   A      Well, after the first event happened, we were having a

     12   meeting on Tuesday morning, at 11:00, with FSD staff, like we

     13   do every Tuesday.

     14   Q      And what does FSD stand for?

     15   A      Federal security director.      FSD staff is anyone with FSD

     16   in their title.     So it could be the AFSD, which is the

     17   assistant federal security director.        The deputy assistant

     18   federal security director was there, the actual federal

     19   security director was there, so it's all of our top staff.               We

     20   have a meeting with management, all the TSMs, video behavioral

     21   detection office manager, and we were discussing the event that

     22   happened on the 20th and --

     23   Q      And what happened during that -- I apologize -- a briefing

     24   or meeting that you said?

     25   A      It's a meeting.




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      1   Q      And what happened during that meeting?

      2   A      We went over what -- we call it a hot wash, what happened,

      3   what we did wrong, what we did right, and basically we were

      4   discussing what is required.       Some people need to know like

      5   what exactly they need to do when they have this situation.

      6   And one of the other managers mentioned that -- well, one

      7   person said -- sorry -- that they've never seen one or they

      8   never had this situation, and another manager then interjected

      9   saying, "That's really funny, because I just had another one

     10   this morning."     And that's when the FSD and I looked at each

     11   other like, you know, "What did you just say?"          And so she

     12   reiterated what she said, and that's how we, you know -- it

     13   was -- being that it never happens there, that was awfully

     14   coincidental for something to happen two times in a week, so

     15   that's when action was taken.

     16   Q      And what action was taken?

     17   A      Mr. McCarthy, who is the federal security director, went

     18   downstairs.    They pulled video.      They identified the individual

     19   as being one and the same from the 20th, and they contacted --

     20   Federal Security Director McCarthy informed me later that he

     21   contacted LAX, and they were able to identify what flight he

     22   was on and where he was going and what gate he was coming to.

     23   Q      And after the first event, was some type of training tool

     24   created to discuss on the meeting that you just discussed

     25   happening for the second event?




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      1   A      Yes.    I believe the AFSD John Comston directed the

      2   training department to put out some -- a job aid, more or less,

      3   to the staff to -- you know, the step by step as a reminder of

      4   if this happens, this is -- these are the things you must have

      5   and must be the criteria that must be met in order for a

      6   diplomatic pouch to not be screened.

      7   Q      If I could turn your direction to Government's Exhibit 31.

      8          (Exhibit 31 for identification.)

      9   BY MS. RO:

     10   Q      Do you recognize this?

     11   A      I do.

     12   Q      And how do you recognize it?

     13   A      This is the training bulletin or what I just referred to

     14   as a job aid that we received from the training department.

     15   Q      After the first event?

     16   A      After the first event.

     17                  MS. RO:   The United States moves to introduce

     18   Exhibit 31 into evidence.

     19                  MS. WAKEFIELD:   No objection.

     20                  THE COURT:   Received.

     21          (Exhibit 31 received into evidence.)

     22   BY MS. RO:

     23   Q      You stated Mr. McCarthy reviewed surveillance videos

     24   regarding the July 25th, 2017 event.

     25   A      I believe he did, yes.




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      1                  MS. RO:   Your Honor, may I have a moment with

      2   defense counsel regarding the exhibits?

      3                  THE COURT:   Yes.

      4          (Discussion off the record.)

      5   BY MS. RO:

      6   Q      If I could turn your direction to the exhibits that are

      7   marked as Government's Exhibits 24 to 27.         And I apologize,

      8   they are in the manila folders right in front of you.

      9          (Exhibits 24 through 27 for identification.)

     10                  THE WITNESS:   Okay.

     11   BY MS. RO:

     12   Q      Do you recognize those exhibits?

     13   A      I do.

     14   Q      And how do you recognize them?

     15   A      I recognize them because my initials are on them.          Those

     16   are DVDs of video footage, CCT video footage from Midway

     17   Airport.

     18   Q      And from July 25th, 2017?

     19   A      Yes.

     20   Q      And how do you know that?

     21   A      Because I watched them.

     22   Q      And how do you know that this depicts the incident of July

     23   25th, 2017, after you've watched them personally?

     24   A      Well, I recognize the checkpoint very well, obviously, and

     25   there's always the date on there, and that's -- the events




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      1   match what happened.

      2                MS. RO:    United States moves to introduce Exhibits

      3   24 to 27 into evidence.

      4                THE COURT:    Any objection?

      5                MS. WAKEFIELD:     Our only objection is we haven't

      6   seen these clips, so we don't know which clips they refer to,

      7   but --

      8                THE COURT:    Well, you were provided a copy of

      9   Government's Exhibit list.

     10                MS. WAKEFIELD:     Yes, but not the clips that they are

     11   referring to, just the entire video.        So there's no objection.

     12                THE COURT:    No objection.     It's received, both.

     13          (Exhibits 24 through 27 received into evidence.)

     14                MS. RO:    Your Honor, may I have one quick moment?

     15                THE COURT:    Yes.

     16          (Discussion off the record.)

     17                MS. RO:    Nothing further.

     18                THE COURT:    Cross?

     19                               CROSS-EXAMINATION

     20   BY MS. WAKEFIELD:

     21   Q      Good morning.

     22   A      Good morning.

     23   Q      Now, at no point did you speak with Mr. Flint, correct?

     24   A      No, I did not.

     25   Q      You weren't present at the checkpoint on July 20th?




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      1   A      No, I was not.

      2   Q      And you were not present at the checkpoint on July 25th?

      3   A      No, I was not.

      4   Q      And you didn't speak with Mr. Flint, correct?

      5   A      As I said, no.

      6   Q      And you didn't ask him any questions, right?

      7   A      That would be a no.

      8   Q      So your role was to oversee the investigation into what

      9   happened at Midway?

     10   A      Correct, yes.

     11   Q      And as part of your investigation, you identified all of

     12   the TSA officers who interacted with Mr. Flint?

     13   A      Yes.

     14   Q      And all of the TSA officers who interacted with him on

     15   July 20th, correct?

     16   A      Just the July 20th.

     17   Q      Just the July 20th.

     18          And you spoke with all of those officers?

     19   A      Yes.

     20   Q      And you directed them to write reports about what

     21   happened?

     22   A      When an incident happens, they are required to give a

     23   statement.

     24   Q      And they gave a written statement?

     25   A      They gave a written statement.




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      1   Q      And you reviewed those written statements?

      2   A      I did.

      3   Q      And you signed off on the written statements as the

      4   reviewing officer?

      5   A      I signed off on the incident report as the reviewing

      6   officer.

      7   Q      And the incident report had a portion where the officer

      8   handwrote what happened?

      9   A      There's one page that, yes, they can write that, but often

     10   when you have multiple people, we just Xerox like -- I think

     11   it's page 4 and, you know, use that several times in there, but

     12   yes, or they can provide a Word document, but either way --

     13   Q      Okay.

     14   A      -- they are all there in the report.

     15   Q      And you also spoke with all of the officers?

     16   A      I did.

     17   Q      Directly, right?

     18   A      Yes.

     19   Q      And based on your investigation, you then wrote the

     20   after-action report?

     21   A      I did.

     22   Q      And you distributed your after-action report to Midway

     23   security?

     24   A      I distribute after-action reports to FSD staff, the

     25   coordination center, and TSMs.




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      1   Q      Now, the first TSA officer who had contact with Mr. Flint

      2   on July 20th was Keyona Clanton?

      3   A      Yes.

      4   Q      And Ms. Clanton was working at the TSA precheck podium

      5   that day?

      6   A      Yes, a TAC.

      7   Q      So she would have been the officer who scanned Mr. Flint's

      8   boarding pass, right?

      9   A      I believe so, yes.

     10   Q      Now, during your investigation you learned that Mr. Flint

     11   asked Ms. Clanton for a supervisor, correct?

     12   A      A supervisor was called.

     13   Q      And that's because Mr. Flint asked for one, correct?

     14                 MS. RO:   Objection; lack of foundation, speculative.

     15                 THE COURT:   Do you have personal knowledge?

     16                 THE WITNESS:   No.

     17                 THE COURT:   Sustained.

     18   BY MS. WAKEFIELD:

     19   Q      Ms. Clanton in her written report didn't write anything

     20   about Mr. Flint asking for a supervisor?

     21   A      Can I see the written report?

     22   Q      Would it refresh your memory to look at her written

     23   statement?

     24   A      It would.

     25                 MS. RO:   Objection; hearsay.




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      1                 THE COURT:   She's just asking for her memory to be

      2   refreshed.     It's overruled.

      3   BY MS. WAKEFIELD:

      4   Q      So there should be some binders up there, and it will be

      5   in the skinnier binder, I believe, which is Defense Exhibit

      6   265.

      7          (Exhibit 265 for identification.)

      8                 THE WITNESS:   I'm assuming all these ones on the

      9   floor --

     10   BY MS. WAKEFIELD:

     11   Q      Yes, those are ours.       And I apologize, it might be the

     12   bigger binder.

     13   A      They all have the same number, I believe.         Am I looking in

     14   the wrong place?

     15                 THE COURTROOM DEPUTY:     Your Honor, may I assist?

     16                 THE COURT:   Yes.

     17                 THE WITNESS:   Please.    Thank you.

     18                 THE COURTROOM DEPUTY:     What exhibit number are you

     19   looking for?

     20                 MS. WAKEFIELD:     265.

     21                 THE COURTROOM DEPUTY:     265?

     22                 MS. WAKEFIELD:     Yes.

     23                 THE COURTROOM DEPUTY:     That doesn't appear to be in

     24   the binder.

     25                 MS. WAKEFIELD:     It should be the larger of the




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      1   binders.

      2   Q      And if you could read the third sentence, and let me know

      3   when you're done.

      4   A      "He said he wanted to speak with a supervisor."

      5   Q      Does that refresh your memory?

      6   A      Yes.

      7   Q      And -- thank you.

      8          And so Mr. Flint asked for a supervisor.        And in response,

      9   supervisor Enrique Rivera came to the precheck podium, right?

     10                 MS. RO:   Objection, Your Honor; lacks foundation,

     11   and the witness read the report out loud and didn't state it

     12   refreshed her memory prior to reading that statement.

     13                 THE COURT:   She did read it out loud, so what's --

     14   repeat the question again.

     15   BY MS. WAKEFIELD:

     16   Q      Because Mr. Flint asked for a supervisor, Enrique Rivera,

     17   who's a supervisor, came to the precheck podium?

     18                 THE COURT:   Do you have an objection?

     19                 MS. RO:   Objection; hearsay.

     20                 THE COURT:   Sustained.

     21   BY MS. WAKEFIELD:

     22   Q      Now, Mr. Rivera eventually came to the precheck podium,

     23   right?

     24   A      From what was reported?

     25   Q      Yes.




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      1   A      He was standing there already.

      2   Q      He was standing there.

      3          And he eventually called a more senior supervisor,

      4   Mr. Clay Yoksas, right?

      5   A      Correct.

      6   Q      And Mr. Yoksas, you determined, was the officer who

      7   reviewed Mr. Flint's documentation, correct?

      8   A      Correct.

      9   Q      And you determined that Mr. Yoksas was the officer that

     10   concluded that Mr. Flint satisfied the diplomatic pouch

     11   requirements, correct?

     12   A      Repeat that, please.

     13   Q      Sorry.   Mr. Yoksas was the officer who ultimately

     14   concluded that Mr. Flint could proceed without the pouch being

     15   screened?

     16   A      He made that decision, yes.

     17   Q      Yes.   That was his decision, right?

     18   A      Correct.

     19   Q      And he was a supervisor who was called to deal with the

     20   situation?

     21   A      Yes.

     22                 MS. WAKEFIELD:    May I have a moment, Your Honor?

     23                 THE COURT:   Yes.

     24          (Discussion off the record.)

     25   BY MS. WAKEFIELD:




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      1   Q      The Government asked you some questions about the relative

      2   sizes of O'Hare versus Midway.       Do you recall that?

      3   A      Yes.

      4   Q      And you testified that more people come through with

      5   specialized screening items at O'Hare, right?

      6   A      Yes.

      7   Q      And so it's more common at O'Hare for people to come

      8   through with items requiring specialized screening?

      9   A      Yes.

     10   Q      And at Midway it's not as common?

     11   A      No.

     12   Q      It would stand out more if someone had an item requiring

     13   specialized screening?

     14   A      It should.

     15                 MS. WAKEFIELD:    Nothing further.

     16                 MS. RO:   Just one quick question, Your Honor.

     17                             REDIRECT EXAMINATION

     18   BY MS. RO:

     19   Q      You stated that "it should," with some hesitation.          Can

     20   you expand on that answer?

     21   A      It's something that I -- I'm used to people not having to

     22   question at O'Hare.      It's almost second nature.      So supervisors

     23   can handle that, and they do regularly, meaning it's something

     24   that I would think that would be easy.         But at Midway, they

     25   have the same training, but it's one of those things if you




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      1   don't see it very often, I think they may forget their

      2   training, so -- and that's kind of what I meant by that.

      3                MS. RO:    Nothing further, Your Honor.

      4                MS. WAKEFIELD:     Nothing.   Thank you.

      5                THE COURT:    Just for point of clarification,

      6   there's -- how many categories of passports are there?           There's

      7   your standard passport, the diplomatic passport, there's an

      8   official passport; is that correct?

      9                THE WITNESS:    Yes, there's the red one, the

     10   maroon-colored one.

     11                THE COURT:    And what's the difference between the

     12   three passports?

     13                THE WITNESS:    You're speaking for the United States

     14   passport?

     15                THE COURT:    Yes.

     16                THE WITNESS:    The diplomatic passport is simply for

     17   couriers.    I did deal with those with pilots as well because

     18   there are a lot of international pilots.

     19                THE COURT:    And then the official passport?

     20                THE WITNESS:    Is the blue passport.

     21                THE COURT:    And what does that do?

     22                THE WITNESS:    It's your identification if you want

     23   to travel internationally.

     24                THE COURT:    How does it differ from a regular

     25   passport?




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      1                  THE WITNESS:   I don't have it in front of me.       I'm

      2   not going to make guesses.       I just know there's a difference.

      3   There's basic information, but I'm not from the --

      4                  THE COURT:   State department.

      5                  THE WITNESS:   Yeah, or the customs.

      6                  THE COURT:   Okay.    Thank you.

      7          Thank you.    May the witness be excused?

      8                  MS. RO:   Yes, Your Honor.

      9                  THE COURT:   Thank you.

     10          You're excused.      Thank you for your testimony.

     11          Next?

     12                  MR. YANNIELLO:   Thank you, Your Honor.      The

     13   Government calls Raja Wondrasek.

     14                  THE COURTROOM DEPUTY:     Good morning, ma'am.     Would

     15   you please come forward.

     16          Would you please stop right there and raise your right

     17   hand to be sworn.

     18              RAJA WONDRASEK, GOVERNMENT WITNESS, WAS SWORN

     19                  THE WITNESS:   Yes.

     20                  THE COURTROOM DEPUTY:     Thank you.   Would you please

     21   be seated.

     22          Ma'am, for the record, would you please state your name,

     23   and spell your last name.

     24                  THE WITNESS:   Raja Wondrasek, W-o-n-d-r-a-s-e-k.

     25                  THE COURT:   There's a request for the Government to




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      1   not use acronyms.

      2                              DIRECT EXAMINATION

      3   BY MR. YANNIELLO:

      4   Q       Good morning, Ms. Wondrasek.      How are you doing?

      5   A       Good morning.   Good.

      6   Q       What's your current occupation?

      7   A       I'm a flight attendant for Southwest Airlines.

      8   Q       And how long have you been a flight attendant with

      9   Southwest?

     10   A       Eight months.

     11   Q       And what was your occupation before?

     12   A       I was a transportation security manager for TSA.

     13   Q       And what airport did you work at?

     14   A       Chicago Midway.

     15   Q       And were you -- you said -- how long had you worked as a

     16   TSA agent?

     17   A       For a total of 15 years.

     18   Q       And you said you were a manager in your last position?

     19   A       Correct.

     20   Q       And were you working as a TSA manager in July 2017?

     21   A       Yes.

     22   Q       Can you generally describe your job duties as of July

     23   2017.

     24   A       So my primary job is to protect the traveling public and

     25   to oversee operations on the checkpoint.




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      1   Q      And have you ever encountered somebody claiming they had a

      2   diplomatic pouch?

      3   A      Yes.

      4   Q      How many times?

      5   A      Once.

      6   Q      So once out of 15 years?

      7   A      Correct.

      8   Q      And did that happen on July 25th, 2017?

      9   A      Yes.

     10   Q      And how were you alerted to somebody claiming they had a

     11   diplomatic pouch?

     12   A      My supervisor, Joe Stone, called me on my duty cell phone,

     13   and he explained to me that he had a diplomatic pouch.           It was

     14   his first time handling one, and he wanted my assistance to

     15   make sure that he was doing the proper procedures for the

     16   diplomatic pouch.

     17   Q      And what was -- what were you doing at the time?

     18   A      I was in the supervisors office checking my e-mails.

     19   Q      And why were you checking your e-mails?

     20   A      I had been on vacation for a week, so I was catching up on

     21   my e-mails.

     22   Q      And did you see any e-mails that morning that related to

     23   diplomatic pouches?

     24   A      I saw a training memo.

     25   Q      And had you seen that before the call, or did you look for




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      1   it after the call?

      2   A      I had remembered seeing it, so I did briefly look at it,

      3   but I searched for this particular e-mail once I got the call

      4   from Joe.

      5   Q      I pulled up what's been previously admitted as

      6   Government's Exhibit 31.      Do you recognize this?

      7   A      Yes.

      8   Q      What is it?

      9   A      It's the training memo that was sent by the training

     10   department.

     11   Q      And this is the training memo that you reviewed that

     12   morning?

     13   A      Correct, this is the memo, yes.

     14   Q      And you said when you received the call from Joe Stone,

     15   you pulled up your e-mail with this memo in it and you reviewed

     16   it; is that correct?

     17   A      Correct.

     18   Q      And you knew that somebody was waiting downstairs.          So can

     19   you just approximate how long you reviewed the memo?

     20   A      Maybe ten minutes, five to ten minutes because it was the

     21   first time I had seen it and I wanted to make sure that I had

     22   everything I needed.

     23   Q      And there's references in this training bulletin to

     24   SS SOP.     What does that refer to?

     25   A      The procedures on screening a diplomatic pouch.




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      1   Q      And those would be referenced in the Standard Operating

      2   Procedures, correct?

      3   A      Correct.

      4   Q      Okay.    And so what happened after you reviewed this memo?

      5   A      So after I reviewed the memo, I closed my computer.          I

      6   went to where Joe was.      He was in Pod 2 by Lane 4, which is a

      7   precheck.      I went over to Joe, and I asked him, "What kind of

      8   documentation did you have?       Where was the diplomatic pouch?"

      9   So he had everything laid out on the table, which was a courier

     10   letter, there was a driver's license, a passport card and a bar

     11   card, yes.

     12   Q      And when you refer to a bar card, what is that?

     13   A      It's a -- it had the information on it of Mr. Flint, like

     14   it had his name.     It was basically like a business card.

     15   Q      Did it state that Mr. Flint was an attorney?

     16   A      Yes.

     17   Q      And so when you arrived, you saw these -- you saw the

     18   courier letter, you said, and you saw these three forms of

     19   identification.      And what did you do next?

     20   A      So I looked at the courier letter.        I looked at the

     21   diplomatic pouch.      I was basically comparing the numbers,

     22   looking for the raised seal on the letter.         I looked at his

     23   name, identification.      And I was talking to Joe to make sure

     24   that we had everything that -- that everything was there that

     25   was a requirement for a diplomatic pouch.




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      1   Q      You said you were talking to Joe.         Did you speak with the

      2   defendant?

      3   A      No.     Actually, I introduced myself, and then I proceeded

      4   to talk to Joe.

      5   Q      And what was the defendant doing when you were talking to

      6   Joe?

      7   A      In the beginning he was standing to the left side of us,

      8   and then I asked him to come around in front of me.           So he was

      9   basically standing by the TDC area.

     10   Q      Okay.    I'm going to play a clip, what's been admitted as

     11   Government's Exhibit 26.

     12          (Video recording played in open court.)

     13                  THE COURT:   I don't have 26.     Let me check with the

     14   clerk as being admitted.

     15                  THE COURTROOM DEPUTY:    Yes, 26 was admitted with 24

     16   through 27.

     17                  THE COURT:   Okay.   Thank you.

     18   BY MR. YANNIELLO:

     19   Q      I'm sorry, Ms. Wondrasek, one additional question.          Do you

     20   recognize the individual who you interacted with that day in

     21   the courtroom?

     22   A      Yes.

     23   Q      Could you please identify that person by what they are

     24   wearing or where they are sitting?

     25   A      He has on a blue suit, a white shirt, and a blue tie.




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      1                 MR. YANNIELLO:    Let the record reflect --

      2                 THE COURT:   Identifying Mr. Flint.

      3                 THE WITNESS:   He's sitting right there.

      4   BY MR. YANNIELLO:

      5   Q      Ms. Wondrasek, back to the video, do you recognize the TSA

      6   agent on the left of the screen?

      7   A      Yes, that's Joe Stone.

      8          (Video recording played in open court.)

      9   BY MR. YANNIELLO:

     10   Q      Who just entered the frame?

     11   A      I did.

     12   Q      And so at this point where is the defendant?

     13   A      He's standing to the left by the TDC podiums, right at the

     14   end of the table.

     15   Q      So at this point you're speaking to Joe about -- he's

     16   basically bringing you up to speed about what's happened so

     17   far?

     18   A      Correct.

     19          (Video recording played in open court.)

     20   BY MR. YANNIELLO:

     21   Q      So what are you doing here?

     22   A      So I'm talking to Joe about the documentation that I had

     23   in my hand.

     24   Q      Do you know what you're looking at in that frame?

     25   A      It looks like it's the diplomatic passport card, or it's




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      1   kind of hard to tell, but I believe that's what I'm looking at,

      2   and then there's the courier letter on the table.

      3          (Video recording played in open court.)

      4   BY MR. YANNIELLO:

      5   Q      And who just walked into the frame?

      6   A      Mr. Flint.

      7   Q      And what did he do immediately upon arriving?

      8   A      It looks like he's pointing at the bottom of the letter.

      9          (Video recording played in open court.)

     10   BY MR. YANNIELLO:

     11   Q      Can you generally describe what was going on in the last

     12   20 seconds.

     13   A      So I'm talking to Joe Stone, verifying that the numbers

     14   coincide with the numbers that are on the letter, the letters

     15   match up on the diplomatic pouch, and I was looking at his

     16   identification.     So I'm just basically making sure that all --

     17   he has all the documentation that was required.

     18   Q      So is one of the things that TSA agents are trained in is

     19   to match to make sure different numbers line up with different

     20   forms of identification?

     21   A      Correct.

     22   Q      And to make sure that names are the same on different

     23   identification documents?

     24   A      Correct, yes.

     25   Q      Is that why you were -- is there something, I guess,




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      1   specific in the Standard Operating Procedures regarding

      2   diplomatic pouches that require you to confirm all those

      3   numbers, or is it something that you're just generally trained

      4   in?

      5   A       There is something in the SOP and also what we're trained

      6   on.     So anyone that has a diplomatic pouch, it has to be

      7   annotated on the documentation.        It has to say "Diplomatic

      8   pouch."       The number on the diplomatic pouch has to match the

      9   same number on the courier letter, as well as I believe there's

     10   another number that goes on there as well.

     11           (Video recording played in open court.)

     12                   THE WITNESS:   So that's what I'm doing, I'm

     13   verifying that everything is there with Joe.

     14           (Video recording played in open court.)

     15   BY MR. YANNIELLO:

     16   Q       So do you recall what the defendant brought you here?

     17   A       I believe that's a larger copy of the diplomatic passport

     18   card.

     19   Q       So he had a larger copy of the actual card in his binder?

     20   A       Yes.

     21           (Video recording played in open court.)

     22   BY MR. YANNIELLO:

     23   Q       So you answered your phone here.      Do you recall whether

     24   you placed the call or whether somebody called you?

     25   A       No.    I was answering a phone call.




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      1   Q      And is that your work phone?

      2   A      Yes.   It's my duty cell phone.

      3   Q      Do you recall anything about that -- let me rephrase.

      4          Was that phone call about this incident here?

      5   A      No.

      6   Q      Do you recall what the phone call was about?

      7   A      No.

      8                 MS. WAKEFIELD:    Objection; relevance.

      9                 THE COURT:   She said she doesn't recall.       It stands.

     10          (Video recording played in open court.)

     11   BY MR. YANNIELLO:

     12   Q      And you had mentioned you had been given three forms of

     13   identification.     Can you place -- so you can actually place

     14   your finger and draw a circle around where those three

     15   identification documents are.

     16          (Video recording played in open court.)

     17                 MR. YANNIELLO:    Sorry, Your Honor.     May the record

     18   reflect that the witness circled the three identification

     19   documents?

     20                 THE COURT:   Yes.

     21          (Video recording played in open court.)

     22   BY MR. YANNIELLO:

     23   Q      So at this point what's going on?

     24   A      So once I reviewed the documents one last time and Joe and

     25   I agreed that everything was there, I proceeded to tell




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      1   Mr. Flint that he would have to go through screening, all of

      2   his carry-ons, and we would hand him the diplomatic pouch on

      3   the other side.      That was the only thing that would not go

      4   through screening.

      5   Q      And so for the last 30 or 40 seconds or so, you had

      6   continued to make an assessment about Mr. Flint's credentials

      7   while you were handling another matter on the telephone?

      8   A      Correct.

      9          (Video recording played in open court.)

     10   BY MR. YANNIELLO:

     11   Q      So the defendant just left the frame.        Did you interact

     12   with the defendant again after this point?

     13   A      No.

     14   Q      So this clip was your entire interaction with him on July

     15   25th, 2017?

     16   A      That's correct.

     17   Q      Going back to Government's 31 for a moment.         Now,

     18   Ms. Wondrasek, this training bulletin states that -- it says

     19   that the TSA STSO must verify that the diplomatic courier

     20   possesses a diplomatic passport.        Did you do that on that day?

     21   A      He did not have a passport.      He had a passport card.

     22   Q      Okay.   So I'm going to publish Government's Exhibit 2.

     23          And is this the card that you saw that day?

     24   A      Yes, it is.

     25   Q      And you're referring to this as a passport card.           Can you




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      1   walk us through your reasoning or why you think it's a passport

      2   card.

      3   A       So at the time the reason I thought it was a passport card

      4   is because I have a passport, and I also have a passport card,

      5   which basically it serves the same purpose if you are not

      6   traveling internationally.       So instead of having a passport

      7   that has pages in it, you can have a passport card, which has

      8   all of your information.      It has your number and all of your

      9   personal information on it.       So that's why I associated the

     10   passport card.

     11   Q       And so let me just stop you for a moment.        You were

     12   talking about your personal passport.

     13   A       Correct, yes.

     14   Q       And that's just a passport that any U.S. citizen can apply

     15   for and receive?

     16   A       Right, correct.

     17   Q       And you have a passport card for that, for your regular

     18   U.S. passport; is that right?

     19   A       Correct, yes.

     20   Q       And so when you saw this card that the defendant presented

     21   you on July 25th, 2017, did you know whether or not there was,

     22   in fact, something called a diplomatic passport card?

     23   A       No, I did not.

     24   Q       I'm just going to show you a few additional videos and

     25   have you identify what's going on.        I'm bringing up




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      1   Government's Exhibit 27.

      2           (Video recording played in open court.)

      3   BY MR. YANNIELLO:

      4   Q       Do you recognize this area?

      5   A       Yes, that's the main checkpoint.

      6   Q       And the interaction we just saw with you and the

      7   defendant, is that on this screen or is it somewhere else?

      8   A       That's in a separate area.

      9   Q       Is it in this general terminal?      Or which direction would

     10   it be if we were looking at this screen head-on?

     11   A       So you're looking at the main checkpoint, and then there

     12   are two overflow areas to the right side of the checkpoint.              So

     13   where the incident happened, it was in this second pod.            We

     14   have two -- actually three pods, but the incident took place in

     15   Pod 2, which is precheck, which is to the very far right of the

     16   checkpoint.

     17           (Video recording played in open court.)

     18   BY MR. YANNIELLO:

     19   Q       It appears to be fairly busy at this time.        Do you recall

     20   what time you interacted with Mr. Flint on July 25th, 2017?

     21   A       It was in the morning, which typically on a Tuesday it's

     22   busy.    That's like one of our busiest days, especially in the

     23   morning on first shift.

     24   Q       First shift.    And do you recall what time that was?

     25   A       I believe it was like around 4:30 -- 4:30, 5:00 in the




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      1   morning.

      2   Q      So this general traffic is how it -- how Midway is at 4:30

      3   in the morning, 5:00?

      4   A      Yes, it's busy.

      5                MR. YANNIELLO:     One moment, Your Honor.

      6          (Discussion off the record.)

      7   BY MR. YANNIELLO:

      8   Q      Ms. Wondrasek, so back to the passport and passport card

      9   discussion we had -- or questions and answers.          So to you, at

     10   July 25th, 2017, what was the physical difference between a

     11   passport and a passport card?

     12   A      A card -- well, a passport has pages, and a card does not.

     13                MR. YANNIELLO:     Thank you.

     14          Nothing further, Your Honor.

     15                THE COURT:    Thank you.

     16          Cross?

     17                               CROSS-EXAMINATION

     18   BY MS. WAKEFIELD:

     19   Q      Good morning.

     20   A      Good morning.

     21   Q      On July 25th, 2017, when you went to speak with Mr. Flint,

     22   you asked him questions, right?

     23   A      No, I did not.

     24   Q      You didn't ask him any questions; is that your testimony?

     25   A      No, I did not.




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      1   Q      You recall speaking with Agent Simon about this case?

      2   A      Yes.

      3   Q      And you recall speaking with him in May of this year,

      4   correct?

      5   A      I don't recall the exact time.

      6   Q      Okay.    But you recall speaking with him?

      7   A      Yes.

      8   Q      And you spoke with him about this case, right?

      9   A      Correct.

     10   Q      And it was before today, so the events were more fresh in

     11   your mind, right?

     12   A      Yes.

     13   Q      And you told Agent Simon that Mr. Flint only responded to

     14   your questions; is that correct?

     15   A      I don't remember saying that.

     16   Q      Would it refresh your memory to look at Agent Simon's

     17   notes of your interview with him?

     18   A      Sure.

     19   Q      I can direct you to the binder, or I can hand you a

     20   physical copy.     It should be defense Exhibit 178.

     21          (Exhibit 178 for identification.)

     22   BY MS. WAKEFIELD:

     23   Q      I don't think it's that binder.       It should be the skinny

     24   binder.    I can also walk up, if the Court would permit me to.

     25                  THE COURT:   Mr. Cruz will handle it.




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      1                  THE COURTROOM DEPUTY:    What number again?

      2                  MS. WAKEFIELD:    178.

      3   Q      If you could read -- let's see.       It should be bullet point

      4   6.

      5   A      Okay.    So --

      6   Q      Sorry.    Does that refresh your memory?

      7   A      I don't see anything on here that states that I asked

      8   Mr. Flint any questions.

      9   Q      Does it -- well, did you say that Mr. Flint only responded

     10   to your questions?

     11   A      No.

     12   Q      Okay.    So that doesn't refresh your memory?

     13   A      No.

     14   Q      Okay.    Now, you -- as you testified, you were the manager

     15   at Midway of the passenger checkpoint and baggage at the time,

     16   right?

     17   A      Can you repeat that?

     18   Q      On July 25th, 2017, you were the transportation security

     19   manager, correct?

     20   A      Correct.

     21   Q      And part of your job is to implement the TSA Standard

     22   Operating Procedures, right?

     23   A      If needed, yes.

     24   Q      And the Standard Operating Procedures are a guide for TSA

     25   employees, right?




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      1   A      Correct.

      2   Q      And you received training on the Standard Operating

      3   Procedures?

      4   A      Correct.

      5   Q      Now I want to talk about the difference between a manager

      6   and a supervisor.     The person who called you that day was TSA

      7   supervisor Joe Stone?

      8   A      Correct.

      9   Q      And your title was manager, as we discussed, right?

     10   A      Yes.

     11   Q      And a manager is senior to a supervisor in TSA?

     12   A      Correct.

     13   Q      Now, before you went to help Mr. Stone, you pulled up the

     14   e-mail with instructions on handling diplomatic pouches,

     15   correct?

     16   A      Correct.

     17   Q      And you reviewed that e-mail before you went to the

     18   checkpoint?

     19   A      Yes.

     20   Q      And you reviewed that e-mail with the Government, and it

     21   told you that a passenger needed a courier letter, right?

     22   A      Correct.

     23   Q      And a diplomatic passport as well?

     24   A      Correct.

     25   Q      And when you got to the checkpoint, Mr. Flint's documents




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      1   were already laid out on the counter?

      2   A      Actually, the courier letter was on the table, and Joe

      3   Stone had the other documents in his hand.

      4   Q      But they were already out for Mr. Stone to review?

      5   A      Correct.

      6   Q      And you discussed with Mr. Stone the documents that he had

      7   already reviewed?

      8   A      Correct.

      9   Q      And you had your cell phone -- your work cell phone with

     10   you when you were at the checkpoint, right?

     11   A      Correct.

     12   Q      And that cell phone had the memo in the e-mail that you

     13   had received, right?

     14   A      Yes.   My e-mails are on my duty phone, correct.

     15   Q      And when you looked at the items that Mr. Flint had, you

     16   compared them to the memo that you had just looked at, correct?

     17   A      Correct.

     18   Q      And you verified that Mr. Flint -- that the courier

     19   letter, you know, was a courier letter, right?

     20   A      Correct.

     21   Q      It identified Mr. Flint as the courier, correct?

     22   A      Correct.

     23   Q      It identified that he had a diplomatic pouch, right?

     24   A      Correct.

     25   Q      It was on the letterhead of the international




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      1   organization, right?

      2   A      It was on the courier letter, yes.

      3   Q      And you determined that the letter met all the

      4   requirements in the memo that you had just looked at?

      5   A      Yes.

      6   Q      And the other thing the memo said the passenger had to

      7   have was a diplomatic passport, right?

      8   A      Correct.

      9   Q      And you looked at the ID card that the Government just

     10   showed you, correct?

     11   A      Correct.

     12   Q      And you concluded that that satisfied the requirement of a

     13   diplomatic passport?

     14   A      Correct.

     15   Q      And you were confused because the memo didn't say

     16   "passport book"; is that right?

     17   A      No, I never said I was confused.

     18   Q      Okay.   The memo didn't say "passport book," right?

     19   A      Correct.

     20   Q      And it didn't say "passport card," right?

     21   A      Correct.

     22   Q      It said only "passport," correct?

     23   A      Correct.

     24   Q      Now, Mr. Flint never said to you, "This is a diplomatic

     25   passport," correct?




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      1   A      No.

      2   Q      Your conclusion was based solely on looking at the ID,

      3   right?

      4   A      At the card, yes.

      5   Q      At the card.

      6          Now I want to talk about the rest of the screening

      7   process.      So TSA that day screened Mr. Flint's carry-on bag,

      8   right?

      9   A      Yes.    All his property went through screening, correct.

     10   Q      His personal bag was -- did go through the x-ray?

     11   A      Correct.

     12   Q      And Mr. Flint himself, he was screened?

     13   A      Correct.

     14   Q      And he went through the metal detector that's at the

     15   precheck line?

     16   A      I don't -- I don't recall which --

     17   Q      If it was the metal detector or --

     18   A      Correct, I don't remember.

     19   Q      But he was screened?

     20   A      Yes.

     21   Q      Okay.    Now, nothing about the courier letter or the ID

     22   card raised any red flags for you?

     23   A      No, because the courier letter had the raised seal.          All

     24   the numbers, they matched.       I mean, Mr. --

     25   Q      I'm sorry, go ahead.




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      1   A      Mr. Flint -- I mean, he looked like he was a seasoned

      2   traveler.    He was very well put together.       There was no reason

      3   for me to have any suspicion.

      4   Q      And he was calm, right?

      5   A      Yes, his demeanor was very calm.

      6   Q      Now, you testified on direct that now you work for

      7   Southwest Airlines.

      8   A      Yes, that's correct.

      9   Q      And you don't work for TSA anymore?

     10   A      Correct.

     11   Q      But that's not because of this incident?

     12   A      No, it has nothing to do.

     13   Q      You actually left with a good report?

     14   A      Correct.

     15   Q      And you never received any discipline for this, right?

     16   A      Correct, nothing.

     17                MS. WAKEFIELD:     May I have one moment, Your Honor?

     18                THE COURT:    Yes.

     19          (Discussion off the record.)

     20                MS. WAKEFIELD:     Nothing further.     Thank you.

     21                THE COURT:    Yes?   Redirect?

     22                MR. YANNIELLO:     May we have a moment, Your Honor?

     23                THE COURT:    Yes.

     24          (Discussion off the record.)

     25                             REDIRECT EXAMINATION




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      1   BY MR. YANNIELLO:

      2   Q      Ms. Wondrasek, I'm going to ask you to look at what's been

      3   marked as Government's Exhibit 28.        It's in the binder next to

      4   you.

      5          (Exhibit 28 for identification.)

      6                  THE WITNESS:   This one?

      7   BY MR. YANNIELLO:

      8   Q      Yeah.

      9          Do you recognize those pictures?

     10   A      Yes.

     11   Q      How do you recognize them?

     12   A      Because they were shown to me prior to today.

     13   Q      Okay.    Do they appear to be still-frame images from the

     14   surveillance video that we just watched?

     15   A      Yes.

     16                  MR. YANNIELLO:   Government would move to admit

     17   Government's Exhibit 28.

     18                  THE COURT:   Any objection?

     19                  MS. WAKEFIELD:   No, Your Honor.

     20                  THE COURT:   28 is received.

     21          (Exhibit 28 received into evidence.)

     22   BY MR. YANNIELLO:

     23   Q      So could you just stroll -- take a look at the different

     24   images, and can you generally describe who you are conversing

     25   with in those.




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      1   A      I'm talking to my supervisor, Joe Stone.

      2   Q      And the defendant looks like he's reaching in and pointing

      3   at certain areas.     Sorry.

      4   A      That's correct.

      5   Q      And so you were talking to Mr. Stone during your encounter

      6   with the defendant?

      7   A      Yes.   I was talking to Joe Stone while we were verifying

      8   the documentation, so --

      9   Q      So right there when defendant is pointing, are you

     10   speaking to him?

     11   A      No.

     12   Q      So why was he pointing?

     13   A      So basically he was volunteering, like when I would ask

     14   Joe, "Where is this?" or like where a certain thing was or

     15   "Where is the number for the diplomatic pouch?" he would like

     16   volunteer like throughout the whole process and just point to

     17   what I'm asking Joe.

     18   Q      So you were speaking with your supervisor, Mr. Joe Stone,

     19   and the defendant was listening to you and answering questions?

     20   A      Correct, because he was standing right across the table,

     21   so, I mean, he could hear everything.

     22   Q      So defense counsel asked you if Mr. Flint represented that

     23   his ID card was a diplomatic passport.

     24   A      No, I don't remember him saying that.

     25   Q      During your encounter with the defendant, did he ever tell




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      1   you that he was denied entry to O'Hare five days before because

      2   he was told that his ID card was not a diplomatic passport?

      3   A      No, he did not.

      4   Q      And this is the -- I'm showing Government's Exhibit 2.

      5   This is the card that you saw, correct?

      6   A      Correct.

      7   Q      And it has the word "Diplomat" written across it?

      8   A      Correct.

      9   Q      And what's underneath the "Diplomat"?

     10   A      It says "Passport," and it has the number.

     11                  MR. YANNIELLO:   Nothing further, Your Honor.

     12                  THE COURT:   Recross?

     13                  MS. WAKEFIELD:   No, Your Honor.

     14                  THE COURT:   Thank you, Ms. Wondrasek, for your

     15   testimony.

     16                  THE WITNESS:   Thank you.

     17                  THE COURT:   May the witness be excused?

     18                  MR. YANNIELLO:   Yes, Your Honor.

     19                  THE COURT:   Yes?

     20                  MS. WAKEFIELD:   Yes.

     21                  THE COURT:   Thank you very much.

     22          Next?

     23                  MS. RO:   United States calls Ms. Fahima Danishgar to

     24   the stand.

     25                  THE COURTROOM DEPUTY:    Good morning, ma'am.     Would




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      1   you please come forward.

      2                THE WITNESS:    Good morning.

      3                THE COURTROOM DEPUTY:      Would you please stop right

      4   there and raise your right hand to be sworn.

      5            FAHIMA DANISHGAR, GOVERNMENT WITNESS, WAS SWORN

      6                THE WITNESS:    I do.

      7                THE COURTROOM DEPUTY:      Thank you.    Would you please

      8   be seated.

      9          Ma'am, for the record, would you please state your name,

     10   and spell your last name.

     11                THE WITNESS:    Yes.    My name is Fahima Danishgar.        My

     12   last name is spelled D-a-n-i-s-h-g-a-r.

     13                THE COURTROOM DEPUTY:      Thank you.

     14                THE COURT:    Your witness.

     15                              DIRECT EXAMINATION

     16   BY MR. YANNIELLO:

     17   Q      Good morning, Ms. Danishgar.       How are you?

     18   A      I'm well, thank you.

     19   Q      And where do you work?

     20   A      I work for the U.S. Department of State's Office of

     21   Foreign Missions.

     22   Q      And what is the Office of Foreign Missions?

     23   A      The Office of Foreign Missions is interested with

     24   accrediting, recognizing foreign diplomats that are based in

     25   the United States.




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      1   Q      And one step back, what is the United States state

      2   department?

      3   A      The state department is the lead U.S. agency for foreign

      4   affairs.

      5   Q      And you mentioned Office of Foreign Missions.         Is the word

      6   "missions" defined?

      7   A      A mission can be an embassy, consulate or international

      8   organization that represents a foreign government here in the

      9   U.S.

     10   Q      And do you have a specific title?

     11   A      I am a foreign affairs officer.

     12   Q      And what are some of your duties as a foreign affairs

     13   officer?

     14   A      I accredit individuals that are -- that work for foreign

     15   missions, as well as the World Bank.        I provide immunities and

     16   privileges and services to these foreign missions that are

     17   based here in L.A.

     18   Q      And if I could turn your direction to Government's Exhibit

     19   binder -- it's one of the black binders, and it says "United

     20   States" -- it has a seal on it.

     21   A      Yes.

     22   Q      If I could turn your attention to what's been previously

     23   identified as Government's Exhibit 33.

     24          (Exhibit 33 for identification.)

     25                 THE WITNESS:   Yes.




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      1   BY MS. RO:

      2   Q      And what is this?

      3   A      This is the Department of State's Office of Foreign

      4   Missions, Official Guidance to the Diplomatic Community on --

      5   it looks like Diplomatic Pouch and Diplomatic Mail Use.

      6   Q      And is this publically available?

      7   A      Yes, it's available on our website.

      8                 MS. RO:    Your Honor, I don't believe there's an

      9   objection.

     10                 MR. HARBAUGH:    None, Your Honor.

     11                 MS. RO:    United States would move to admit

     12   Exhibit 33.

     13                 THE COURT:    33 is received.    Thank you.

     14          (Exhibit 33 received into evidence.)

     15   BY MS. RO:

     16   Q      Does the United States department maintain a database that

     17   recognizes diplomats or missions with some type of diplomatic

     18   status?

     19   A      Yes, we do.      It's called a TOMIS database.

     20   Q      What is the purpose of the TOMIS database?

     21   A      The TOMIS database is the U.S. Government's repository of

     22   information for all foreign missions and their members that are

     23   accredited and recognized in the U.S.

     24   Q      And what does -- can you spell TOMIS?

     25   A      Yes, it's T-O-M-I-S.




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      1   Q       Do you know what it stands for?

      2   A       I don't, I'm sorry.

      3   Q       And I apologize, one more time, what information does a

      4   TOMIS database contain again?

      5   A       The TOMIS database contains information specifically about

      6   the name, assignment, the mission that the individual is

      7   assigned to, physical location, family member information and

      8   such.

      9   Q       And how is this database maintained?

     10   A       The database is maintained electronically with our office.

     11   We are the responsible agency for maintaining it.

     12   Q       And how often is it updated?

     13   A       It's constantly updated on a daily basis.

     14   Q       And what type of information does it contain to the

     15   specific mission inside your database?

     16   A       It includes information about the accreditation,

     17   immunities, privileges and services that that mission or

     18   mission member is granted by the state department.

     19   Q       And in this database, were you asked to enter or search

     20   the name Daniel Flint?

     21   A       Yes, I was.

     22   Q       And what, if anything, did you find in the TOMIS database?

     23   A       I didn't find anything.

     24   Q       Did you enter "International Human Rights Commission" into

     25   this database?




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      1   A      I did.

      2   Q      And what, if anything, did you find?

      3   A      I didn't find anything.

      4   Q      And would the database contain information on an

      5   international organization?

      6   A      Yes, absolutely.

      7   Q      And were you asked to enter the search term "International

      8   Human Rights Commission Relief Trust Fund" into this database?

      9   A      Yes.

     10   Q      And what, if anything, did you find?

     11   A      No record.

     12   Q      Were you asked to enter the name Robert Shumake --

     13   spelling S-h-u-m-a-k-e -- into the database?

     14   A      Yes I was.

     15   Q      And what, if anything, did you find?

     16   A      Mr. Shumake was accredited with the Office of Foreign

     17   Missions, our office, for a certain period of time as an

     18   honorary consul.

     19   Q      Do you recall who he was -- or first, what is honorary

     20   consul?

     21   A      So an honorary consul is not an official diplomat but

     22   usually a U.S. citizen or green card holder who has been asked

     23   on a voluntary basis to perform foreign duties on behalf of a

     24   foreign government.

     25   Q      And who was he an honorary consul for?




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      1   A      I believe it was Tanzania and Botswana.

      2   Q      And was he still accredited as an honorary consul for

      3   Botswana and Tanzania in July 2017?

      4   A      No, he was terminated in our database in 2015.

      5   Q      And does the database contain information about an active

      6   status or termination status?

      7   A      Yes, it does.

      8   Q      And also with a termination date?

      9   A      Yes.

     10   Q      And, again, was there any organization called the

     11   International Human Rights Commission or International Human

     12   Rights Commission Relief Trust Fund inside this database?

     13   A      No.

     14                 MR. HARBAUGH:    Objection; asked and answered.

     15                 THE COURT:   Overruled.

     16                 MS. RO:   Nothing further, Your Honor.

     17                 THE COURT:   Your witness.

     18                 MR. HARBAUGH:    Thank you, Your Honor.

     19                               CROSS-EXAMINATION

     20   BY MR. HARBAUGH:

     21   Q      Ms. Danishgar, the TOMIS database is not available to the

     22   public?

     23   A      That's correct.

     24   Q      So a person in the public can't simply go online and check

     25   the database themselves?




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      1   A      It's not a published format, no.

      2   Q      So -- and you were asked -- so you were asked by

      3   Special Agent Simon to identify -- to go into the database,

      4   correct?

      5   A      Yes.

      6   Q      So you were asked to check for the IHRC?

      7   A      Yes.

      8   Q      For Daniel Flint?

      9   A      Correct.

     10   Q      And then you were asked to check the database for

     11   Mr. Shumake?

     12   A      Correct.

     13   Q      Now, in the database Mr. Shumake was recognized as an

     14   honorary consul?

     15   A      Correct.

     16   Q      Honorary consuls, unlike career consuls, are permitted to

     17   carry on other business, right?

     18   A      I didn't understand the question.

     19   Q      Well, here, let me back up.      So honorary consuls are

     20   either American citizens?

     21   A      Or green card holders, correct.

     22   Q      They perform consular services on a part-time basis,

     23   right?

     24   A      Yes, they can.

     25   Q      And I want to distinguish, there's a career consul, right?




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      1   A      Yes, a professional diplomat.

      2   Q      Yes.   The professional diplomat, they perform the

      3   diplomatic duties full time, correct?

      4   A      They are an official representative of their Government,

      5   correct.

      6   Q      And so they perform the duties full time, right?

      7   A      Yes, they can.

      8   Q      Now, an honorary consul can carry on other business,

      9   correct?

     10   A      Yes.

     11   Q      Now, honorary consul -- sorry.       Honorary consuls have

     12   official-act immunity, correct?

     13   A      Yes.   It's very limited.

     14   Q      Honorary --

     15                 THE COURT:   You have to move back towards the

     16   lectern, please.     You are moving away from the microphone.

     17   BY MR. HARBAUGH:

     18   Q      Honorary consuls have official-act immunity, correct?

     19   A      It's limited official-acts immunity, correct.

     20   Q      Now, honorary consuls are recognized by the state

     21   department?

     22   A      Yes, we do.

     23   Q      Honorary consuls are established under Article 68 of the

     24   Vienna Convention on consular relations?

     25   A      Yes.




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      1   Q       To establish someone as an honorary consular officer, the

      2   embassy must submit a diplomatic note?

      3   A       Correct.

      4   Q       Now, the request does not mean that that person is

      5   automatically approved by the state department, correct?

      6   A       That is correct.

      7   Q       The state department retained the discretion to determine

      8   whether an individual is acceptable to the U.S. as an honorary

      9   consular officer?

     10   A       Correct.

     11   Q       Now, the state department expects foreign governments to

     12   seek to nominate individuals of good standing and reputation in

     13   the community, correct?

     14   A       We hope that is the case, yes.

     15   Q       And that's actually your guidance to -- on the state

     16   department website on how handling -- how honorary consul are

     17   handled, right?

     18   A       Correct.

     19   Q       Now, once an honorary consul is approved by the state

     20   department, they are given a diplomatic identification card?

     21   A       They are given a consular -- it's an honorary consular ID

     22   card.    It's very different from a diplomatic ID card.

     23   Q       So I want -- let's talk about the various types of

     24   identification cards that are issued by the state department so

     25   we can understand.




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      1          Now, as an employee of the state department, you were

      2   aware of the state department's guide called Diplomatic and

      3   Consular Immunity?

      4   A      Yes.

      5   Q      You've reviewed this guide?

      6   A      I've worked with it, yes.

      7   Q      In fact, you've reviewed this guide in connection with

      8   your work on this case, right?

      9   A      I'm not sure I understand.

     10   Q      Please take a look at Defense Exhibit 207.

     11          (Exhibit 207 for identification.)

     12   BY MR. HARBAUGH:

     13   Q      Please, it is in a larger binder.

     14                 THE COURTROOM DEPUTY:     Let me assist you, please.

     15                 THE WITNESS:    Thank you.

     16          Yes, this is the guidance.

     17   BY MR. HARBAUGH:

     18   Q      Just one moment, please.

     19                 THE COURT:   I don't have a defense exhibit list.

     20   Did you provide?

     21                 THE COURTROOM DEPUTY:     They did not provide a list.

     22                 THE COURT:   It's in the binder.     Which binder?

     23                 MR. HARBAUGH:    It's the larger --

     24                 THE COURT:   I have the big one.

     25                 MR. HARBAUGH:    It's not the white one, Your Honor.




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      1   I believe it's the black one, defense.

      2   Q      So the first question is do you recognize that document?

      3   A      I do.

      4   Q      And that is the diplomatic and consular immunity?

      5   A      Guidance for law enforcement and judicial authorities,

      6   correct.

      7   Q      Yes.    Now, please turn your attention to page 32 of

      8   Defense Exhibit 207.

      9   A      Yes, I see it.

     10   Q      Now, at the bottom of the page is an image of the ID card

     11   for an honorary consul, correct?

     12   A      Yes.

     13   Q      Now, let's talk about some of the features of the honorary

     14   consul identification card.         It's -- an honorary consul

     15   identification card is a photo ID, correct?

     16   A      Yes.

     17   Q      It has a red border on it, correct?

     18   A      Uh-huh, correct.

     19   Q      The red border is used to signify consular status,

     20   correct?

     21   A      Yes.    All of the cards have the red border, yes.

     22                  MS. RO:   Your Honor, I apologize.     Can I confer with

     23   counsel regarding this exhibit?

     24                  THE COURT:   Sure.

     25          (Discussion off the record.)




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      1                THE COURT:    Is there any objection to its receipt?

      2                MR. HARBAUGH:     Your Honor, we're not moving to

      3   introduce --

      4                MS. RO:    No objection.

      5                MR. HARBAUGH:     We are not moving to introduce the

      6   document.

      7                THE COURT:    It's --

      8                MR. HARBAUGH:     Your Honor --

      9                MS. RO:    Your Honor, the United States are objecting

     10   for the lack of receiving of the evidence if it's being

     11   mentioned page by page on the record.

     12                THE COURT:    How many pages are you going to refer

     13   to?

     14                MR. HARBAUGH:     Your Honor, we're just simply asking

     15   her her information regarding the characteristics of the

     16   honorary consul ID card.      We will move on.

     17   Q      So the state department issues a diplomatic ID card for

     18   consuls for six years from the date of issuance, correct?

     19   A      I believe it's five.     It's five years.

     20                MR. HARBAUGH:     One moment, Your Honor.

     21          (Pause in proceedings.)

     22   BY MR. HARBAUGH:

     23   Q      Now, in reviewing the TOMIS database, you learned that

     24   Robert Shumake was registered as an honorary consul by the

     25   state department, correct?




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      1   A      Yes.

      2   Q      That Mr. Shumake was recognized as honorary consul for

      3   Botswana?

      4   A      Correct.

      5   Q      And honorary consul for Tanzania?

      6   A      Correct.

      7   Q      And the state department issued Mr. Shumake a consular

      8   identification card in 2012, correct?

      9   A      Yes.

     10   Q      And Shumake's state department diplomatic ID remained

     11   valid until 2018, correct?

     12   A      Yes.

     13   Q      Please take a look at Defense Exhibit 114 marked for

     14   identification, and it is in the white binder.

     15          (Exhibit 114 for identification.)

     16                 THE WITNESS:   I'm sorry, what was the number?

     17   BY MR. HARBAUGH:

     18   Q      114, all the way to your right -- left, I'm sorry.

     19   A      114, yes.

     20   Q      Now, you have previously seen this photograph, correct?

     21   A      Yes.

     22   Q      It's a photograph of a consular identification card,

     23   correct?

     24   A      I'm sorry, you said 114, correct?       Am I looking at the

     25   correct --




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      1   Q      One moment.

      2          Yes, it should be a photograph of a consular

      3   identification card.

      4   A      No, I don't see a consular identification card here.

      5          Sorry, I was looking at the wrong place.

      6   Q      Sorry for the confusion.      It's a very bulky binder.

      7          So you were previously shown this photograph, correct?

      8   A      Yes.

      9   Q      And you recognize this as a consular identification card?

     10   A      Yes.   It appears to be a consular -- or photograph or a

     11   copy of a consular ID card.

     12   Q      And it has the identical features as a consular

     13   identification card that you recognize issued by the state

     14   department?

     15                 MS. RO:   Objection, Your Honor; lack of foundation.

     16   The witness has stated this is a photograph of what appears --

     17                 THE COURT:   Don't argue.    Just state the grounds.

     18                 MS. RO:   Yes, Your Honor.     Objection; foundation.

     19                 THE COURT:   Ask the question again, please.

     20   BY MR. HARBAUGH:

     21   Q      This photograph has the identifying features of a consular

     22   identification card, correct?

     23                 THE COURT:   Objection overruled.

     24                 THE WITNESS:   I can't say a hundred percent just

     25   looking at the photograph.       It appears to look like a consular




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      1   ID card.

      2   BY MR. HARBAUGH:

      3   Q       It has the red border, correct?

      4   A       Yeah, but -- I'm sorry, I can't see the security markings

      5   on it; therefore, I can't state a hundred percent that this is

      6   truly generally a consular ID card.

      7   Q       The -- well, going back, you know that Mr. Shumake was

      8   issued a consular identification card based upon your review of

      9   the TOMIS database?

     10   A       Yes, he was.

     11   Q       And this photograph appears to be a true and correct copy

     12   of the photograph of Mr. Shumake's identification card issued

     13   by the state department?

     14                THE COURT:     Are you offering 114?

     15                MR. HARBAUGH:     Yes, Your Honor.

     16                THE COURT:     Any objection?

     17                MS. RO:     No objection.

     18                THE COURT:     114 is received, and publish for the

     19   jury, please.

     20           (Exhibit 114 received into evidence.)

     21   BY MR. HARBAUGH:

     22   Q       Now I would like to point out some of the features on the

     23   card.    So there is a PID.     What is that?

     24   A       A PID is a personal identification number that we use and

     25   assign to consular and honorary consul members.




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      1   Q      All right.    And what is here, what I just circled on the

      2   image, please?

      3   A      It appears to be an expiration date.

      4   Q      And what does that date state?

      5   A      That date states January 31st of 2018.

      6   Q      Now, you have -- you indicated that Mr. Shumake's consular

      7   status --

      8                 THE COURT:   You need to stand by the lectern,

      9   please.

     10   BY MR. HARBAUGH:

     11   Q      You indicated that Mr. Shumake's consular status expired

     12   in 2015, correct?

     13   A      Correct.   He was terminated in the TOMIS database in 2015,

     14   and by law, this identification should have been returned to

     15   our office within 30 days.

     16   Q      And you have no evidence to indicate that this

     17   identification was returned to you following his termination?

     18   A      In the TOMIS database, when identifications are returned,

     19   it's marked as such.

     20   Q      And the TOMIS database did not indicate that Mr. Shumake

     21   returned his identification card to the state department?

     22   A      Correct.

     23                 THE COURT:   And with that, we are going to take the

     24   morning recess.     Please return at a quarter to, a 15-minute

     25   recess.     During your absence do not discuss the case amongst




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      1   yourself or with any other person, please.

      2                THE COURTROOM DEPUTY:      All rise for the jury,

      3   please.

      4          (Recess taken from 10:29 a.m. to 10:47 a.m.)

      5          (Outside the presence of the jury.)

      6                THE COURTROOM DEPUTY:      Please come to order.      This

      7   court is again in session.

      8          (Pause in proceedings.)

      9                THE COURT:    Please have a seat.     We are waiting

     10   for -- do we have all lawyers back?        Yes, we do.    Okay.

     11                MR. HARBAUGH:     Your Honor, the defense does want --

     12   the Government intends to admit additional pages from the guide

     13   that was discussed but not admitted by the defense.

     14                THE COURT:    Uh-huh.

     15                MR. HARBAUGH:     It's beyond the scope, and it exceeds

     16   the basis for her expert notice disclosure in response to our

     17   motion.

     18                THE COURT:    Well, if it's offered, you can make your

     19   objection; the Court will rule.

     20                MS. RO:    And, Your Honor, just to clarify, the

     21   Government didn't call her as an expert.

     22                THE COURT:    Again, if an exhibit is offered, I'll

     23   entertain an objection, and then I will rule.

     24                MS. RO:    Yes, Your Honor.     Thank you.

     25                THE COURTROOM DEPUTY:      Your Honor, are we ready?




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      1                 THE COURT:   Yes.

      2                 THE COURTROOM DEPUTY:      All rise for the jury,

      3   please.

      4          (In the presence of the jury.)

      5                 THE COURT:   We have the jury reassembled with the

      6   alternate, and we have all counsel present with the defendant.

      7   Please have a seat.      And we continue with our witness.

      8                 THE COURTROOM DEPUTY:      She's outside.

      9                 THE COURT:   And that's Ms. Danishgar, and I believe

     10   she's on her way in.

     11          You may continue with the examination.

     12                 MR. HARBAUGH:    Defense has no more questions,

     13   Your Honor.

     14                 THE COURT:   Okay.   Before the Government starts, if

     15   you could just educate me in terms of the types of passports

     16   that the U.S. Government issues.         There's a passport that every

     17   citizen can apply for.       That's the blue one?

     18                 THE WITNESS:    Correct.

     19                 THE COURT:   Then there's an official passport, and

     20   that's the maroon one?

     21                 THE WITNESS:    Correct.

     22                 THE COURT:   And then there's a diplomatic passport?

     23                 THE WITNESS:    Yes, it's a black one.

     24                 THE COURT:   Are there any other types of passports?

     25                 THE WITNESS:    That the U.S. issues, no, not that I'm




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      1   aware of.

      2                THE COURT:    So what's the difference between an

      3   official passport and a regular passport?

      4                THE WITNESS:    An official passport is used when the

      5   individual is traveling in the capacity or on behalf of the

      6   government for official business, and if it's a diplomatic

      7   passport, then the individual is an official representative of

      8   the U.S. government traveling on behalf of the U.S. government

      9   to conduct business overseas.

     10                THE COURT:    Is there a document that's referred to

     11   as a passport card?

     12                THE WITNESS:    Yes.   There is a passport card which

     13   is used to cross borders between the U.S., Canada, and Mexico.

     14                THE COURT:    Only?    Is it -- is a passport card the

     15   same as a passport?

     16                THE WITNESS:    It is not.

     17                THE COURT:    And what's the difference between the

     18   two?

     19                THE WITNESS:    So the border crossing or -- sorry.

     20   The passport cards are only used to cross land borders.

     21                THE COURT:    So land borders being Mexico and Canada?

     22                THE WITNESS:    Yes, Your Honor.

     23                THE COURT:    Thank you.

     24                             REDIRECT EXAMINATION

     25   BY MS. RO:




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      1   Q      A quick follow-up to the Court's question, Ms. Danishgar.

      2   Is there a diplomatic passport card?

      3   A      Not that I'm aware of.      No, there is not.

      4   Q      Defense counsel asked you about the TOMIS database, that's

      5   T-O-M-I-S, and asked if it was publically available.           And your

      6   response was a bit hesitant and did not --

      7                  THE COURT:   Just ask the question.     Don't describe

      8   her response, please.

      9   BY MS. RO:

     10   Q      And you answered it's not a published format.         Can you

     11   explain that.

     12   A      Sure.    So the TOMIS database is an internal database that

     13   the U.S. Government maintains, specifically our office, but we

     14   do publically announce all of the accreditations through a

     15   publication called the Blue Book, which includes all of the

     16   accredited personnel to missions and organizations in the U.S.

     17   That's the public format.

     18   Q      And is that also available publically on the Internet

     19   online?

     20   A      Yes.    I believe it's available through the state

     21   department's general website.

     22   Q      And do you need a special permission to access that?

     23   A      No, it's available to the public.

     24   Q      And you were also asked about accreditation processes in

     25   cross-examination.     Can you further unpack that statement?




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      1   What is the accreditation process?

      2   A       So the accreditation process is a method, a way of

      3   recognizing the diplomats or officials of that country that are

      4   assigned here in the U.S.       They are recognized by the U.S.

      5   government to have certain privileges and immunities, and

      6   that's the accreditation process.

      7   Q       And what is required on the mission's part to get

      8   accredited by the United States department?

      9   A       So a mission or a representative office of that country

     10   will submit a notification on behalf of that individual who is

     11   to work in the U.S. for that government to our office.           That

     12   will include their visa information.          It will include their

     13   diplomatic passport information.        It will include their

     14   assignment location and what their job title is.          And then our

     15   office will accept it and accredit them accordingly.

     16   Q       I want to discuss some of the testimony in

     17   cross-examination regarding Defendant's Exhibit 207.

     18   A       I don't think I have that.     207?

     19                THE COURTROOM DEPUTY:      Let me assist you again.

     20   Okay?

     21                THE WITNESS:    Thank you.

     22                THE COURTROOM DEPUTY:      Here we are.

     23                THE WITNESS:    Thank you.

     24                THE COURTROOM DEPUTY:      You're welcome.

     25   BY MS. RO:




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      1   Q      You were asked by defense counsel if this is published by

      2   the United States Department of State Office of Foreign

      3   Missions, correct?

      4   A      Yes.

      5   Q      And is this publically available?

      6   A      Yes.   It's given to law enforcement, yes.

      7   Q      And you were asked --

      8                 THE COURT:   Well, is it publically available?

      9                 THE WITNESS:   It's on our website, yes.

     10   BY MS. RO:

     11   Q      So anyone can access it on the website?

     12   A      Yes, anyone can access it.

     13   Q      And you testified to -- what is Defense Exhibit 207?          Can

     14   you explain that again?

     15   A      Yeah, sure.    So this is a publication that the Department

     16   of State's Office of Foreign Missions, my office, puts out, and

     17   it's guidance on diplomatic and consular immunity for law

     18   enforcement or anyone who's interested in judicial authorities.

     19   It explains the immunities or privileges that individuals are

     20   entitled to.

     21   Q      And you were asked to describe certain cards,

     22   identification cards, given by the state department, correct?

     23   A      Yes.

     24   Q      And does this document contain the various types of

     25   identification cards issued by the state department to




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      1   missions?

      2   A      I believe so.    Just let me have a look.      One second.

      3          Yes, it does.    It includes all of our documents that we

      4   issue, including consular cards.

      5   Q      And defense counsel specifically asked you about the

      6   identification cards.

      7   A      Yes.

      8                 MS. RO:   Your Honor, at this time, the United States

      9   would like to admit what's been now marked as Government's

     10   Exhibit 66, which only includes three pages of Defense Exhibit

     11   207, specifically the pages, Your Honor, if I may -- can I

     12   identify them by the Bates numbering on the bottom for the

     13   Court and the record?

     14                 THE COURT:   Yes, yes, please.

     15                 MS. RO:   The first page is USAO_001686.       It's just

     16   the front page.     The second page is further back, USAO_001723.

     17   It's Appendix A for the identifying documents.          And the last

     18   page, just the third page is USAO_001725.

     19                 THE COURT:   Let me review those pages.

     20                 MR. HARBAUGH:    Your Honor, I will make it easy.          No

     21   objection.

     22                 THE COURT:   1686, 1723 and 1725 of Exhibit 207

     23   received.

     24                 MS. RO:   And, Your Honor, it would be Government's

     25   Exhibit 66.




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      1                  THE COURT:   Well --

      2                  MS. RO:   But yes.

      3                  THE COURT:   It doesn't matter.    It will be

      4   Government's Exhibit 66.

      5          (Exhibit 66 received into evidence.)

      6   BY MS. RO:

      7   Q      Publishing to the jury and in front of your screen,

      8   Ms. Danishgar, what is this page?

      9   A      That's the cover page for the guide or publication that

     10   was just mentioned.

     11   Q      I'm showing you the second page of Government's

     12   Exhibit 66.     What is this page?

     13   A      This is pertaining to the diplomatic and embassy

     14   identification cards our office issues.         It has examples of.

     15   Q      Going through the first -- zooming in on the two cards

     16   listed, can you describe each card to the jury.

     17   A      Sure.    So the first one with the blue on the top is a

     18   diplomatic identification card.        These are issued to members of

     19   the foreign community or foreign missions community who work at

     20   embassies.

     21   Q      And how does one receive this specific card from the

     22   Department of State?

     23   A      They would have to be accredited as an official diplomat

     24   of that sending state or nation.

     25   Q      And how would the state department know they are an




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      1   official diplomat from the sending nation?

      2   A      We would receive a diplomatic note from the sending

      3   Government or from the embassy, as well as a notification of

      4   appointment, through our EGO system, which connects to our

      5   TOMIS database to pertain to the assignment off the individual,

      6   the location of, their diplomatic passport information, and

      7   their diplomatic visa that they were granted.

      8   Q      Do they have to show a separate diplomatic passport to the

      9   state department?

     10   A      Yes, they do in order to get that diplomatic visa.

     11   Q      And you mentioned an embassy.       Does that also apply to

     12   international organizations as well?

     13   A      Yes, it does.

     14   Q      And does the diplomatic status stem from the organization,

     15   or can individuals hold it on their own?

     16   A      Diplomatic status stems from the organization or the

     17   country that they are assigned from.

     18   Q      And zooming into the green card now, is that the same or

     19   different type of identification card?

     20   A      So this is -- there are two categories.        This one is given

     21   to administrative and technical employees and their family

     22   members at embassies, so it's different.         They are not an

     23   official diplomat, but they are a technical -- technical or

     24   administrative staff at the embassy.

     25   Q      And are either of these cards, quote/unquote, a diplomatic




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      1   passport card?

      2   A      Not at all.

      3   Q      And are there certain security features on the types of

      4   cards that are issued from the Department of State?

      5   A      Yes.   We have security features.      It's hard to tell from

      6   the copy here, but if you look over the photos of the

      7   individuals, there's the flag, and there's a reflector that's

      8   kind of shown here.      It's hard to see.     There's a security

      9   marking there as well.

     10                 MS. RO:   Your Honor, if I may have the case agent

     11   hand Mr. Cruz Government's Exhibit 1 that's already been

     12   admitted into evidence.

     13                 THE COURT:   Yes.

     14   BY MS. RO:

     15   Q      Have you seen that item before?

     16   A      Yes, I have.

     17   Q      Can you review that physical item?

     18   A      I have.

     19                 MS. RO:   Also publishing to the jury a photocopy of

     20   the physical item being held by this witness.          This is -- the

     21   photocopy published is Government's Exhibit 2.

     22   Q      Does this have the security requirements issued by the

     23   state department?

     24   A      No, it doesn't.

     25   Q      Is this a diplomatic passport card?




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      1   A      No, it's not.

      2                MS. RO:    Nothing further, Your Honor.

      3                THE COURT:    Recross?

      4                MR. HARBAUGH:     Nothing, Your Honor.

      5                THE COURT:    Thank you, Ms. Danishgar, for your

      6   testimony.

      7          May the witness be excused?

      8          Are you -- is your duty station here in Los Angeles?

      9                THE WITNESS:    Yes.

     10                THE COURT:    Okay.     Thank you.

     11                THE WITNESS:    Thank you.

     12                THE COURT:    Next?

     13                MS. RO:    The United States calls Michael Duretto to

     14   the stand.

     15                THE COURTROOM DEPUTY:      Good morning, sir.     Would you

     16   please come forward.

     17          Would you please stop right there and raise your right

     18   hand to be sworn.

     19             MICHAEL DURETTO, GOVERNMENT WITNESS, WAS SWORN

     20                THE WITNESS:    I do.

     21                THE COURTROOM DEPUTY:      Thank you, sir.     Please be

     22   seated.

     23          Sir, for the record, would you please state your name, and

     24   spell your last name.

     25                THE WITNESS:    Michael John Duretto, D-u-r-e-t-t-o.




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      1                  THE COURT:   Your witness.

      2                  MS. RO:   Thank you, Your Honor.

      3                               DIRECT EXAMINATION

      4   BY MS. RO:

      5   Q      What is your current occupation?

      6   A      Currently I'm an assistant federal security director for

      7   security operations at Los Angeles International Airport.

      8   Q      And what are some of your duties for that position?

      9   A      Primarily I oversee and maintain the integrity of the

     10   security screening operation for both checkpoint and baggage.

     11   Q      And how long have you held that position?

     12   A      I've had this position -- it will be two years in January.

     13   Q      And have you held any prior positions within the

     14   Transportation Security Administration?

     15   A      Yes, I have.

     16   Q      And if you could briefly explain that to the jury, list

     17   them and their duties.

     18   A      Sure.    I started with the agency in 2005 as a uniformed

     19   transportation security officer, so I was a frontline screening

     20   officer.    I held that position for just slightly over a year.

     21   Then I promoted to a lead transportation officer.           I held that

     22   position for approximately a year.

     23          From there I promoted to a supervisory transportation

     24   security officer, which is the first level of management within

     25   our agency.     I was the supervisor for one year.       From that




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      1   position I promoted to what we call a transportation security

      2   manager, which there are two levels.        I promoted to the first

      3   level of what we call a duty manager.         And my areas of

      4   responsibility were basically overseeing a terminal, either a

      5   shift -- an a.m. shift or p.m. shift, so overseeing the

      6   security operation for a particular shift.

      7          I was a duty manager for a little -- about a year and a

      8   half, just under two years, and then I promoted to the second

      9   level of manager, which is lead manager.         And a lead manager,

     10   the area of responsibility increases.         You then have

     11   responsibility over an entire terminal for the entirety of the

     12   operating hours.

     13          I was in that position for about eight months, and then I

     14   was detailed to a senior advisor position with our federal

     15   security director.     And my responsibilities in that position

     16   was to basically advise the director on things and nature of

     17   policy, procedures, anything related to the screening

     18   operation.    Served in that capacity for about eight months, and

     19   then I promoted to a deputy assistant federal security

     20   director, which, again, the area of responsibility expands.

     21          At the time I had two terminals with direct reports,

     22   approximately 500 direct reports coming to me.          Served as a

     23   deputy assistant federal security director for five years, and

     24   then promoted to my current position in January of 2017, as an

     25   assistant federal security director.        And now I have -- I




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      1   oversee half the airport, so four terminals.          My direct reports

      2   are approximately about 1150 to 1200 officers.

      3   Q       So approximately how many years have you worked within the

      4   Transportation Security Administration?

      5   A       It will be 14 years this January.

      6   Q       And has that exclusively been in the Los Angeles

      7   International Airport?

      8   A       Yes, it has.

      9   Q       Are there any specific security requirements when

     10   individuals want to check luggage or carry-on luggage, things

     11   of that nature?

     12   A       Yes.

     13   Q       And what are they?

     14   A       Anybody that's wishing to travel or enter the airport

     15   area, the nonpublic side of the airport, is required to

     16   undergo -- it would be a hundred percent screening on all

     17   persons and all property.

     18   Q       Is that just at the Los Angeles International Airport?

     19   A       No, that would be national and international as well.

     20   Q       And you mentioned a nonpublic area.       What is a nonpublic

     21   area?

     22   A       Nonpublic area is something we would refer to as the

     23   sterile area.     And basically the easiest definition to give to

     24   that is anybody that passes into the sterile area is someone

     25   who has successfully completed screening with TSA and they are




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      1   cleared for travel or boarding of an aircraft.

      2   Q       You mentioned that bags get screened by the Transportation

      3   Security Administration.      If bags -- what happens when bags

      4   containing cash get screened by the Transportation Security

      5   Administration?

      6   A       Well, typically, if it's large amounts of cash, then one

      7   of the things we look for -- x-ray operators look for is

      8   organic material on their x-ray monitors, and that typically

      9   shows up as something in a dense, orange color.          And explosives

     10   are made from organic materials, so, obviously, one of the

     11   things that we look for that's key is that organic material.

     12   So what's that showing up on an x-ray screen, that would be a

     13   red flag for us to pull that bag for secondary screening.

     14   Q       And it would lead to secondary screening?

     15   A       Yes.

     16   Q       And what is secondary screening?

     17   A       Secondary would be a property search of the contents of

     18   that item.     Put another way, organic mass would be what we

     19   designate as an alarm or an anomaly, and every anomaly and/or

     20   alarm must be resolved prior to being cleared into the sterile

     21   area.

     22   Q       And does that secondary screening take time?

     23   A       Yes.

     24   Q       And you defined sterile area to the jury.        Does that

     25   definition -- is that only for the Los Angeles International




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      1   Airport?

      2   A      No.    That would be for --

      3                 MS. WAKEFIELD:    Your Honor, I would object to

      4   questions beyond the scope of LAX.

      5                 THE COURT:   Overruled.

      6                 THE WITNESS:   No, that would pertain to all airports

      7   nationwide.

      8                 MS. RO:   Your Honor, may I have a quick moment?

      9          (Discussion off the record.)

     10   BY MS. RO:

     11   Q      Directing your attention to the Government's exhibit

     12   binder, there's many binders but it's black, and it has blue

     13   colors as dividers, and the cover should have a seal on it.

     14   A      Trial exhibits?

     15   Q      Yes.

     16                 THE COURT:   What number?

     17                 MS. RO:   45, Your Honor.

     18   Q      If you could turn your direction to Government's Exhibit

     19   45.

     20          (Exhibit 45 for identification.)

     21                 THE COURT:   Any objection to 45?      If you look at the

     22   list, the Government's exhibit list, it's easier.

     23                 MS. WAKEFIELD:    No objection.

     24                 THE COURT:   45 is received.      And you may publish so

     25   we can move it along, please.




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      1           (Exhibit 45 received into evidence.)

      2   BY MS. RO:

      3   Q       Please describe this exhibit.      What is it?

      4   A       So this is a bird's eye view of Terminal 3 at Los Angeles

      5   International Airport.

      6   Q       And please describe the sterile area of this image.

      7   A       So there's --

      8   Q       And feel free to use the screen.      You can mark --

      9   A       Oh, I can?

     10   Q       Yes.

     11   A       Okay.   Excellent.

     12           So there's a couple different colorations on this

     13   particular map.      The purple area would constitute what we call

     14   the security checkpoint screening area.         So the front part of

     15   that would be nonsterile.       That's where passengers would get in

     16   line to proceed through the security checkpoint.          And

     17   ultimately, this more pinkish area, as well as the blue area,

     18   would be what we call sterile.       So once a person passes through

     19   the security checkpoint, they do enter the sterile area, and

     20   the sterile area does include the airfield and the aircraft.

     21   Q       So you mentioned how one can enter the sterile area.         If I

     22   may, if I'm pointing an arrow this way -- or I guess the

     23   appropriate is this way, is that one way to enter the sterile

     24   area?    And, for the record, it's an arrow pointing into the

     25   direction of the security checkpoint coming from the public




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      1   entry for Los Angeles International Airport.

      2   A      Yes, that would be one way to enter the sterile area.

      3   Q      And what is another way to enter the sterile area?

      4   A      Another way would be deplaning an aircraft, you are

      5   entering a sterile area.

      6   Q      And what do you mean by "deplaning an aircraft"?

      7   A      Every flight has an originating and destination location

      8   both in the originating and destination.         On the originating

      9   side you will go through the jet bridge to actually board the

     10   aircraft.     That is all sterile, as is the aircraft.        And on the

     11   destination side, when you arrive at your destination airport,

     12   when you deplane, the aircraft, the jet bridge, and the area

     13   you walk into is still sterile.

     14   Q      So if passengers deplane, would they be coming through

     15   this way?     And, for the record, it's an arrow pointing from the

     16   blue area of the image from a destination flight would be

     17   coming from.

     18   A      Yes.   So specifically the blue area would be the airfield

     19   itself where the planes taxi, and some of these smaller -- I

     20   will mark them here, the appendages is the jet bridges.            An

     21   aircraft would pull into the jet bridges, and people would go

     22   into the sterile area from there.

     23   Q      So, again, once people land at LAX and they deplane, do

     24   they enter a sterile area?

     25   A      Yes.




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      1   Q      When people deplane and enter the sterile area, do the

      2   same security requirements apply, as you described before?

      3   A      Yes.

      4   Q      So does a person have to have been screened?

      5   A      Yes.

      6   Q      Do their carry-on items have to have been screened?

      7   A      Yes.

      8   Q      Are you familiar with the term "diplomatic pouch"?

      9   A      I am.

     10   Q      And how are you familiar?

     11   A      I've had experience, both as a security officer clearing

     12   diplomatic pouches and also management capacity and

     13   senior-level management capacity of clearing those items,

     14   proper screening procedures for those items.

     15   Q      And is there a certain protocol you need to follow -- what

     16   are the proper screening requirements?

     17   A      Well, in order to be screened, the diplomatic pouch first

     18   must meet specific criteria.

     19   Q      And what is the specific criteria?

     20   A      The specific criteria would be, number one, the item

     21   that -- so diplomatic pouches are exempt if they meet the

     22   proper criteria to constitute a diplomatic pouch, then that

     23   item or items are exempt from screening.         In order to reach

     24   that level, one of the first things that must be presented --

     25   and typically, in my experience, how the process has played out




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      1   is a diplomatic courier most times is the individual that is

      2   bringing a diplomatic pouch through an airport.

      3          They just by nature of having done it previously, will

      4   notify someone at the security checkpoint, usually a manager or

      5   supervisor, to alert them that they have a diplomatic pouch.

      6   At that point the supervisor or manager will engage in the

      7   process, and on the pouch itself they are going to look for

      8   specific distinctive markings:       number one, would be the pouch

      9   must say "Diplomatic pouch" in English on the exterior of the

     10   pouch, and that pouch will have a specific and unique number

     11   associated with it.

     12          The pouch is required to be sealed.        Typically it's sealed

     13   with a lead or plastic -- some sort of -- I guess I could use

     14   adhesive to describe it, and that typically will bear the seal

     15   of the Government that is sending the diplomatic materials

     16   through the screening process.

     17          Additionally, the diplomatic pouch must have the address

     18   of the destination, the Government agency, embassy or ministry

     19   that that pouch is being delivered to.         From that point there's

     20   also a courier, the individual who's bringing that item through

     21   the airport.     The courier, basic requirements for that, there's

     22   two predominant ones:      number one, the courier must have in his

     23   or her possession a diplomatic passport, and the diplomatic

     24   passport will say on the front of the passport "Diplomatic

     25   Passport."     It is specific, and it is different than a standard




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      1   U.S. passport that a nondiplomat will carry.

      2          In addition to that, the courier will have what is known

      3   as a courier letter.      Within the courier letter there's going

      4   to be specific identifiers as well and distinguishing features

      5   that we would look at to determine authenticity.          Some of those

      6   would be the seal of the -- the official seal of the government

      7   that's sending the diplomatic materials.         It's going to have

      8   the name of the courier, and the courier's diplomatic passport

      9   number.    It will also have the diplomatic pouch number.          And

     10   I'll further that by saying it's going to have all the criteria

     11   of the diplomatic pouch.

     12          So the pouch, in the traditional sense -- when I say

     13   "pouch," it doesn't necessarily mean that it's a pouch.            It

     14   could be a box.     It could be a bag.     It could be an envelope.

     15   All those things would refer to a diplomatic pouch.           It will

     16   specify the number of items, so a person may have two, three or

     17   multiple items or they may have just one item.          It will specify

     18   that in the courier letter.       It will have the number associated

     19   with that item or those items.

     20          It will have the approximate size and weight, so that the

     21   individual that is assessing the authenticity of the materials

     22   relied on to clear that gauge if this appears to be authentic.

     23   It's going to also contain the address of the receiving party,

     24   so, in other words, the government, embassy, ministry, whoever

     25   the receiving party is going to be will be in that.           And it




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      1   will also have the name, title, phone number, and address of

      2   the initiator who is sending that diplomatic pouch.

      3          So those are some of the distinguishing features we would

      4   look for.     If all of those items are in concurrence, we would

      5   exempt that item from screening.

      6   Q      Can a diplomatic courier go through if the courier letter

      7   matches with the pouch but did not meet the diplomatic passport

      8   requirement?

      9   A      I'm sorry, can you restate the question?

     10   Q      Can a diplomatic courier go through security with a

     11   diplomatic pouch if they only -- if they only have a courier

     12   letter?

     13   A      No.

     14   Q      Is it an absolutely certainty that they need a diplomatic

     15   passport?

     16   A      Yes.

     17   Q      Based on your training and experience, how many diplomatic

     18   pouches have you processed, a ballpark?

     19   A      Personally, firsthand experience, I would estimate 10 to

     20   12.

     21   Q      In front of your table there's Government's Exhibit 1.

     22   It's an ID card with a yellow sticker --

     23          I apologize.    If the case agent may give it to Mr. Cruz.

     24   A      Thank you.

     25   Q      Do you recognize this exhibit?




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      1   A      Yes, I do.

      2   Q      How do you recognize it?

      3   A      I observed this in the presence of yourself and the FBI.

      4                 MS. RO:   I'm publishing to the jury on the screen

      5   Government's Exhibit 2 on the first page, which is a photocopy

      6   of the physical item held by the witness.

      7   Q      And were you asked to determine if this was a diplomatic

      8   passport card?

      9   A      Yes.

     10   Q      And what is your opinion?

     11   A      No.

     12   Q      Why not?

     13   A      There's multiple things.      I can take you through them.        So

     14   authentic identifications issued by government or state have

     15   distinguishing factors in them, a lot of which are security

     16   features, to ensure that they can't be duplicated by

     17   nonauthorized entities.      So first and foremost, just looking at

     18   this on face value, one of the things that you will find with

     19   any type of government- or state-issued ID is uniformity.            You

     20   can see on this particular --

     21          Okay if I mark this screen?

     22   Q      Yes, please.

     23   A      You can see that the actual -- the actual ID itself, it's

     24   nonuniform in terms of it's not centered from the laminate.              So

     25   you can see it's off-center.       That would be one thing that I




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      1   would look at that would stand out.

      2           And I guess I should say, obviously, the most obvious

      3   thing to me is this is not a passport, so that would be first

      4   and foremost that would be my concern.         But as I dig deeper,

      5   the uniformity would be an issue.        I would also look at things

      6   such as the font, the clarity of the font.

      7           Can I use the back?

      8   Q       Yes.

      9           I will now publish to the jury Government's Exhibit 2,

     10   page 2.

     11   A       So on the back, if you will notice, first of all, the text

     12   that's written on the back, it starts in lower case.           So that

     13   would be something that is a grammatical or -- well, sentences

     14   don't start in lower case; they start in caps.          You've got a

     15   multitude of fonts on the back.        So this appears one size.

     16           You've got down here on the bottom right, which there are

     17   various sizes there.      You also have a barcode, an issue date,

     18   and I'm not sure what the S number HQ-001203/16 refers to, but

     19   you can see on the barcode there's blurring, so those are not

     20   defined.       That would be a factor that would be a concern as

     21   well.

     22   Q       Mr. Duretto, if I may just pause you for a second.         So

     23   I'll zoom this in for the jury.

     24   A       Sure.

     25           So you can see that those are nondefined lines, as is --




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      1   actually, as is all this text here.        It's just blurred.      It's

      2   not defined.     The Government identifications there's -- the

      3   clarity is pure.     So you're not going to run into blurring.

      4          If we could zoom out.

      5          The seal, you'll see there's variations in shading.          That

      6   would be problematic as well.       It's not clear.     I can't really

      7   differentiate.     I can vaguely see "International."        I'm not

      8   really sure what this says here.        You could see blotches here

      9   in terms of definition.      It's not as dark as other areas.

     10          And if we could zoom out again.

     11          On the laminate itself, typically what you'll find -- not

     12   typically.     Always what you'll find on authentic government- or

     13   state-issued IDs is security features that will contain -- and

     14   you can see this on a U.S. passport.        The laminate actually has

     15   security features in it, contained in it.         The purpose of that

     16   is obviously so that someone can't take an identification and

     17   alter it or modify it, which would deem it unauthentic or

     18   invalid.

     19          This particular one on the laminate itself, there is no

     20   security features contained.       And as a matter of fact, and you

     21   can see, I believe -- I will try to highlight.          This area here,

     22   this area here, and this area here, and on the front as well,

     23   you can see bubbling in the laminate, which would be a big

     24   concern.    You won't see that in government- or state-issued

     25   IDs.   You will not see bubbling.       And actually enlarged, this




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      1   would be these areas here.

      2          In addition to that, if we could zoom out, the signature

      3   is blurred.    It's smeared, especially in this area here.

      4          And then if possible, could we go back to the front?

      5   Q      Yes.

      6   A      Okay.   On this specific side here, the "Diplomat" written

      7   across the front of the ID, you won't see that, but that's

      8   really obstructing the ID itself.        It's print over print.      The

      9   "Issued by," I don't -- I'm not able to reference a name.            It

     10   just said "World chairman."       I don't know what this signature

     11   is or what it relates to.       That's just indistinguishable to me.

     12   So that would not be valid.

     13          If you could zoom out.

     14          You will typically see seals on state-issued IDs.          Those

     15   are typically holograms, which would be a security feature.              So

     16   this particular one here, again, has lack of definition in the

     17   font that it's printed in.       It just looks like -- there's no

     18   differentiation on the photo side versus the non-photo side.

     19   So that, to me, with my experience, would appear to be

     20   something that is not authentic in terms of security features

     21   because it's just stamped on the actual card itself.

     22          If we could zoom back out, please.

     23          When I talked of -- excuse me -- uniformity, you can see

     24   on the edges, typically -- again, I say typically, but I should

     25   specify that it's at all times.        You will see government- or




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      1   state-issued IDs, the uniformity piece is key and, those are

      2   die cut.    You can see this particular corner here is distinctly

      3   different in terms of the roundedness of the other three

      4   corners.    That would be a concern.

      5          And then just in terms of security features that we would

      6   look at, some of those include -- and it could be any or all on

      7   any specific government- or state-issued ID, there are things

      8   that are called microprinting, which is kind of exactly what it

      9   sounds like; it's printing that is very microscopic, and you

     10   can only see it through an enhanced lens we use in the airport

     11   environment.     We use basically what would be a small magnifying

     12   glass that you put up to your eye.        You hold up the ID, and you

     13   can see microprinting that you can't see with the naked eye.

     14          Microprinting would be, one, background patterns, or

     15   colorations is another one because it's very hard to alter an

     16   ID when there's background colorations or patterns.           This

     17   specific ID has none.      Watermarks would be another

     18   distinguishing feature.      There's no watermarks on this specific

     19   ID.

     20          Additionally, there's raised printing, and I can refer to

     21   like the California driver's license.         If you run your fingers

     22   across parts of the ID, you will feel that some of the printing

     23   is raised.     And then there's also ultraviolet features that can

     24   only be seen when put under an ultraviolet light.

     25          So all those things put into one ball of wax, those would




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      1   be the things that we would look for.         And the vast majority of

      2   those I do not see on this, which would deem this invalid.

      3   And, again, just to emphasis, this is not a diplomatic

      4   passport.

      5                THE COURT:    With that, we are going to take the

      6   morning recess.     Please return back to the Court at 12:00 -- we

      7   will make it 12:45.      During your absence do not discuss the

      8   case amongst yourself or with any other person, please.

      9                THE COURTROOM DEPUTY:      All rise for the jury,

     10   please.

     11          (Recess taken from 11:30 a.m. to 12:49 p.m.)

     12          (Out of the presence of the jury.)

     13                THE COURTROOM DEPUTY:      Please come to order.      This

     14   court is now in session.      You can be seated everyone.

     15                THE COURT:    Okay.    We are back on the record on

     16   United States versus Flint.        We have counsel present, and the

     17   defendant is present, and the jury is not.

     18          There are apparently a couple matters to address before we

     19   bring in the jury, but I want to do that quickly because I

     20   would like to avoid delaying the trial.

     21                MR. HARBAUGH:     Yes, Your Honor.    Quickly, I would

     22   like to address with regard to the witness Agent Marriott, the

     23   Government provided at 7:38 last night new documents that had

     24   not been disclosed before trial.        So they violate Rule 16.         We

     25   open based on the state of the evidence.




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       1           Secondly, Your Honor, the documents that the Government is

       2   attempting to offer are hearsay, and --

       3                 THE COURT:    I'm not sure what you're referring to,

       4   so --

       5                 MR. HARBAUGH:    So, Your Honor, it's Government

       6   Exhibits 59 through 64, which we received last night.

       7                 THE COURT:    Let's see.   Let me find my exhibit.         59

       8   through 64?

       9                 MR. HARBAUGH:    I'm sorry, through 65.

     10                  THE COURT:    59 through 65 were listed in the

     11    Government's exhibit list, and that was provided at the

     12    beginning of trial.

     13                  MR. YANNIELLO:    So, Your Honor, they were provided

     14    on the exhibit list.       Some of these documents were actually

     15    produced in discovery.      For example, the --

     16                  THE COURT:    What I'm trying to figure out is when

     17    they were provided to defense counsel.        They are on the exhibit

     18    list.    You indicated, Mr. Harbaugh, that they were provided

     19    last night, but they're listed on the exhibit list.          The

     20    exhibit list was provided to the Court I believe on Tuesday.

     21                  MR. HARBAUGH:    Yes, Your Honor, they were provided

     22    last night.    They were generated on 10/15/2018, and they were

     23    provided to us on 10/16, which is last night, at 7:40.

     24                  THE COURT:    So --

     25                  MR. HARBAUGH:    They were not provided to the




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       1   defense, the underlying documents.        But, Your Honor, beyond

       2   that, fundamentally, these are searches, Internet searches,

       3   conducted by Agent Marriott on the 15th --

       4                 THE COURT:   I think we are ahead of ourselves.       So

       5   let's go back to this witness here, this witness.          If the

       6   Government intends to offer it at the time -- is it

       7   Mr. Marriott or Ms. Marriott?

       8                 MR. YANNIELLO:   Ms., Special Agent Marriott.

       9                 THE COURT:   At the time Special Agent Rebecca

     10    Marriott is called, then the Court will entertain objections.

     11                  THE COURTROOM DEPUTY:    Ready?

     12                  THE COURT:   Yes.

     13          (In the presence of the jury.)

     14                  THE COURT:   We have the jury reassembled with the

     15    alternate, all counsel are present and the defendant.           Please

     16    have a seat.

     17          We continue with the examination of Mr. Duretto.

     18                  MS. RO:   Your Honor, nothing further from the

     19    Government.

     20                  THE COURT:   Cross?

     21                               CROSS-EXAMINATION

     22    BY MS. WAKEFIELD:

     23    Q     Good afternoon.

     24    A     Good afternoon.

     25    Q     The Government asked you questions about the requirements




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       1   for diplomatic pouches.      Do you recall that?

       2   A     Yes.

       3   Q     And your testimony regarding the requirements for

       4   diplomatic pouches, that's based on your knowledge and review

       5   of the Standard Operating Procedures, correct?

       6   A     Correct.

       7   Q     And the Standard Operating Procedures are classified as

       8   sensitive security information?

       9   A     Correct.

     10    Q     And no part of the Standard Operating Procedures may be

     11    disclosed to the public, correct?

     12    A     Correct.

     13    Q     In fact, every page of the Standard Operating Procedures

     14    is marked with a warning that the document contains sensitive

     15    security information?

     16    A     Correct.

     17    Q     And that unauthorized release of these procedures may

     18    result in penalties?

     19    A     Correct.

     20    Q     The Standard Operating Procedures are not available

     21    online?

     22    A     Correct.

     23    Q     They're not published in legal books?

     24    A     Correct.

     25    Q     Now, the Standard Operating Procedures, they're the




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       1   official guidance for TSA's security officers?

       2   A     I would not use the word "guidance."        I would say it's the

       3   official policy that governs our frontline officers.

       4   Q     It governs the officers of the TSA?

       5   A     Correct.

       6   Q     And those are the officers who screen bags, right?

       7   A     Yes.

       8   Q     And people?

       9   A     Yes.

     10    Q     Now, security officers are trained on the Standard

     11    Operating Procedures?

     12    A     Correct.

     13    Q     And they're, of course, allowed to look at them?

     14    A     Yes, they are.

     15    Q     And they receive -- officers receive in-the-classroom

     16    training?

     17    A     Yes, they do.

     18    Q     They receive on-the-job training?

     19    A     Yes.

     20    Q     And they also must complete certification tests, right?

     21    A     Yes, annually.

     22    Q     Annually.

     23          And supervisors also provide frequent briefing on the

     24    Standard Operating Procedures to the frontline security

     25    officers?




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       1   A     They do at times.

       2   Q     Well, they're supposed to, right?

       3   A     If needed, yes.     Not always.

       4   Q     Well, the training that's provided to the security

       5   officers, it's to help them follow what's in the Standard

       6   Operating Procedures?

       7   A     Correct.

       8   Q     And you, you personally, have received extensive training

       9   on the Standard Operating Procedures, right?

     10    A     Yes.

     11    Q     And that's part of the elevated position that you hold?

     12    A     Correct.

     13    Q     And you have extensive on-the-job experience implementing

     14    the procedures in the Standard Operating Procedures?

     15    A     Correct.

     16    Q     It's fair to say that you know more about the Standard

     17    Operating Procedures than a frontline screening officer?

     18    A     Yes.   And if I may add to that, the -- the bag search,

     19    pat-downs of individuals, as you advance further into

     20    management and higher levels in management, your purview

     21    becomes more focused on what we call management screening

     22    Standard Operating Procedures, as opposed to what a uniformed

     23    officer does in terms of the step-by-step procedures.

     24    Q     Now, the Standard Operating Procedures, they have a

     25    chapter on specialized screening of property?




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       1   A     Yes, correct.

       2   Q     And that chapter includes a section on diplomatic pouches?

       3   A     Yes.

       4   Q     And it addresses diplomatic courier documentation?

       5   A     Correct.

       6   Q     Now, when a diplomatic pouch is presented, the Standard

       7   Operating Procedures tell the security officer to check for

       8   certain forms of documentation?

       9   A     Well, it's something that must be handled by a supervisor.

     10    That's the lowest level that can do it.        So the transportation

     11    security officers and lead officers are not authorized to

     12    conduct that screening.

     13    Q     So a supervisor has to do the screening and make the

     14    decision?

     15    A     Supervisor or above, yes.

     16    Q     Now, we've talked -- or you've talked about with the

     17    Government that the standard operation procedures tell the

     18    screening officer, whether that's the frontline or the manager

     19    or the supervisor, to check for a diplomatic passport?

     20    A     Correct.

     21    Q     And the other thing they're supposed to check for is a

     22    courier letter?

     23    A     Correct.

     24    Q     Now, the Standard Operating Procedures, they don't tell

     25    officers to rely on passenger statements, right?




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       1   A     Correct.

       2   Q     They're supposed to look for documents?

       3   A     Factual documents, yes.

       4   Q     Factual documents?

       5   A     Verifiable documents.

       6   Q     Now I want to talk to you about airport security programs.

       7   A     Okay.

       8   Q     Each airport has its own security program?

       9   A     Correct.

     10    Q     LAX has a security program?

     11    A     Correct.

     12    Q     And that program defines the sterile areas of LAX?

     13    A     Correct.

     14    Q     And what procedures are in place at LAX?

     15    A     I'm not sure I understand the question, what procedures.

     16    Q     What security procedures are in place at LAX?

     17    A     Anybody that -- anybody that enters the sterile area must

     18    receive 100 percent screening of the person and property.

     19    Q     Well, I want to ask you about LAX's security program.

     20    LAX's security program, as you said, is specific to LAX,

     21    correct?

     22    A     Yes.

     23    Q     Now, Chicago Midway has its own airport security program?

     24    A     Yes.

     25    Q     O'Hare Chicago has its own security program?




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       1   A     Yes.

       2   Q     St. Paul-Minneapolis airport has its own security program?

       3   A     Yes.

       4   Q     Now, you're aware that on July 25th, 2017, Mr. Flint's

       5   first flight was from Chicago Midway?

       6   A     As I understand it, yes.

       7   Q     And so when he was at Midway Airport, Midway's security

       8   program applied to him there, correct?

       9   A     Yes.

     10    Q     And then when he was at Minneapolis-St. Paul, that airport

     11    security program applied to him when he was there?

     12    A     Yes.

     13    Q     And then when he flew from Minneapolis-St. Paul to LAX and

     14    his flight landed at LAX, LAX's security program applied to him

     15    at LAX?

     16    A     Yes.

     17    Q     Now, you testified that you are the assistant federal

     18    security director for screening at LAX.

     19    A     Correct.

     20    Q     And you don't work at Midway, correct?

     21    A     Correct.

     22    Q     And you have never worked at Midway?

     23    A     No.

     24    Q     And you don't work at Minneapolis-St. Paul?

     25    A     No, I do not.




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       1   Q       And you have never worked there?

       2   A       No.

       3   Q       Now, LAX's security program is considered sensitive

       4   security information?

       5   A       Correct.

       6   Q       It's contents are not allowed to be disclosed to the

       7   public?

       8   A       Correct.

       9   Q       Public can't see what's inside LAX's security program?

     10    A       Correct.

     11    Q       Can't see the procedures outlined in that security

     12    program?

     13    A       Correct.

     14    Q       Now, LAX's security program differentiates between when

     15    the screening checkpoints are operational and when the

     16    screening checkpoints are nonoperational?

     17    A       I don't know if that's contained in the airport security

     18    plan.    Are you referring specifically to hours of operation?

     19    Q       No.   I'm referring to the section that deals with access

     20    by passengers.

     21                  MS. RO:   Objection, Your Honor; vague.

     22                  THE COURT:   Do you understand the question?

     23                  THE WITNESS:   I do not.

     24                  THE COURT:   Rephrase.

     25                  MS. WAKEFIELD:   Thank you, Your Honor.




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       1   Q     LAX's security program, it's written down, right, in a

       2   document?

       3   A     Yes, correct.

       4   Q     And the section of the document that deals with passenger

       5   access --

       6   A     Okay.

       7   Q     -- deals with -- has a section that talks about when

       8   security checkpoints -- when screening checkpoints are

       9   nonoperational, right?

     10    A     Yes.    So when -- for clarification, I'm assuming you're

     11    referring to when the screening operations are closed,

     12    nonoperational?

     13    Q     Well, you tell me.     The security program says when

     14    passenger screening checkpoints are nonoperational -- if it

     15    would refresh your recollection, I can direct you to the

     16    section.

     17    A     So point of clarification, the airport security plan is

     18    really -- it's a regulatory department that has jurisdiction or

     19    governance over the airport security plan.         I'm specifically

     20    from the airport screening operation, so I can look at it and

     21    give you some sort of intelligent answer, but it's not -- the

     22    airport security plan is nothing I operate off of.          We operate

     23    off of the Standard Operating Procedures for screening.

     24    Q     So you don't operate off of the airport security program

     25    at LAX?




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       1   A       There would be components of -- for example, there's

       2   access doors throughout the airport where you can use your

       3   secure media card to access.       Those would be things that just

       4   by nature of -- nature of going from one place to another

       5   throughout the course of the day would be something that

       6   would -- I would encounter in regards to the airport security

       7   plan.    But, again, basically the entirety of what the security

       8   operation operates off of is our Standard Operating Procedures

       9   for the screening operation.

     10    Q       Okay.   So is it fair to say, then, you are not as familiar

     11    with LAX's airport security plan?

     12    A       I have general knowledge of it, but I'm not a subject

     13    matter expert.     That would be our inspectors or regulators that

     14    would be the subject matter experts.

     15    Q       So you don't consider yourself an expert in LAX's airport

     16    security plan?

     17    A       I have a general understanding of it.

     18    Q       So that's a "no"?

     19    A       That's a "no."

     20    Q       So your testimony today is based on your expertise with

     21    respect to TSA's Standard Operating Procedures?

     22    A       So yes.   However, one thing that I would say that, yes, I

     23    am a subject matter expert in is defined areas in the airport

     24    that are sterile versus nonsterile, which would be included in

     25    the airport security plan.




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       1   Q     Okay.    So just so I'm clear, so the airport security plan

       2   defines what areas are sterile and not sterile at LAX?

       3   A     It's an agreement between the airport authority and TSA.

       4   Q     Okay.    And you consider yourself an expert in that portion

       5   of the airport security program; is that --

       6   A     Yes, correct.

       7   Q     So, then, you're familiar with the section of the airport

       8   security program that deals with when passengers can enter the

       9   sterile area when the passenger screening checkpoint is

     10    nonoperational?

     11    A     I would have to view it to know what you're referring to.

     12    Q     Okay.    It should be Defense Exhibit 148.       I apologize,

     13    there are a lot of binders up there.

     14          (Exhibit 148 for identification.)

     15                  THE WITNESS:   148?

     16    BY MS. WAKEFIELD:

     17    Q     148.

     18    A     Okay.

     19    Q     And if you look at page 2.

     20    A     Okay.

     21    Q     You see where it says "Access controls to be used when the

     22    passenger screening checkpoint is nonoperational"?

     23    A     Yes, I see that.

     24    Q     And you're not familiar with this section of the airport

     25    security program?




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       1   A     I've read it at some point.        It's been quite a while.        I

       2   would have to review it.

       3   Q     Okay.    Well, this section deals with when screening

       4   checkpoints are nonoperational, correct?

       5   A     I would have to read it first.

       6                 MS. WAKEFIELD:    May I have one moment, Your Honor?

       7                 THE COURT:    Yes.

       8         (Discussion off the record.)

       9   BY MS. WAKEFIELD:

     10    Q     Thank you.    If you're not familiar with it, then I'm not

     11    going to ask you any questions on it.

     12    A     Okay.

     13                  MS. WAKEFIELD:    May I have one more moment,

     14    Your Honor?

     15          (Discussion off the record.)

     16                  MS. WAKEFIELD:    Nothing further, Your Honor.

     17                  THE COURT:    Thank you.

     18          Redirect?

     19                  MS. RO:   Yes, Your Honor.

     20                               REDIRECT EXAMINATION

     21    BY MS. RO:

     22    Q     Mr. Duretto, defense counsel just asked you to look at the

     23    airport security program, and they referenced it in a defense

     24    exhibit, and I apologize, I forget the exhibit number.           You

     25    mentioned that you're an expert of the sterile area within it?




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       1   A     Yes.

       2   Q     If I could turn your direction to the defense exhibit,

       3   second page.

       4   A     Okay.

       5   Q     Paragraph --

       6                 THE COURT:   What number are you referring to?

       7   Exhibit 148?

       8                 MS. WAKEFIELD:   It's 148, Your Honor.

       9                 MS. RO:   Thank you.   Sorry.

     10    Q     Defense Exhibit 148, the second page, and only the

     11    specific section under 6.1.

     12    A     Okay.

     13                  THE COURT:   And this is Bates-stamped 1039?

     14                  MS. RO:   Yes, Your Honor.

     15    Q     Are you familiar with that specific paragraph?

     16    A     May I read it first?

     17    Q     Yes.

     18                  THE COURT:   To yourself, first.

     19    BY MS. RO:

     20    Q     To yourself.

     21    A     Yes.

     22          Okay.    Yes, I'm familiar with that.

     23    Q     And what is the definition of a sterile area during the

     24    inplaning and deplaning of passengers specific to boarding

     25    bridges or stairs?




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       1   A       I'm unclear of what you mean by "inplaning."

       2   Q       Sure.    What is the definition of a sterile area based on

       3   that specific paragraph, if you know from your own knowledge?

       4   A       So a sterile area, based off of this paragraph, would be

       5   areas beyond the security checkpoint where passengers and

       6   property have been screened, and that would be inclusive of --

       7   I mentioned previously to the defense, there's access doors

       8   that only security media can authorize you through those doors.

       9   Those would be encompassed in the sterile area, as would the

     10    holding areas for boarding of aircraft, the jet bridges, which

     11    you walk onto the aircraft, the aircraft itself.          And then,

     12    again, as stated earlier, the airfield itself is also a sterile

     13    area.

     14                    MS. RO:   I'm publishing to the jury what's been

     15    previously admitted as Government's Exhibit 45, which is an

     16    image of Terminal 3.

     17    Q       You mentioned the boarding bridges and boarding stairs.

     18    Is that indicated in this image?

     19    A       Yes.

     20    Q       And can you please circle the area.

     21    A       And, actually, these lines here, so everything that's

     22    blue, this is all airfield.       This would be outdoors, of course.

     23    This is not inside the building, but this entire area would be

     24    sterile.

     25                    MS. RO:   May the record reflect that the witness has




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       1   drawn a red square around the blue area of this exhibit, as

       2   well as drawing a circle around the pink -- the pink image as

       3   well.

       4                THE COURT:    Not quite a circle, but --

       5                MS. RO:    An outline.

       6                THE COURT:    He outlined it.

       7   BY MS. RO:

       8   Q       So are these the sterile areas of Los Angeles

       9   International Airport?

     10    A       Yes, ma'am.

     11    Q       And are security requirements and TSA policies derived

     12    from United States statutes, regulations, United States law?

     13                 MS. WAKEFIELD:    Objection; calls for a legal

     14    conclusion and compound.

     15                 THE COURT:    Overruled.

     16                 THE WITNESS:    There are Code of Federal Regulations

     17    that govern that, and, again, that would be our compliance,

     18    also referred to as regulatory department that has oversight on

     19    those areas.

     20                 MS. RO:    Your Honor, may I have one quick moment?

     21            Nothing further, Your Honor.

     22                 THE COURT:    Recross?

     23                 MS. WAKEFIELD:    Nothing.    Thank you.

     24                 THE COURT:    Thank you, sir, for your testimony.

     25                 THE WITNESS:    Thank you, Your Honor.




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       1                THE COURT:    May the witness be excused?

       2                MS. RO:   Yes, Your Honor.

       3                THE COURT:    Mr. Duretto is excused.      Thank you.

       4                THE WITNESS:    Thank you.

       5                MR. YANNIELLO:    Your Honor, the United States calls

       6   Deputy John Schneider.

       7         May I have a moment with defense counsel?

       8                THE COURT:    Yes.

       9         (Discussion off the record.)

     10                 THE COURTROOM DEPUTY:     Good afternoon, sir.      Would

     11    you please come forward.

     12          Would you please come right here.        Would you stop right

     13    there and raise your right hand to be sworn.

     14        JOHN CURTIS SCHNEIDER, III, GOVERNMENT WITNESS, WAS SWORN

     15                 THE WITNESS:    Yes, I do.

     16                 THE COURTROOM DEPUTY:     Thank you, sir.     Would you

     17    please be seated.

     18          Sir, for the record, would you please state your name, and

     19    spell your last name.

     20                 THE WITNESS:    Yes, my name is John Curtis

     21    Schneider, III, and my last name is spelled S-c-h-n-e-i-d-e-r.

     22                 THE COURT:    Your witness.

     23                              DIRECT EXAMINATION

     24    BY MR. YANNIELLO:

     25    Q     Good afternoon, Deputy Schneider.




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       1   A       Good afternoon.

       2   Q       What is your current occupation?

       3   A       I'm a deputy sheriff for the Ogemaw County Sheriff's

       4   Office in West Branch, Michigan.

       5   Q       And whereabouts in Michigan is Ogemaw County?

       6   A       Ogemaw is located approximately four and a half hours

       7   north of Detroit.

       8   Q       And how long have you been a law enforcement officer?

       9   A       I have been a police officer for 10-1/2 years.

     10    Q       And how long have you been with the sheriff's office?

     11    A       I have been with Ogemaw about 10.

     12    Q       What are your general job duties?

     13    A       Generally I do roll patrol, traffic enforcement.

     14    Q       Were you working patrol on September 10th, 2016?

     15    A       Yes, I was.

     16    Q       And did you conduct a traffic stop on someone in this

     17    room?

     18    A       Yes, I did.

     19    Q       Can you please identify that person.

     20    A       It's the gentleman in the dark blue suit with a grayish

     21    tie.

     22                 MR. YANNIELLO:    Your Honor, we would ask that the

     23    transcript reflect that the witness has identified the

     24    defendant.

     25                 THE COURT:    Yes, he's identified Mr. Flint.




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       1   BY MR. YANNIELLO:

       2   Q     You said you conducted a traffic stop on the defendant

       3   that day; is that correct?

       4   A     Yes, I did.

       5   Q     Can you describe that for us.

       6   A     I was sitting stationary on I-75, which is a highway that

       7   runs through our county, and I observed Mr. Flint's vehicle

       8   traveling northbound past my location where I was set up.

       9   Q     And did you observe a traffic violation?

     10    A     Yes, I did.    I observed that Mr. Flint's vehicle had an

     11    expired registration tag affixed to the license plate.

     12    Q     I assume you pulled the defendant over at that point.

     13    A     Yes.   I got behind Mr. Flint and conducted a traffic stop.

     14    Q     What happened when you made contact with Mr. Flint?

     15    A     I asked Mr. Flint for his driver's license, his

     16    registration, and proof of insurance.

     17    Q     And how did he respond?

     18    A     Mr. Flint provided me with his driver's license and

     19    advised me that his registration, proof of insurance he did not

     20    have with him, that it was at his house.

     21    Q     Did he make any other representations to you at that

     22    point?

     23    A     Yes.   Immediately after that he advised me that he was a

     24    civil rights attorney for the United States government, and

     25    that he was also a defense attorney in the state of Michigan




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       1   and in North Carolina.

       2   Q     So he volunteered all that information to you when you

       3   requested his identification and proof of insurance?

       4   A     Yes.

       5   Q     Did you continue to conduct your investigation after that?

       6   A     Yes, I did.

       7   Q     And what was the result of your investigation?

       8   A     Through the results of my investigation, it was determined

       9   that Mr. Flint's registration was not valid and that he did not

     10    have insurance on his vehicle.

     11    Q     Did you tell the defendant that he was going to be placed

     12    under arrest?

     13    A     Yes, I did.

     14    Q     And how did the defendant respond?

     15    A     Mr. Flint advised me again that he was a civil rights

     16    attorney for the United States Government and that he has

     17    diplomatic immunity and cannot be charged with traffic or

     18    criminal offenses.

     19    Q     So he told you that he had diplomatic immunity when you

     20    said you were going to arrest him?

     21    A     Yes.

     22    Q     And what happened next?

     23    A     I placed a handcuff on Mr. Flint, and he tensed up, and he

     24    again told me that he had diplomatic immunity and he could not

     25    be arrested.




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       1   Q     So he told you he stated he had diplomatic immunity twice

       2   to you?

       3   A     Yes.

       4   Q     And when he did this, how -- just to provide some context

       5   for the jury, where were you and the defendant at the time?

       6   A     We were on the rear passenger side of his car, and I was

       7   probably approximately three to four feet away from him when I

       8   was talking to him.

       9   Q     Okay.    At the time did he show you a diplomatic passport?

     10    A     No, he did not.

     11    Q     Did he show you any form of identification that said he

     12    was a diplomat?

     13    A     No.

     14    Q     Did he describe what type of diplomatic status he thought

     15    he had?

     16    A     No, he did not.

     17    Q     Did he tell you he worked for a man named Robert Shumake?

     18    A     No, he did not.

     19                  MR. YANNIELLO:   Nothing further, Your Honor.

     20                  THE COURT:   Any cross?

     21                               CROSS-EXAMINATION

     22    BY MS. WAKEFIELD:

     23    Q     Good afternoon.

     24    A     Good afternoon.

     25    Q     You're a sheriff's deputy in Ogemaw County, Michigan?




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       1   A     Yes, ma'am.

       2   Q     And Ogemaw County, the population is pretty small, right?

       3   A     Yes, ma'am.

       4   Q     And you pulled over Mr. Flint in Horton Township,

       5   Michigan?

       6   A     Yes, ma'am.

       7   Q     That also is pretty small, right?

       8   A     It's a township, ma'am.      It's not a town.

       9   Q     More than a thousand people that live there?

     10    A     I'm not sure.     There is more than a thousand in

     11    West Branch.

     12    Q     When Mr. Flint said he had diplomatic immunity, you didn't

     13    ask him to explain why he thought he did, right?

     14    A     Right.

     15    Q     You didn't ask him why he misunderstood why he thought he

     16    did, right?

     17    A     Right.

     18    Q     You didn't ask him to explain what he had been told about

     19    having diplomatic immunity?

     20    A     Correct.

     21    Q     You didn't ask him any questions about what his status was

     22    specifically?

     23    A     Correct.

     24    Q     In your view, Mr. Flint was not immune from the vehicle

     25    violations, right?




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       1   A     Correct.

       2   Q     And your investigation that day was not about whether he

       3   was mistaken about having diplomatic immunity?

       4   A     Correct.

       5   Q     Now, the traffic stop that you're talking about, it

       6   occurred in September of 2016?

       7   A     Yes.

       8   Q     Now I would like you to take a look at Government Exhibit

       9   2, which should be in one of the binders, or I can display it,

     10    if that's easier.

     11          And, Your Honor, this is Government's Exhibit 2.

     12                 THE COURT:    Yes, it's already been received, yes.

     13    BY MS. WAKEFIELD:

     14    Q     He didn't show you this ID card, right?

     15    A     No, he did not.

     16    Q     And you see on the back of that ID card is an issue date

     17    of October 20th, 2016?

     18    A     Yes.

     19    Q     And that would be after the traffic stop, right?

     20    A     Yes.

     21    Q     Now, Mr. Flint didn't show you a diplomatic pouch, right?

     22    A     No, he did not.

     23    Q     Or a courier letter, anything like that, right?

     24    A     No.

     25    Q     And Mr. Flint that day, he was detained for the license




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       1   plate issue, right?

       2   A     That, and the insurance, yes, ma'am.

       3   Q     And the insurance.

       4         And those are both traffic infractions?

       5   A     They are misdemeanor charges.

       6   Q     They are infractions, right?

       7   A     They're misdemeanor charges.

       8                 MR. YANNIELLO:   Objection; legal conclusion,

       9   Your Honor.

     10                  THE COURT:   Overruled.

     11    BY MS. WAKEFIELD:

     12    Q     And you know that Mr. Flint accepted responsibility,

     13    right?

     14    A     I believe so, yes.

     15    Q     He paid the fine that was required, right?

     16    A     From what I've been told, yes.

     17    Q     You weren't required to testify at a trial, right?

     18    A     No.

     19    Q     And so he admitted that he didn't have the right license

     20    plate on the car, correct?

     21    A     That day he did not.

     22    Q     Now, you were contacted by federal prosecutors for the

     23    first time on October 5th, 2018, correct?

     24    A     I believe that's the day, yes.

     25    Q     They didn't contact you in 2017?




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       1   A     No, they did not.

       2   Q     And they flew you from Ogemaw County, Michigan to L.A.?

       3   A     From Traverse City, Michigan to L.A.

       4   Q     And that's to testify, right?

       5   A     Yes, ma'am.

       6   Q     And the only thing Mr. Flint was charged with is the

       7   license plate?

       8   A     And the no insurance.

       9   Q     And the no insurance.

     10          And you are aware that Mr. Flint did accept responsibility

     11    for that, correct?

     12    A     From what I've been told.

     13                 MS. WAKEFIELD:    No further questions.

     14                 THE COURT:    Keep it short, please.

     15                 MR. YANNIELLO:    Yes, Your Honor.

     16                              REDIRECT EXAMINATION

     17    BY MR. YANNIELLO:

     18    Q     When Mr. Flint asked you or when he asserted diplomatic

     19    immunity to you, he didn't ask to call Robert Shumake, correct?

     20    A     No, he did not.

     21    Q     And this document here, you have no idea if this is real

     22    or fake, correct?

     23    A     Correct.

     24                 MR. YANNIELLO:    Nothing further.

     25                 MS. WAKEFIELD:    Just one follow-up question,




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       1   Your Honor.

       2                 THE COURT:   Go ahead.

       3                              RECROSS-EXAMINATION

       4   BY MS. WAKEFIELD:

       5   Q     On the expired insurance, you realize it had only been

       6   expired for two days, correct?

       7   A     On his phone.

       8   Q     He pulled up the Geico policy, correct?

       9   A     I called Geico.

     10    Q     You called Geico, and you realized it had only been

     11    expired for two days?

     12    A     No, they didn't say it was expired.        They said he was not

     13    insured.

     14    Q     For two days, correct?

     15    A     Correct.

     16                  THE COURT:   Thank you.

     17          May the deputy be excused?

     18                  MR. YANNIELLO:   Yes, Your Honor.

     19                  THE COURT:   Thank you very much for your testimony.

     20          Next?

     21                  MR. YANNIELLO:   The Government calls Rebecca --

     22    Special Agent Marriott.

     23                  THE COURT:   And why don't you confer with counsel

     24    regarding the exhibits that were previously discussed.

     25                  THE COURTROOM DEPUTY:     Good afternoon.    Would you




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       1   please come forward.

       2         Would you please stop right there and raise your right

       3   hand to be sworn.

       4             REBECCA MARRIOTT, GOVERNMENT WITNESS, WAS SWORN

       5                THE WITNESS:    I do.

       6                THE COURTROOM DEPUTY:     Thank you.    Would you please

       7   be seated.

       8         Hi.

       9                THE WITNESS:    Hi.

     10                 THE COURTROOM DEPUTY:     For the record, would you

     11    please state your name, and then spell your last name.

     12                 THE WITNESS:    Rebecca Marriott, M-a-r-r-i-o-t-t.

     13                 THE COURTROOM DEPUTY:     Thank you.

     14                 THE COURT:    You need some water?

     15                 THE WITNESS:    I'm good, thank you.

     16                 THE COURTROOM DEPUTY:     There's some water right

     17    there for you if you need it.

     18                 THE WITNESS:    Thank you.

     19                 THE COURT:    Your witness, Mr. Yanniello.

     20                 MR. YANNIELLO:    Thank you, Your Honor.

     21          And just one cleanup item from the prior witness.          The

     22    Government would move, pursuant to the Court's order, the

     23    certified conviction record, that's Government's 43, into

     24    evidence.

     25                 THE COURT:    Any objection?




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       1                MS. WAKEFIELD:    No, Your Honor.

       2                THE COURT:    Received.

       3         (Exhibit 43 received into evidence.)

       4                             DIRECT EXAMINATION

       5   BY MR. YANNIELLO:

       6   Q     Good morning, Special Agent Marriott.

       7   A     Good morning.

       8   Q     For how long have you been an FBI agent?

       9   A     I have been an agent for 8-1/2 years.

     10    Q     And that's your current role?

     11    A     Yes, it is.

     12    Q     And what did you do before you were an FBI agent?

     13    A     I was an elementary teacher.

     14    Q     And were you -- where were you assigned in July 2017?

     15    A     I was assigned to Los Angeles International Airport.

     16    Q     And can you generally describe your job duties as an FBI

     17    agent assigned to LAX.

     18    A     I investigated crimes onboard aircraft, as well as federal

     19    violations within the airport.

     20    Q     Did your job responsibilities at that time include

     21    interviewing individuals who disembark from -- at LAX?

     22    A     Yes.

     23    Q     In July 2017 did you participate in an interview of an

     24    individual that you see in this courtroom?

     25    A     Yes, I did.




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       1   Q     Can you identify that individual?

       2   A     He is on my right, in the blue suit.

       3                 THE COURT:   Identifying Mr. Flint.

       4   BY MR. YANNIELLO:

       5   Q     Can you please explain the circumstances leading up to

       6   your participation in that interview with Mr. Flint on July

       7   25th, 2017?

       8   A     My office at LAX had received a phone call that an

       9   individual was flying into the airport, and that he had boarded

     10    that aircraft and that his bag had not been screened, and so

     11    the contents of the bag were unknown, and we were requested to

     12    meet the aircraft.

     13    Q     So you said "requested to meet the aircraft."          So you

     14    received notice prior to the plane landing?

     15    A     Yes.

     16    Q     And can you estimate how long before the plane landed that

     17    you received that notice?

     18    A     It wasn't very long.      I want to say maybe 15 or 20 minutes

     19    prior to the aircraft landing we were notified.

     20    Q     What did you do after you were notified?

     21    A     We immediately went to the gate to meet the aircraft.

     22    Q     And were you -- where were you when the plane landed?

     23    A     We were waiting for the plane to land at the gate where

     24    they extend the jet bridge out to meet the aircraft.

     25    Q     And so is the gate -- where did you first see the




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       1   defendant?

       2   A     As he was disembarking off of the aircraft.

       3   Q     And you met him there?

       4   A     Yes.

       5   Q     I'm going to show you what has been marked and admitted as

       6   Government Exhibit 45.

       7         Do you recognize this?

       8   A     Yes.

       9   Q     What does it depict?

     10    A     This is a map of Terminal 3 at Los Angeles International

     11    Airport.

     12    Q     And can you just generally describe where you met the

     13    defendant on July 25th, 2017.

     14    A     Is this touch screen?

     15          So these are -- back here are all of the gates where

     16    aircraft can land, and the jet bridge is attached to the

     17    aircraft and passengers disembark.        All of this is in the --

     18    what's considered the sterile or secure side of the airport.

     19    Q     And so you don't necessarily recall which gate, but that's

     20    where you met him, in one of those or around one of those

     21    gates?

     22    A     Yes.

     23    Q     Thank you.

     24          When the defendant arrived, were there any items seized

     25    from him on July 25th, 2017?




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       1   A     Yes.

       2   Q     What was seized?

       3   A     He had a binder full of documentations that he presented.

       4   He also had identification cards that he had presented, a bag

       5   that contained cash as well.

       6                MR. YANNIELLO:    And, Your Honor, may I request that

       7   Special Agent Simon approach the witness with what's been

       8   marked as Government's Exhibit 29?

       9                THE COURT:    Yes.

     10          (Exhibit 29 for identification.)

     11    BY MR. YANNIELLO:

     12    Q     Do you recognize this item?

     13    A     Yes.

     14    Q     What is it?

     15    A     This is the bag that Mr. Flint carried with him that day.

     16    Q     Now I'm going to direct your attention to the binder next

     17    to you.   Could you please open Government's Exhibit 30.

     18                 THE COURT:    Do you have -- are you moving 29 into

     19    evidence at this time?

     20                 MR. YANNIELLO:    The Government would move to admit

     21    Government's 29.

     22                 MR. HARBAUGH:    No objection, Your Honor.

     23                 THE COURT:    29 is received.

     24          (Exhibit 29 received into evidence.)

     25                 THE COURT:    May I see 29, please?




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       1         Go ahead.

       2   BY MR. YANNIELLO:

       3   Q     Special Agent Marriott, would you look at Exhibit 30 in

       4   the binder next to you, Government's Exhibit 30, yes, and take

       5   a look at those photographs.

       6         (Exhibit 30 for identification.)

       7   BY MR. YANNIELLO:

       8   Q     Do you generally recognize what these photographs depict?

       9   A     Yes, I do.

     10    Q     What do they depict?

     11    A     These are photographs of Mr. Flint's bag that he had that

     12    day, as well as the contents of the bag.

     13                 MR. YANNIELLO:    Government moves to admit Exhibit

     14    30, Your Honor.

     15                 THE COURT:    Objection?

     16                 MR. HARBAUGH:    No objection, Your Honor.

     17                 THE COURT:    Received.

     18          (Exhibit 30 received into evidence.)

     19    BY MR. YANNIELLO:

     20    Q     Special Agent Marriott, I'm publishing the first page.

     21    Can you describe what you see there?

     22    A     This is the one side of Mr. Flint's bag.

     23    Q     And it appears that there's some embroidery on it?

     24    A     Yes.

     25    Q     Now I'm going to publish page 2.        What does that depict?




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       1   A     This is showing the other side of his bag, as well as some

       2   of his personal belongings that he had with him that day.

       3   Q     And so this is the other side of the pouch?

       4   A     Correct.

       5   Q     Now, you previously mentioned that you interviewed the

       6   defendant on that day, but before we discuss that, I'm going to

       7   focus on the search of the pouch.       Did -- was the pouch

       8   searched on July 25th, 2017?

       9   A     Yes, it was.

     10    Q     And did the pouch have a lock on the zipper?

     11    A     Yes, it did.

     12    Q     Now I'm going to publish page 4.        On the top right-hand

     13    corner, does that depict the locking system that you

     14    referenced?

     15    A     Yes, it does.

     16    Q     And what does this picture depict?

     17    A     This is the bag showing the contents of what's inside.

     18    Q     And what were those contents?

     19    A     Plastic bags with money inside.

     20    Q     Okay.   I'm going to publish page 4.       Does that accurately

     21    depict how the money was wrapped inside of the bag?

     22    A     Yes, it does.

     23    Q     And were there multiple bags wrapped in a similar manner?

     24    A     Yes.

     25    Q     So just two more photos, I believe.        This is number




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       1   page 7.

       2         And, finally, page 12.

       3         Special Agent Marriott, does this accurately reflect the

       4   amount of money that Defendant Flint had in the pouch that day?

       5   A     Yes.

       6   Q     And all of those bags that are in the top portion of the

       7   picture, those were the bags that were wrapping around the

       8   money?

       9   A     Yes.

     10                 MR. YANNIELLO:    Your Honor, I apologize for having

     11    to request it, but is there any way that the Government can get

     12    a short continuance?      The clips -- we're having a malfunction

     13    and probably just need five to ten minutes.

     14                 THE COURT:    You're talking about a recess?

     15                 MR. YANNIELLO:    Brief recess.

     16                 THE COURT:    Yes, we can take a brief recess.

     17          Please return back to the court at a quarter to and we

     18    will continue with the trial.       During your absence do not

     19    discuss the case amongst yourself or with any other person.

     20                 THE COURTROOM DEPUTY:     All rise for the jury,

     21    please.

     22                 THE COURT:    We are in recess.

     23          (Recess taken from 1:37 p.m. to 1:53 p.m.)

     24                 THE COURTROOM DEPUTY:     All rise for the jury,

     25    please.




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       1         (In the presence of the jury.)

       2                THE COURT:    Okay.   We have the jury reassembled with

       3   our alternate, counsel are present with the defendant, and we

       4   continue with the direct examination of Special Agent Rebecca

       5   Marriott.

       6         And has the matter been fixed?

       7                MR. YANNIELLO:    Yes, Your Honor.

       8   Q     Special Agent Marriott, you referenced that a binder was

       9   seized from the defendant on July 25th, 2017.

     10          Your Honor, may I ask Special Agent Simon to bring the

     11    witness what's been marked as Exhibit 3?

     12                 THE COURT:    Yes.

     13          (Exhibit 3 for identification.)

     14    BY MR. YANNIELLO:

     15    Q     Do you recognize this?

     16    A     Yes.

     17    Q     What is it?

     18    A     This is the binder that was presented to me during the

     19    interview.

     20                 MR. YANNIELLO:    And, Your Honor, to save court time,

     21    I would move in copies of those -- the contents of that binder,

     22    which are Exhibits 4 through 6, 8, 9 and 38.

     23                 THE COURT:    4, 5, 6, 8, 9 and 38, any objection?

     24                 MR. HARBAUGH:    No objection.

     25                 THE COURT:    All received.




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       1         (Exhibits 4, 5, 6, 8, 9 and 38 received into evidence.)

       2                 MR. YANNIELLO:   And move Exhibit 3 in too.

       3                 THE COURT:   All received.

       4         (Exhibit 3 received into evidence.)

       5   BY MR. YANNIELLO:

       6   Q     Special Agent Marriott, prior to court today, have you

       7   reviewed excerpts of the recorded interview involving the

       8   defendant on July 25th, 2017?

       9   A     Yes.

     10    Q     And have those been marked -- or have those been

     11    identified as Government's Exhibits 47 through 55 and 58?

     12    A     Yes.

     13                  MR. HARBAUGH:    No objection, Your Honor.

     14                  THE COURT:   48 through 55 and 38 are received.

     15          (Exhibits 48 through 55 and 38 received into evidence.)

     16                  MR. YANNIELLO:   Your Honor, may I have the Court's

     17    permission to distribute to members of the jury a set of

     18    transcripts, each of which has been provided to the defense?

     19                  THE COURT:   Yes.

     20                  MR. YANNIELLO:   And may I also ask that the Court

     21    admonish the jury about how to consider the transcripts and the

     22    recordings?

     23                  THE COURT:   Yes.   One second.

     24          You're going to hear an audio recording.         This apparently

     25    is an interview of Mr. Flint.       You have transcripts of the




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       1   recording.     The evidence is the recording itself and not the

       2   transcripts.    If there's a difference in your reading of the

       3   transcripts with what is stated on the recording, it is the

       4   recording that is the evidence in the case.         The transcripts

       5   are only provided to assist you in understanding the words.

       6           So, Counsel, you move for -- moved into evidence

       7   Exhibits 48 -- I'm sorry, 47 through 55, and so certain of the

       8   exhibits that you offered were transcripts, and those should

       9   not be received into evidence, the transcripts are not

     10    received.

     11                 MR. YANNIELLO:    That's correct, Your Honor.

     12                 THE COURT:    They are only to assist the jury at this

     13    time.

     14                 MR. YANNIELLO:    Right.

     15                 THE COURT:    Let's -- do you wish to play the audio?

     16                 MR. YANNIELLO:    Yes.

     17            And just to clarify, there are a couple empty binders -- a

     18    couple empty exhibit clips, but there is 58 that the Government

     19    has moved in as well.

     20                 THE COURT:    So 58 is offered?

     21                 MR. YANNIELLO:    Yes, Your Honor.

     22                 THE COURT:    Any objection to 58?

     23                 MR. HARBAUGH:    No, Your Honor.

     24                 THE COURT:    That's received also.

     25            (Exhibit 58 received into evidence.)




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       1   BY MR. YANNIELLO:

       2   Q     So, Special Agent Marriott, during the interview with

       3   defendant on July 25th, 2017, did you ask him if he had ever

       4   been stopped before or turned away from a security screening

       5   checkpoint?

       6   A     Yes.

       7                 MR. YANNIELLO:   One moment, Your Honor.

       8         (Discussion off the record.)

       9                 THE COURT:   Ready?

     10                  MR. YANNIELLO:   Yes.

     11    Q     I will restate the question.       During the interview on July

     12    25th, 2017, did you ask the defendant whether he had ever

     13    previously been turned away from a security checkpoint before?

     14    A     Yes.

     15    Q     I will now play Government's Exhibit 53.

     16          (Audio recording played in open court.)

     17                  MR. YANNIELLO:   At this time I will play Exhibit 47.

     18          (Audio recording played in open court.)

     19    BY MR. YANNIELLO:

     20    Q     Special Agent Marriott, in that portion of the clip, did

     21    defendant present you with a copy of Robert Shumake's passport

     22    in the binder?

     23    A     Yes.

     24    Q     Was that true?

     25    A     No.




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       1   Q      The defendant also referenced the Geneva Convention.          Did

       2   you see a copy of the Geneva Convention in the binder?

       3   A      No.

       4   Q      Do you know what the Geneva Convention is?

       5   A      I only know it has to do with war crimes.

       6   Q      Was there a copy of any agreement in the binder?

       7   A      There was a copy of the Vienna Convention.

       8   Q      I am showing you what's been admitted as Government's

       9   Exhibit 6.

     10           Is this a copy of the Vienna Convention that you found

     11    in -- or that was located in defendant's binder?

     12    A      Yes.

     13    Q      And on July 25th, 2017, did you review the documents

     14    closely, or did you review this document closely?

     15    A      No.

     16    Q      Looking at this document now, does anything stand out to

     17    you?

     18    A      Yes.

     19    Q      What stands out to you?

     20    A      The document states:     "Not yet in force."

     21    Q      And you're referring to this portion here?

     22    A      Yes.

     23    Q      And just to be clear, on July 25th, 2017, the defendant

     24    referenced this agreement as a basis for his diplomatic

     25    immunity, correct?




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       1   A     Yes.

       2   Q     At this time I will play Government's Exhibit 48.

       3         (Audio recording played in open court.)

       4                MR. YANNIELLO:    I'm going to play the next exhibit

       5   as well, and that's Exhibit 49.

       6         (Audio recording played in open court.)

       7   BY MR. YANNIELLO:

       8   Q     So, Special Agent Marriott, in that clip the defendant

       9   discussed an appointment notice for Robert Shumake, did you

     10    review that document?

     11    A     Yes.

     12    Q     I'm going to show you what has been admitted as

     13    Government's Exhibit 5.

     14          Now, is this that document that the defendant was

     15    referencing?

     16    A     Yes.

     17    Q     And why did defendant point this document out to you on

     18    July 25th, 2017?

     19    A     He was showing it as a reference to Mr. Shumake being a

     20    ambassador and that this was his appointment letter.

     21    Q     And have you reviewed the letter?

     22    A     Yes.

     23    Q     Does it provide any diplomatic immunities or status to

     24    Mr. Shumake?

     25    A     No.




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       1   Q     What gave you that impression?

       2   A     There is certain wording, such as paragraph 3, "The

       3   defendant of foreign and international affairs of the

       4   International Human Rights Commission hope that the government

       5   of the United States will extend all possible assistance

       6   according to the international protocols," "hope" leads me to

       7   believe that nothing has occurred.        Also, if you reference

       8   paragraph 5, "The Department of Foreign and International

       9   Affairs of the International Human Rights Commission is

     10    wondering about the possibility of starting friendly, then a

     11    formal diplomatic relationship with the people and state of the

     12    United States."

     13    Q     So the document actually states on its face that there's

     14    no formal relationship between the United States and this

     15    Pakistan-based organization?

     16    A     Yes.

     17    Q     At this time I'm going to play Government's --

     18          One moment, Your Honor.

     19          At this time I'm going to play Government's Exhibit 50.

     20          (Audio recording played in open court.)

     21                  MR. YANNIELLO:   I'm now going to play Government's

     22    Exhibit 51.

     23          (Audio recording played in open court.)

     24                  MR. YANNIELLO:   I will now play Government's Exhibit

     25    52.




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       1         (Audio recording played in open court.)

       2                 MR. YANNIELLO:   I'm going to play Government's

       3   Exhibit 54.

       4         (Audio recording played in open court.)

       5   BY MR. YANNIELLO:

       6   Q     And so in that clip, just to highlight something that the

       7   defendant said, he represented to you -- is it true he

       8   represented to you that he didn't know that there was an issue

       9   with the state department prior to this incident?

     10    A     Correct, he did not know.

     11                  MR. YANNIELLO:   One moment, Your Honor.

     12          (Discussion off the record.)

     13                  MR. YANNIELLO:   I'm going to play Government's

     14    Exhibit 58.

     15          (Audio recording played in open court.)

     16                  MR. YANNIELLO:   And then, finally, I'm going to play

     17    Government's Exhibit 55.

     18          (Audio recording played in open court.)

     19    BY MR. YANNIELLO:

     20    Q     I'm going to publish what's been marked as Government's

     21    Exhibit 2.

     22          And so in that final portion of that clip, was this the

     23    address you were referring to?

     24    A     Yes, it was.

     25    Q     And did the defendant tell you during that clip how this




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       1   card came to be laminated?

       2   A     Yes.

       3   Q     How was it laminated?

       4   A     He laminated it.

       5   Q     He also referenced in that clip that he looked up things

       6   online and he researched, essentially, whether or not he could

       7   travel with this diplomatic passport, correct?

       8   A     That's correct.

       9   Q     After this interview, have you conducted some Internet

     10    research?

     11    A     Yes.

     12    Q     Did you --

     13          Let me back up, Your Honor.

     14          Are you familiar with Google?

     15    A     Yes.

     16    Q     And did you do a Google search related to being a

     17    diplomatic courier who is carrying cash?

     18    A     Yes.

     19    Q     And what search did you type?

     20    A     What did I type in the search engine?

     21    Q     Yes.

     22                 MR. HARBAUGH:    Objection; relevance, Your Honor.

     23                 THE COURT:    Overruled.

     24                 THE WITNESS:    "Carrying cash in a diplomatic pouch."

     25    BY MR. YANNIELLO:




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       1   Q     And did you make a screen shot of your search result?

       2   A     Yes.

       3   Q     I'm going to ask you what's been marked -- I'm going to

       4   ask you to look at what's been marked as Government's

       5   Exhibit 59.

       6         (Exhibit 59 for identification.)

       7   BY MR. YANNIELLO:

       8   Q     Do you recognize it?

       9   A     Mine doesn't have 59.

     10                  MR. YANNIELLO:   Your Honor, may Special Agent Simon

     11    approach the witness with an exhibit binder that contains the

     12    proper exhibits?

     13                  THE COURT:   Yes.

     14                  MR. HARBAUGH:    Your Honor, I would like to request a

     15    sidebar at this time to discuss all of these exhibits.

     16                  THE COURT:   All of these -- what exhibits do you

     17    intend to refer to?

     18                  MR. YANNIELLO:   69 -- sorry, 59, 60 and 61.

     19                  THE COURT:   Let me review.

     20                  MR. YANNIELLO:   And 63 and 64, Your Honor.

     21                  THE COURT:   So 59 through 64?

     22                  MR. YANNIELLO:   Yes.

     23                  THE COURT:   Yes, let's have a sidebar.

     24          (Discussion held at sidebar.)

     25                  THE COURT:   When did the special agent conduct the




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       1   Google search?

       2                MR. YANNIELLO:    She conducted the Google search, I

       3   believe -- whatever the date at the bottom would be.

       4                MR. HARBAUGH:    10/15, Monday.

       5                MR. YANNIELLO:    10/15.

       6                MR. HARBAUGH:    A year and a half after --

       7                MR. YANNIELLO:    The search results promulgate --

       8   what comes back are articles that relate to before

       9   Defendant Flint's activity, including documents that show that

     10    contrary to what defense counsel has represented in opening

     11    statement, that Mr. Shumake is not a trustworthy individual.

     12                 THE COURT:    So the Google search was conducted

     13    Monday?

     14                 MR. HARBAUGH:    Yes, Your Honor.

     15                 MR. YANNIELLO:    Monday.

     16                 THE COURT:    And then when were the documents turned

     17    over?

     18                 MR. YANNIELLO:    Well, the exhibit list was turned

     19    over on the day of trial.

     20                 THE COURT:    Which is 10/16.

     21                 MR. YANNIELLO:    10/16.

     22            And it says "Google search results" and with the direct

     23    quotes for what the search results were.

     24                 MR. HARBAUGH:    And then they were provided at 7:38

     25    by e-mail last night.




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       1                THE COURT:    All right.    We have Exhibit Number --

       2   that's Exhibit Number 59.

       3                MR. YANNIELLO:    So for this, Your Honor, to provide

       4   a little bit of background, it's the search result that

       5   Agent Marriott just testified to, which is that she ran a

       6   search for money couriering in the United States or something

       7   of that sort, and those were the search results that came back,

       8   with the state department being the obvious first hit of that.

       9                THE COURT:    What is 60?

     10                 MR. YANNIELLO:    So 60 is the -- if you click on the

     11    first link to the state department, it provides a -- it

     12    provides a little commentary about diplomatic pouches, and then

     13    it actually links to the formal policy manual that our state

     14    department witness has testified is the formal guidance on

     15    diplomatic pouches, which is already in evidence, Your Honor.

     16                 THE COURT:    So what is the date on the first hit on

     17    the Google list?     So the first is entitled "Diplomatic Pouches

     18    Department of State," and then there's also a reference to

     19    Wikipedia, and then there's several other references that have

     20    dates.   But the first two, what dates are there?

     21          (Discussion off the record.)

     22                 MR. HARBAUGH:    Your Honor, just with all of these,

     23    at the very bottom it provides a footer that indicates the date

     24    is 10/15/2018 for every document, except for -- actually, no,

     25    for all.




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       1                MR. YANNIELLO:    Which, of course, only refers to the

       2   date that the search was run, not when the documents were

       3   originally provided.      I can get an answer for you, Your Honor.

       4   I'm not sure when that document was there.         What I could --

       5                THE COURT:    Let's go to 61.

       6                MR. YANNIELLO:    So 61 is actually already in

       7   evidence.    That's the formal state department guidance.         Now,

       8   this is just a cover page of it to show that the third click --

       9   or the second click that Special Agent Marriott clicked

     10    pursuant to her Google search led her right back to the

     11    diplomatic --

     12                 THE COURT:    And then 62?

     13                 MR. YANNIELLO:    So 62 is a Google search for just

     14    Robert Shumake.     And defense counsel opened by representing

     15    that Mr. Flint was duped and that this case is a case about

     16    trust and Mr. Flint trusting Robert Shumake.         And this search

     17    shows that if you had Googled Robert Shumake, you would have

     18    found articles that predated defendant's offense conduct that

     19    link Mr. Shumake to fraud.

     20                 THE COURT:    Okay.   I assume you did this yourself

     21    way back at some point in time?       The U.S. Attorney's Office

     22    would have done a Google search of Mr. Shumake?

     23                 MR. YANNIELLO:    Well, this is true, Your Honor.

     24          And the next exhibit we have actually produced to

     25    defendant a long time ago.      Not the exhibit with Rebecca




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       1   Marriott's signature on it, but that exhibit has been produced

       2   to defendant a long time ago.

       3                MR. HARBAUGH:    That's actually not true because they

       4   are all marked 10/15/2018, Your Honor.

       5                MR. YANNIELLO:    So the substance of this article has

       6   been provided.    The exact article, different printout.

       7                MR. HARBAUGH:    But it renders it all irrelevant

       8   because it occurred after the date, the offense conduct, the

       9   entirety, beyond that, Your Honor.

     10                 THE COURT:    I'm just trying to figure out when the

     11    U.S. Attorney's Office, the lawyers within the U.S. Attorney's

     12    Office did the Google search of Mr. Shumake.         I would assume

     13    that occurred very early on in this -- after the indictment or

     14    during the indictment.

     15                 MR. YANNIELLO:    Well --

     16                 THE COURT:    Years ago.

     17                 MR. YANNIELLO:    It could be.    I know that there's

     18    some Internet research was done and produced to defendant.            I

     19    don't know if the search pages -- the initial search pages were

     20    produced, but I know --

     21                 THE COURT:    Why didn't you turn this over initially?

     22                 MR. YANNIELLO:    Meaning?

     23                 THE COURT:    The Google search information,

     24    Exhibits 59 through 64.

     25                 MR. YANNIELLO:    Your Honor, we didn't -- to be




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       1   honest, I didn't expect that we would be trying to introduce

       2   this.    The defense have taken a position that Mr. Shumake was

       3   inherently trustworthy, and I think that's why we are seeking

       4   to admit these documents.

       5                THE COURT:    The defense here is -- obviously, the

       6   only viable defense here is good-faith belief, and I would

       7   think that because of that viable defense, you would have been

       8   prepared to produce these -- this information if the defense

       9   went forward at the time of trial, and it would appear that you

     10    should have given counsel this information before.

     11            60, what else do you have here?

     12                 MR. YANNIELLO:    So the -- this -- I wouldn't be

     13    seeking to admit that document.       I think that the --

     14                 THE COURT:    So 60 -- let's look.     64 is out?

     15                 MR. YANNIELLO:    Yeah, 64 is out.

     16                 THE COURT:    And 65 you are not offering.      There's a

     17    lot of pages here.

     18                 MR. YANNIELLO:    Yeah, 65 we wouldn't be offering.

     19                 THE COURT:    65 is not going to be offered.       64 is

     20    not going to be offered.

     21                 MR. HARBAUGH:    63 is an article of him showing up to

     22    court.    It's completely prejudicial, and there's no evidence

     23    that he saw this article ever beyond the fact that it was

     24    produced or generated on 10/15/2018.

     25                 THE COURT:    So in reference to 63, how are you able




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       1   to establish that the document was accessible prior to

       2   10/15/2018?

       3                 MR. YANNIELLO:   So there's actually a date on the

       4   article, Your Honor, I believe on the first page, right there,

       5   that states that article was published, and if you -- this

       6   case --

       7                 THE COURT:   The article is published March -- I

       8   don't know when it was published, but there's a date here March

       9   29th, 2017.

     10                  MR. YANNIELLO:   That's correct.     And this was about

     11    an ongoing fraud case against Mr. Shumake that didn't resolve

     12    until, I believe, the end of the year, but it was -- it had

     13    predated this article, and it was produced again.

     14                  MR. HARBAUGH:    Well, we have the date of the

     15    article, Your Honor, but we don't have a date as to when this

     16    was posted online, but we have the date it was generated,

     17    10/15/2018.

     18                  MR. YANNIELLO:   And just to clarify, Your Honor,

     19    defense counsel keeps discussing when it was generated.           That's

     20    when the document was printed.

     21                  MR. HARBAUGH:    Unless Ms. Marriott is an expert in

     22    describing Internet -- Google Internet research, you don't have

     23    a witness to testify as to the basis of when that was posted.

     24                  MR. YANNIELLO:   Your Honor, our position would be

     25    it's nontestimonial, the date on here.        The Google search page




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       1   shows the date of the article.

       2                THE COURT:    I'm looking at -- for example, I'm

       3   looking at Exhibit Number 62, and there's a reference that

       4   "Judge calls to the stand Robert Shumake, a criminal," and

       5   "Robert Shumake got busted," and "Robert Shumake, best-selling

       6   author and businessman."

       7                MR. YANNIELLO:    So, Your Honor, some of those dates

       8   are after the dates; some of them are before.         We would be

       9   willing to redact anything that is --

     10                 THE COURT:    So why are you offering this again?

     11                 MR. YANNIELLO:    Because the defense, in their

     12    opening statement, "This is a case about trust."

     13                 THE COURT:    Yes.

     14                 MR. YANNIELLO:    That Mr. Flint trusted Robert

     15    Shumake, and the Government should be able to introduce

     16    evidence to rebut that, Your Honor.

     17                 MR. HARBAUGH:    It's evidence in the defense case to

     18    rebut, not rebut a theory of defense at trial.

     19                 MR. YANNIELLO:    And we actually received -- we

     20    ordered an expedited transcript of the opening.          We can

     21    identify the portions.

     22                 THE COURT:    I recall the opening.     It seems to me

     23    that the document should have been provided at an earlier date.

     24    And so there's a lot of 403 information contained in here, and

     25    it's going to take too long to redact, so the Court is going to




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       1   sustain the objection on 403 in its entirety.

       2                MR. YANNIELLO:    Even though -- Your Honor, if we

       3   didn't introduce the process and we had the agent testify about

       4   her investigation and what it led to --

       5                THE COURT:    You can ask questions, and I will rule.

       6         (In open court.)

       7                THE COURT:    Your witness, please.

       8   BY MR. YANNIELLO:

       9   Q     Agent Marriott, I'm actually going to ask you to look at a

     10    different exhibit, an exhibit -- what's been admitted into

     11    evidence as Government's Exhibit 33.

     12          Do you recognize this document?

     13    A     Yes.

     14    Q     How do you recognize this document?

     15                 MR. HARBAUGH:    Objection, Your Honor; beyond the

     16    Court's ruling.

     17                 THE COURT:    Overruled.

     18                 THE WITNESS:    This document was a link off of a

     19    state department website referencing diplomatic pouches.

     20    BY MR. YANNIELLO:

     21    Q     And how did you find that state department website link to

     22    diplomatic pouches?

     23    A     When I Googled "Carrying cash in a diplomatic pouch in the

     24    United States," one of the first results is a state department

     25    website, which led me then to the link that provides this




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       1   explanation of diplomatic pouches.

       2   Q     Okay.    And just to unpack that, you typed something into

       3   Google, and it led to a state department website?

       4   A     Correct.

       5   Q     From that second -- from that first website, I guess --

       6   A     Yes.

       7   Q     -- you clicked a link, and it led you to this document?

       8   A     Yes.

       9   Q     Have you reviewed this document?

     10    A     Yes.

     11    Q     And I'm going to ask you to turn to page 7 of that

     12    document.

     13          And what does that say?

     14    A     Well, the document specifies at the very bottom:

     15    "Individuals, whether or not they are either a diplomat or

     16    nonprofessional diplomatic courier, must use a valid diplomatic

     17    passport."

     18                  MR. YANNIELLO:   One moment, Your Honor.

     19          (Discussion off the record.)

     20    BY MR. YANNIELLO:

     21    Q     In your Google -- did you also conduct a separate Google

     22    search?

     23    A     Yes.

     24    Q     What was the search term you used for that?

     25                  MR. HARBAUGH:    Objection, Your Honor.




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       1                 THE COURT:   Grounds?

       2                 MR. HARBAUGH:    Relevance.

       3                 THE COURT:   Grounds?

       4                 MR. HARBAUGH:    Relevance and hearsay.

       5                 THE COURT:   The objection is overruled.

       6                 THE WITNESS:    Can you repeat the question?

       7   BY MR. YANNIELLO:

       8   Q     Did you conduct -- what was the substance of your Google

       9   search, the second one?

     10                  MR. HARBAUGH:    Objection; vague as to time,

     11    Your Honor.

     12                  THE COURT:   You can clarify as to time.

     13    BY MR. YANNIELLO:

     14    Q     Before testifying today, did you conduct a Google search

     15    and search for Robert Shumake?

     16    A     Yeah.

     17                  MR. HARBAUGH:    Objection; vague as to time.

     18                  THE COURT:   When did you do that?

     19                  THE WITNESS:    I did the Google search -- what is

     20    today?   Monday, the 15th, October 15th, 2018.

     21    BY MR. YANNIELLO:

     22    Q     And did that search return any information that predated

     23    July 25th, 2017?

     24                  MR. HARBAUGH:    Objection; calls for hearsay.

     25                  THE COURT:   It's going to be sustained, lack of




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       1   foundation and 403.

       2   BY MR. YANNIELLO:

       3   Q     I'm going to ask you to turn to what's already been

       4   admitted as Government's Exhibit 7.

       5         Do you recognize this picture?

       6   A     Yes.

       7   Q     What does it depict?

       8   A     Those are the identification cards that Mr. Flint

       9   presented during the interview.

     10    Q     And just to be clear, he had these cards on his person on

     11    July 25th, 2017?

     12    A     Yes.

     13    Q     And he showed them to you?

     14    A     Yes.

     15    Q     Will you turn to what's been marked as Government's

     16    Exhibit 8.

     17          (Exhibit 8 for identification.)

     18    BY MR. YANNIELLO:

     19    Q     Do you recognize it?

     20    A     Yes.

     21    Q     What is it?

     22    A     This is the cards that Mr. Flint presented to me for

     23    Mr. Robert Shumake.

     24                 MR. YANNIELLO:    May 7 and 8 be admitted, Your Honor?

     25                 MR. HARBAUGH:    No objection.




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       1                THE COURT:    7 and 8 have already been received.

       2                MR. YANNIELLO:    I'm publishing Government's

       3   Exhibit 8.

       4   Q     And so one more time, what does this depict?

       5   A     This is -- it was a photocopy of identifications that

       6   Mr. Flint had to provide, identifying Mr. Robert Shumake.

       7   Q     And where was this document located?

       8   A     Inside his binder.

       9   Q     And do you recall any representations that he made about

     10    identification documents that belonged to Mr. Shumake that were

     11    in the binder?

     12    A     He had referenced that he had Mr. Shumake's diplomatic

     13    passport.

     14    Q     And your understanding, that none of these documents are

     15    diplomatic passports, correct?

     16    A     Correct.

     17    Q     In fact, the top document, do you generally recognize that

     18    document as -- what is that document?

     19    A     I have no idea what it is.        I do not recognize it.

     20    Q     Does it appear to be a similar identification document to

     21    what Mr. Flint was carrying with him?

     22    A     Yes.

     23                 MR. YANNIELLO:    Nothing further, Your Honor.

     24                 THE COURT:    Thank you.

     25          Cross?




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       1                 MR. HARBAUGH:   Thank you, Your Honor.

       2                              CROSS-EXAMINATION

       3   BY MR. HARBAUGH:

       4   Q      Agent Marriott, the FBI was contacted on July 25th by the

       5   TSA?

       6   A      Is that a question?

       7   Q      Yes.

       8   A      Oh, yes, we were contacted by TSA.

       9   Q      And you were told by TSA that a passenger was on a flight

     10    to LAX with an unscreened bag?

     11    A      I may have received the phone call from my supervisor.            My

     12    supervisor called the office.       So my supervisor, yes, was

     13    informed of that, and he relayed the message to me.

     14    Q      So TSA called your supervisor?

     15    A      Uh-huh.

     16    Q      And your supervisor told you, correct?

     17    A      Correct.

     18    Q      That a flight was arriving to LAX, right?

     19    A      Yes.

     20    Q      With a passenger with an unscreened bag, right?

     21    A      Correct.

     22    Q      Now, that flight was Delta flight 1358, right?

     23    A      I don't remember the flight number.

     24    Q      Let's pull up your report that you prepared with agent

     25    Wes Williams.     Why don't you turn to defense Exhibit 263.        It's




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       1   in the larger binder.

       2         There you go.

       3         (Exhibit 263 for identification.)

       4                 THE WITNESS:    What number was it?

       5   BY MR. HARBAUGH:

       6   Q     263.

       7                 THE COURT:   What's the question?

       8                 MR. HARBAUGH:    I'm refreshing her memory as to what

       9   flight Mr. Flint was on.

     10                  THE COURT:   Will the Government stipulate as to the

     11    flight number?

     12                  MR. YANNIELLO:   Yes, Your Honor.

     13                  THE COURT:   There's no issue.

     14    BY MR. HARBAUGH:

     15    Q     So Mr. Flint was arriving on Delta flight 1358 --

     16    actually, Agent Marriott, we can hold off for now.

     17    A     Okay.

     18    Q     The flight was coming from Minneapolis-St. Paul airport,

     19    right?

     20    A     Yes.

     21    Q     Please close the binder, if you could.

     22    A     Okay.

     23    Q     Thank you.

     24          And the flight arrived around 11:00 a.m. that morning,

     25    right?




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       1   A     Approximately.

       2   Q     Now, when -- you arrived at Terminal 3 before the flight

       3   landed, right?

       4   A     Correct.

       5   Q     You weren't the only person that was there to meet the

       6   flight, right?

       7   A     That is correct.

       8   Q     Now, there were other agents with you at the time,

       9   correct?

     10    A     There was one other agent FBI agent, if that's what you're

     11    referring to, yes.

     12    Q     Excuse me.    There were other law enforcement personnel

     13    that were with you at the time you met the flight?

     14    A     Yes.

     15    Q     Now, there was FBI Agent Wes Williams, correct?

     16    A     No.    He's -- he is a federal air marshal.       He is not an

     17    FBI agent.

     18    Q     Excuse me, Federal Air Marshal Wes Williams was with you?

     19    A     Correct.

     20    Q     Another FBI agent, correct?

     21    A     Yes.

     22    Q     There were TSA agents, correct?

     23    A     Yes.

     24    Q     How many were there?

     25    A     I don't recall how many.




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       1   Q     More than two?

       2   A     I don't recall, so I would -- I don't know the number.

       3   Q     And there were also officers from the Los Angeles Police

       4   Department LAX, correct?

       5   A     Yes.

       6   Q     So there were about six to seven --

       7                 THE COURT:   Mr. Harbaugh, would you please --

       8   BY MR. HARBAUGH:

       9   Q     There were about six to seven law enforcement officials

     10    that came to the flight that day?

     11    A     Approximate.

     12    Q     Now, as you indicated, Wes Williams is an air marshal,

     13    correct?

     14    A     Correct.

     15    Q     And when you met that flight, Agent Williams got Mr. Flint

     16    off the plane, right?

     17    A     I believe, as well as there were others that went onboard.

     18    Q     That went onboard the plane?

     19    A     Uh-huh.

     20                  THE COURT:   I need to see counsel at sidebar.

     21          (Discussion held at sidebar.)

     22                  THE COURT:   Mr. Harbaugh, stay behind the

     23    microphone.     When you move away from it, I'm not hearing you.

     24                  MR. HARBAUGH:   I'm sorry.

     25                  THE COURT:   So just remind you to stay behind it.




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       1                MR. HARBAUGH:    I will.    I will tie a rope.

       2                THE COURT:    Thank you.

       3                MR. HARBAUGH:    Sorry.

       4         (In open court.)

       5   BY MR. HARBAUGH:

       6   Q     So Air Marshal Williams and other law enforcement

       7   officials walked down the jetway, correct?

       8   A     Correct.

       9   Q     Went onto the plane, correct?

     10    A     Correct.

     11    Q     Went to where Mr. Flint was seated, correct?

     12                 MR. YANNIELLO:    Your Honor, objection; relevance.

     13                 THE COURT:    It will be overruled at this time, but

     14    get to the point, please.

     15    BY MR. HARBAUGH:

     16    Q     And Mr. Flint was taken off the plane, correct?

     17    A     Mr. Flint walked off the plane.

     18    Q     With an escort by Agent Williams and the other law

     19    enforcement person?

     20    A     Yes.

     21    Q     Mr. Flint could not refuse to stay in his seat, correct?

     22                 MR. YANNIELLO:    Objection; relevance.

     23                 THE COURT:    Sustained.

     24    BY MR. HARBAUGH:

     25    Q     He wasn't given the option to remain in his seat, correct?




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       1                MR. YANNIELLO:    Objection; relevance.

       2                THE COURT:    Sustained.

       3   BY MR. HARBAUGH:

       4   Q     So when Air Marshal Williams and the other law enforcement

       5   agent pulled Mr. Flint off the flight, he was escorted into an

       6   interview room?

       7                MR. YANNIELLO:    Objection; misstates testimony.

       8                THE COURT:    Sustained.

       9   BY MR. HARBAUGH:

     10    Q     So the six to seven law enforcement personnel escorted

     11    Mr. Flint to an interview room, correct?

     12    A     Correct.

     13    Q     And this was a TSA screening room, correct?

     14    A     Yes.

     15    Q     That you were using -- going to use to interview

     16    Mr. Flint, right?

     17    A     Yes.

     18    Q     Now, we talked about some of the LAPD officers.          They were

     19    uniformed officers, correct?

     20    A     It was Los Angeles International Airport police, not LAPD.

     21    Q     Excuse me.    So they were airport police, correct?

     22                 MR. YANNIELLO:    Objection; relevance.

     23                 THE COURT:    Overruled.

     24    BY MR. HARBAUGH:

     25    Q     They had guns, right?




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       1   A       Yes.

       2   Q       One of them was wearing all black tactical gear, correct?

       3   A       That, I do not recall.

       4   Q       One actually had a rifle slung over his back, correct?

       5   A       I do not recall that.

       6   Q       So after this group of six to seven law enforcement

       7   escorted -- or brought Mr. Flint to an interview room, you

       8   interviewed Mr. Flint, correct?

       9   A       Correct.

     10    Q       Also Air Marshal Williams, correct?

     11    A       Correct.

     12    Q       And I believe a few others came in at certain times as

     13    well?

     14    A       Agent Michael Simon.

     15                   MR. HARBAUGH:    And let the record reflect that the

     16    witness identified the case agent at the Government's table.

     17                   THE COURT:   I didn't see it.   Did you?

     18                   THE WITNESS:    Yes.

     19                   THE COURT:   Thank you.

     20    BY MR. HARBAUGH:

     21    Q       Now, we heard some clips today of that interview, correct?

     22    A       Correct.

     23    Q       Now, you interviewed Mr. Flint for almost two hours,

     24    right?

     25    A       I believe so.   I believe it was almost two hours.




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       1   Q     About an hour, 50 minutes 37 seconds, does that sound

       2   about right?

       3   A     That would be about approximate two hours.

       4   Q     Now, Mr. Flint was cooperative during the interview?

       5   A     Yes.

       6   Q     And, actually, you told him that, right?

       7   A     Yes, I did.

       8   Q     Now I want to go over some of the questions you asked

       9   Mr. Flint about during that two-hour interview.          You asked him

     10    about his understanding of his authority to serve as a

     11    diplomatic courier, right?

     12    A     Yes, I did.

     13    Q     And he identified the Geneva Convention, right?

     14    A     Correct.

     15    Q     Which has nothing to do with diplomatic couriers, right?

     16    A     That's my understanding of the Geneva Convention.

     17    Q     Now, during that interview, you learned that the

     18    diplomatic pouch he was holding belonged to Robert Shumake,

     19    right?

     20    A     Correct.

     21                 MR. YANNIELLO:    Objection; lack of foundation.

     22                 THE COURT:    Overruled.

     23                 THE WITNESS:    Correct.

     24    BY MR. HARBAUGH:

     25    Q     And you asked -- you asked Mr. Flint where Mr. Shumake was




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       1   appointed, right?

       2   A     Yes.

       3   Q     And you asked because the records show the organization is

       4   based in Pakistan, right?

       5   A     Well, there was several different addresses listed, so

       6   that was my wondering of where exactly this headquarters was.

       7   Q     And Mr. Flint directed you to talk to Mr. Shumake about

       8   it, correct?

       9   A     Correct.

     10    Q     Now, that's when Mr. Flint calls Mr. Shumake the first

     11    time during that interview, right?

     12    A     Correct.

     13    Q     And during that time the line gets -- he actually picks up

     14    his phone, right?     He dials a number?

     15    A     Mr. Flint?

     16    Q     Yes.

     17    A     Yes.

     18    Q     And he indicates to you that the line is disconnected,

     19    right?

     20    A     Yes.

     21    Q     Then Mr. Flint calls Mr. Shumake again, right?

     22    A     Yes.

     23    Q     Mr. Flint puts Mr. Shumake on speaker phone, correct?

     24                 MR. YANNIELLO:    Objection, Your Honor; motion in

     25    limine.




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       1                THE COURT:    Sustained.

       2   BY MR. HARBAUGH:

       3   Q     Once Mr. Shumake is on speaker phone, you talked directly

       4   to Mr. Shumake, correct?

       5                MR. YANNIELLO:    Your Honor, can we go to sidebar?

       6                THE COURT:    Request denied.

       7                THE WITNESS:    I'm sorry, can you repeat?

       8                MR. YANNIELLO:    Objection; motion in limine.

       9                THE COURT:    You understand the prior rulings of the

     10    Court?

     11                 MR. HARBAUGH:    Your Honor, we are not eliciting

     12    testimony.    We are not eliciting hearsay.       We are eliciting

     13    that a phone call was placed and made.

     14                 THE COURT:    Go ahead.

     15    BY MR. HARBAUGH:

     16    Q     Once Mr. Shumake is on the speaker phone, you talked

     17    directly to Mr. Shumake, correct?

     18    A     Who he identified as Mr. Shumake.        Whether or not it was

     19    actually Mr. Shumake, I have no way of knowing.

     20    Q     You identify yourself?

     21    A     Yes, I do.

     22    Q     You indicate you are an agent with the FBI, right?

     23    A     Yes.

     24    Q     You asked where he works, right?

     25                 MR. YANNIELLO:    Objection, Your Honor; motion in




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       1   limine.

       2                 THE COURT:   Sustained.

       3   BY MR. HARBAUGH:

       4   Q     You have difficulty hearing this person on the other end,

       5   correct?

       6   A     Yes.

       7   Q     And you, after the conversation concludes, you ask for the

       8   phone number of this person you're talking to, right?

       9   A     Yes.

     10    Q     And that person gives you that phone number, right?

     11                  MR. YANNIELLO:   Objection; same objection,

     12    Your Honor.

     13                  THE COURT:   Sustained.

     14                  MR. HARBAUGH:    One moment.

     15          (Discussion off the record.)

     16    BY MR. HARBAUGH:

     17    Q     Now, throughout the interview you tell Mr. Flint your

     18    understanding of what the law requires, right?

     19    A     Yes.

     20    Q     At one point you tell him that diplomatic status comes

     21    from the Department of State, right?

     22    A     Correct.

     23    Q     You told him he had to be vetted by the state department,

     24    right?

     25    A     Correct.




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       1   Q     And Mr. Flint wasn't aware of that, right?

       2                MR. YANNIELLO:    Objection; lack of foundation.

       3                THE COURT:    Sustained.

       4   BY MR. HARBAUGH:

       5   Q     Now, you tell Mr. Flint he cannot be a diplomat in his own

       6   country, right?

       7   A     Correct.

       8   Q     You told him he needed a diplomatic passport, right?

       9   A     Yes.

     10    Q     And Mr. Flint disputes your assertions, right?

     11    A     Yes.

     12    Q     Mr. Flint believes that his status comes from the IHRC?

     13                 MR. YANNIELLO:    Objection; lacks foundation.

     14                 THE COURT:    Sustained, and argumentative.

     15    BY MR. HARBAUGH:

     16    Q     Now, later you told Mr. Flint because his bag had not been

     17    screened, it would have to be screened at LAX, right?

     18    A     Yes.

     19    Q     Now -- and you sought Mr. Flint's consent to search?

     20    A     Yes.

     21    Q     Now, Mr. Flint indicated before he could give that

     22    consent, he had to consult Mr. Shumake, right?

     23    A     Yes.

     24    Q     And, again, Mr. Flint called an individual indicating that

     25    it was Mr. Shumake, right?




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       1   A     Correct.

       2   Q     Mr. Flint sought authorization from that person to open

       3   the pouch, right?

       4                 MR. YANNIELLO:   Objection; motion in limine.

       5                 THE COURT:   Sustained.

       6   BY MR. HARBAUGH:

       7   Q     You eventually talked to another individual -- excuse me,

       8   an individual on the phone after you request authorization?

       9                 MR. YANNIELLO:   Same objection, Your Honor.

     10                  THE COURT:   Overruled.

     11                  THE WITNESS:    Can you repeat the question?

     12    BY MR. HARBAUGH:

     13    Q     Sure.    So we're saying now after you requested Mr. Flint

     14    to provide authorization or consent to search the bag --

     15    A     Uh-huh.

     16    Q     -- you talked to another individual on the phone?

     17    A     Yes.

     18    Q     And that based upon your hearing of that voice previously,

     19    it's the same individual you spoke to earlier, correct?

     20    A     Again, I have no idea if that's the same person on the

     21    other line or not.

     22    Q     But the voice wasn't different?

     23    A     The voice did not sound different, but that doesn't mean

     24    it's not a different person.

     25                  MR. HARBAUGH:    One moment.




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       1         (Discussion off the record.)

       2   BY MR. HARBAUGH:

       3   Q     I just want to follow up on one point we discussed at the

       4   beginning, when you saw Mr. Flint.        Mr. Flint was not alone,

       5   correct?     Excuse me.    So you were at the gate, correct?

       6   A     Yes.

       7   Q     You did not personally go on the plane, right?

       8   A     Not that I recall, no.      I did not go on the plane.

       9   Q     Agent Williams -- or excuse me, Air Marshal Williams did,

     10    right?

     11    A     You would need to speak with Agent Williams to verify.

     12    I'm not for sure all of the individuals who went on the

     13    aircraft.    I know I did not go on the aircraft.

     14    Q     So there were several individuals that went on the

     15    aircraft, correct?

     16    A     As far as I recall, yes.

     17    Q     And when they came back off the aircraft, they had

     18    Mr. Flint, right?

     19    A     Mr. Flint was walking off the aircraft, yes.

     20    Q     With them?

     21    A     With them.

     22    Q     Not by himself?

     23    A     No, not by himself.

     24                  MR. HARBAUGH:    Nothing further, Your Honor.

     25                  THE COURT:    Redirect?




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       1                              REDIRECT EXAMINATION

       2   BY MR. YANNIELLO:

       3   Q     So defense counsel asked you quite a few questions about

       4   how Mr. Flint exited the airplane.        And did he -- was anybody

       5   forcing him to walk off the airplane?

       6                 MR. HARBAUGH:    Objection; calls for speculation.

       7                 THE COURT:    You can testify as to what you observed.

       8                 THE WITNESS:    When I observed Mr. Flint walking off

       9   the aircraft, he was walking on his own accord.          No one was

     10    forcing him, and he was not fighting anyone.

     11    BY MR. YANNIELLO:

     12    Q     And because -- was this -- Mr. Flint's flight had just

     13    landed, correct?

     14    A     Correct.

     15    Q     And so people who were on that flight were getting off

     16    that flight?

     17    A     If I remember correctly, I believe he was one of the

     18    first -- seated near the very front of the aircraft, so he was

     19    one of the first passengers coming off of the aircraft.

     20    Q     Okay.    And defense counsel also asked you a couple of

     21    questions or quite a few questions about the interview.           I just

     22    want to ask you about something that you testified to in your

     23    direct.

     24    A     Uh-huh.

     25    Q     Did you ask Mr. Flint directly whether or not he had been




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       1   stopped with the identification document that he brought and

       2   the diplomatic bag that he claimed was a diplomatic courier

       3   bag?

       4                 MR. HARBAUGH:    Objection; beyond the scope of cross,

       5   Your Honor.

       6                 THE COURT:   Overruled.

       7                 THE WITNESS:    Can you repeat the question?

       8   BY MR. YANNIELLO:

       9   Q      Did you ask Mr. Flint directly whether or not he had ever

     10    been stopped with his laminated -- self-laminated

     11    identification card?

     12    A      Yes, I asked him directly.

     13    Q      And what did he say?

     14    A      No.

     15                  MR. YANNIELLO:   Nothing further, Your Honor.

     16                  THE COURT:   Recross?

     17                               RECROSS-EXAMINATION

     18    BY MR. HARBAUGH:

     19    Q      Agent Marriott, you have been working as an FBI agent for

     20    approximately eight years?

     21    A      Yes.

     22    Q      And you have spent those eight years at LAX?

     23    A      Not all of them at LAX, no.

     24    Q      How long have you been at LAX?

     25    A      I had been at LAX at that time over -- or right at three




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       1   years.

       2   Q     And in those three years, you were responsible for

       3   handling -- investigating incidents within the airport, right?

       4   A     Right.

       5   Q     And incidents on aircraft, right?

       6   A     Correct.

       7   Q     Now, you received a call regarding an unscreened package

       8   on the plane, correct?

       9                MR. YANNIELLO:    Objection; exceeds the scope of --

     10                 THE COURT:    Overruled.

     11                 THE WITNESS:    Yes, correct.

     12    BY MR. HARBAUGH:

     13    Q     And protocol is that when an individual needs to be

     14    contacted, a suspect, on an aircraft, law enforcement notifies

     15    that plane first, right?

     16    A     There's protocol, but it depends.        All situations are

     17    different, so I would hate to say this is exactly what happens

     18    each and every time.

     19    Q     Oftentimes the airport -- the airplane is contacted itself

     20    regarding a potential suspect on a plane, correct?

     21    A     Yes.

     22    Q     And they direct that no other passengers get off the

     23    flight until that person could be taken off the flight, right?

     24    A     Correct.

     25    Q     And that's what was done in this case, right?




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       1                MR. YANNIELLO:    Objection; calls for speculation.

       2                THE COURT:    Do you know?     Do you have personal

       3   knowledge?

       4                THE WITNESS:    No, I don't.

       5                THE COURT:    Sustained.

       6                MR. HARBAUGH:    Nothing further, Your Honor.

       7                THE COURT:    Thank you.

       8         May the special agent be excused?        Yes?

       9                MR. YANNIELLO:    Yes, Your Honor.

     10                 THE COURT:    Thank you very much, Special

     11    Agent Marriott.

     12          Additional witnesses?

     13                 MR. YANNIELLO:    Subject to the Government's pending

     14    motion, Your Honor, we would rest our case.

     15                 THE COURT:    Defense?

     16                 MS. WAKEFIELD:    I'm sorry, Your Honor?

     17                 THE COURT:    Do you have any witnesses?

     18                 MS. WAKEFIELD:    We would like to make a motion

     19    first.

     20                 THE COURT:    You will have an opportunity to -- the

     21    Court will reserve -- do you have any witnesses to call?

     22                 MS. WAKEFIELD:    May I have one moment?

     23                 THE COURT:    Yes.

     24          (Discussion off the record.)

     25                 MR. HARBAUGH:    Yes, Your Honor.     The defense calls




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       1   Air Marshal Wes Williams.

       2                MS. RO:   Your Honor, may we have a sidebar?        This is

       3   to raise an issue that was raised on Tuesday.

       4                THE COURT:    Is the air marshal in the corridor

       5   outside?

       6                MS. RO:   Yes, Your Honor.

       7                THE COURT:    Yes, let's hear what you have to say.

       8         (Discussion held at sidebar.)

       9                THE COURT:    So we have Government's request for

     10    reconsideration of the Court's order regarding 404(b) evidence,

     11    and the defense was supposed to file a pleading.          I know you

     12    probably did not have enough opportunity or time.

     13                 MS. WAKEFIELD:    I did not.    I wrote down some

     14    thoughts, though.

     15                 THE COURT:    We need to address that issue.       And then

     16    we also have the air marshal that the defense intends to call.

     17                 MS. WAKEFIELD:    Uh-huh.

     18                 THE COURT:    So what's the issue with the air

     19    marshal?

     20                 MS. RO:   Your Honor, the defense asked us to bring

     21    the air marshal the first day of trial.        He wasn't on the

     22    witness list.    We said we would make him available during a

     23    proffer because he was present during the interview.          The

     24    testimony elicited came directly from Agent Marriott.           And they

     25    cannot call him just to impeach the witness or to elicit other




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       1   self-serving hearsay that the Court already ruled on.

       2                THE COURT:    I don't understand your objection.

       3                MS. RO:   The Government wants a proffer of why they

       4   are calling the Government's witness.

       5                THE COURT:    He was there.

       6                MS. RO:   And just specifically that they won't go

       7   into impeaching the witness.

       8                THE COURT:    We don't know what they are going to do.

       9                MS. RO:   The Government would ask for a proffer of

     10    proof.

     11                 THE COURT:    The request is denied.     He was there.

     12          (In open court.)

     13                 THE COURT:    You may call your next witness.

     14                 THE COURTROOM DEPUTY:      Good afternoon, sir.     Would

     15    you please come forward.

     16          Sir, would you please stop right there, and raise your

     17    right hand to be sworn.

     18               WESLEY WILLIAMS, DEFENSE WITNESS, WAS SWORN

     19                 THE WITNESS:    I do.

     20                 THE COURTROOM DEPUTY:      Thank you, sir.    Would you

     21    please be seated.

     22          Sir, for the record, would you please state your name, and

     23    spell your last name.

     24                 THE WITNESS:    Hi.     My name is Wesley Williams, last

     25    name is W-i-l-l-i-a-m-s.




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       1                  THE COURT:   Your witness.

       2                  MR. HARBAUGH:   Thank you, Your Honor.

       3                               DIRECT EXAMINATION

       4   BY MR. HARBAUGH:

       5   Q       Good afternoon, Mr. Williams.

       6   A       Hello.

       7   Q       What is your current duty position?

       8   A       I am a federal air marshal.     I'm currently stationed in

       9   Herndon, Virginia.       I work in TSA's Freedom Center.

     10    Q       Now, were you previously working at -- as an air marshal

     11    at Los Angeles International Airport?

     12    A       So -- yes.   I worked as an air marshal at LAX from 2014 to

     13    2017.    I was the federal air marshal representative on the LAX

     14    FBI's joint terrorism task force.

     15    Q       And on July 25th of last year, you responded to a call

     16    regarding a passenger with an unscreened bag at LAX, correct?

     17    A       Yes.

     18    Q       And that passenger was Mr. Daniel Flint, correct?

     19    A       Yes.

     20    Q       Now, you received notice before the flight landed,

     21    correct?

     22                   MS. RO:   Objection, Your Honor; leading.

     23                   MR. HARBAUGH:   Your Honor, Rule 611(c)(2), witness

     24    identified with an adverse party, he's the witness that was

     25    involved in interrogating and prosecuting Mr. Flint.




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       1                 THE COURT:   It's overruled.

       2   BY MR. HARBAUGH:

       3   Q      So let me back up.     So the FBI -- or the task force was

       4   contacted by the TSA, correct?

       5   A      No.    To my knowledge, FBI Chicago contacted us.

       6   Q      FBI Chicago contacted you?

       7   A      Yes.

       8   Q      Then you were told there was a passenger on a flight to

       9   LAX with an unscreened bag, right?

     10    A      Yes.

     11    Q      And when you met the flight, you got the passenger off the

     12    plane, correct?

     13    A      Yes.

     14    Q      You had one other officer with you, correct?

     15    A      I believe so.    Normally when we get people off the plane,

     16    folks on the task force, local airport police would be

     17    alongside us.     I couldn't tell you who that person was, though.

     18                  MR. HARBAUGH:   One moment, Your Honor.

     19           (Discussion off the record.)

     20    BY MR. HARBAUGH:

     21    Q      At the time you got Mr. Flint off the plane, no other

     22    passengers were free to leave until law enforcement got him

     23    off?

     24    A      Yes.

     25    Q      And Mr. Flint had no choice but to get off the plane,




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       1   correct?

       2                 MS. RO:   Objection.   That's leading.

       3                 THE COURT:   It's 403.   The Court's going to sustain

       4   under 403.

       5                 MR. HARBAUGH:    Your Honor, we would request a quick

       6   sidebar.

       7                 THE COURT:   Request denied.    Please continue.

       8   BY MR. HARBAUGH:

       9   Q     You required Mr. Flint to get off the plane, correct?

     10    A     Yes.

     11                  MR. HARBAUGH:    Nothing further, Your Honor.

     12                  THE COURT:   Government?

     13                  MS. RO:   No, Your Honor.

     14                  THE COURT:   May the witness be excused?

     15                  MR. HARBAUGH:    Yes, Your Honor.

     16                  MS. RO:   Yes, Your Honor.

     17                  THE COURT:   Thank you very much for your testimony.

     18                  THE WITNESS:    No problem.

     19                  THE COURT:   Next?

     20                  MS. WAKEFIELD:   May we have just one moment,

     21    Your Honor?

     22                  THE COURT:   Yes.

     23          (Discussion off the record.)

     24                  MS. WAKEFIELD:   Your Honor, the defense would call

     25    Michael Simon to the stand.




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       1                MICHAEL SIMON, DEFENSE WITNESS, WAS SWORN

       2                THE WITNESS:    Yes.

       3                THE COURTROOM DEPUTY:     Thank you.    Would you please

       4   be seated.

       5         Sir, for the record, would you please state your name, and

       6   spell your last name.

       7                THE WITNESS:    Sure.   My name is Michael Simon, last

       8   name spelled S-i-m-o-n.

       9                             DIRECT EXAMINATION

     10    BY MS. WAKEFIELD:

     11    Q     Good afternoon.

     12    A     Good afternoon.

     13    Q     Now, you are the case agent on this case, right?

     14    A     That is correct.

     15    Q     And I'm going to be brief.       As the case agent, you sent a

     16    letter to the United Nations, correct?

     17    A     I did not send a letter to the United Nations.

     18    Q     Did you sign a letter to the United Nations?

     19    A     No, I did not.

     20    Q     Did you send a letter to the state department?

     21    A     No, I did not -- well, let me correct that.         I sent a

     22    letter to -- a request to the FBI in New York, who then

     23    requested, through their formal channels, they wrote a letter

     24    to the U.S. mission to the United Nations.         So my letter was

     25    forwarded to the U.S. mission to the United Nations.




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       1   Q     And the U.S. mission to the United Nations sent a request

       2   to the United Nations?

       3   A     That is correct.

       4   Q     And forwarded your letter, correct?

       5   A     I do not believe they forwarded my letter.         I think they

       6   wrote their own letter to the United Nations.

       7   Q     And point of all of this was asking the United Nations to

       8   provide confirmation of the status of the international human

       9   rights fund -- or sorry, International Human Rights Commission

     10    Relief Fund Trust?

     11                 MR. YANNIELLO:    Objection; hearsay and misstates --

     12                 THE COURT:    Overruled.

     13                 THE WITNESS:    Can you ask it one more time, please?

     14    BY MS. WAKEFIELD:

     15    Q     You wanted to find out from the United Nations whether the

     16    International Human Rights Commission Relief Fund Trust had any

     17    status with the United Nations?

     18    A     If I can recall correctly, my letter requested to

     19    determine the diplomatic status of the International Human

     20    Rights Commission.

     21    Q     And they replied that an organization --

     22                 MR. YANNIELLO:    Objection; hearsay.

     23                 THE COURT:    Sustained.

     24                 MS. WAKEFIELD:    Your Honor, we would move this -- we

     25    would move an exhibit into evidence, so I don't know if --




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       1                THE COURT:    What exhibit number?

       2                MS. WAKEFIELD:      Defense Exhibit 202.

       3                THE COURT:    Is it in the book?

       4                MS. WAKEFIELD:      It is, Your Honor.

       5                MR. YANNIELLO:      Objection; hearsay.

       6                THE COURT:    Let me find the exhibit, please.

       7         The objection would be sustained subject to further

       8   argument.

       9                MS. WAKEFIELD:      Would the Court want us to --

     10                 THE COURT:    No.    Continue with your questioning.

     11                 MS. WAKEFIELD:      Okay.

     12    Q     Agent Simon, you reviewed the documents in Mr. Flint's

     13    binder that was seized on July 25th, 2017, correct?

     14    A     Are you asking me if I reviewed them that day?

     15    Q     You reviewed the documents, right?

     16    A     Yes, I reviewed the documents.

     17                 MS. WAKEFIELD:      And, Your Honor, I would like to

     18    publish Government's Exhibit 8.

     19                 THE COURT:    Feel free if it's already been received.

     20    8's already in evidence.

     21    BY MS. WAKEFIELD:

     22    Q     Now, that is an ID card from the United Nations for

     23    Mr. Shumake, correct?

     24    A     That looks -- that, to me, appears --

     25                 MR. YANNIELLO:      Objection; lacks foundation.




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       1                 MS. WAKEFIELD:   This is the Government's exhibit,

       2   Your Honor.

       3                 THE COURT:   Are you able to identify this as the ID

       4   card from the United Nations?       Do you know one way or the

       5   other?

       6                 THE WITNESS:   Your Honor, no, I do not.

       7   BY MS. WAKEFIELD:

       8   Q     You don't know what an ID card from the United Nations is?

       9                 THE COURT:   It's sustained on foundation.

     10    BY MS. WAKEFIELD:

     11    Q     So your testimony is you don't know what an ID from the

     12    United Nations looks like?

     13    A     I'm trying to say that this is a photocopy of -- this is a

     14    photocopy of some kind of card.

     15    Q     Are you familiar with the term ECOSOC, which stands for

     16    Economic and Social Council?

     17    A     I believe that's what was in the letter from the United

     18    Nations.

     19    Q     And ECOSOC refers to a committee or a council within the

     20    United Nations, correct?

     21    A     I know that it's called the Economic and Social Council.

     22    Q     And you see the acronym ECOSOC on Government's Exhibit 8

     23    there, correct?

     24    A     Yes, I do.

     25    Q     Did you investigate whether Mr. Shumake had any




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       1   recognition from the United Nations?

       2   A      According to the letter, the International Human Rights

       3   Commission had observer status with the ECOSOC.

       4   Q      And Mr. Shumake was listed as a contact for the IHRC on

       5   that council?

       6   A      If I could look at the exact letter to refresh my memory.

       7   Q      Would it refresh your memory to look at Defense Exhibit

       8   202?

       9   A      Yes.

     10    Q      It should be in one of those binders, and page 2,

     11    paragraph 2.     And let me know if that refreshes your memory.

     12    A      Okay.

     13    Q      Does that refresh your recollection?

     14    A      Yes.

     15    Q      And Mr. Shumake was listed as one of the individuals as a

     16    contact person for the United Nations, correct?

     17    A      Yes.

     18                   MS. WAKEFIELD:   One moment, Your Honor.

     19           (Discussion off the record.)

     20                   MS. WAKEFIELD:   Nothing further.

     21                               CROSS-EXAMINATION

     22    BY MR. YANNNIELLO:

     23    Q      Good afternoon, Agent Simon.

     24    A      Good afternoon.

     25    Q      Defense counsel asked you about some investigation that




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       1   you conducted about Robert Shumake.

       2   A     Correct.

       3   Q     Did you conduct any other investigations related to

       4   Mr. Shumake?

       5                MS. WAKEFIELD:    Objection.    It exceeds the scope.

       6                THE COURT:    Overruled.

       7                THE WITNESS:    I did.

       8   BY MR. YANNIELLO:

       9   Q     Did you look into Mr. Shumake's criminal history?

     10    A     Yes, I did.

     11    Q     And what did that investigation reveal?

     12    A     It revealed --

     13                 MS. WAKEFIELD:    I'm going to object on 403.

     14                 THE COURT:    Overruled.

     15                 THE WITNESS:    It revealed a long criminal history as

     16    I would -- and I say that in there are multiple pages in the

     17    criminal history report.

     18    BY MR. YANNIELLO:

     19    Q     Was Mr. Shumake -- at the time that defendant was stopped

     20    in July 25th, 2017, was there a pending fraud case against

     21    Mr. Shumake?

     22    A     That is correct.

     23                 MR. YANNIELLO:    Nothing further, Your Honor.

     24                 THE COURT:    Redirect?

     25                 MS. WAKEFIELD:    No, Your Honor.




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       1                THE COURT:    May the witness be excused?

       2                MS. WAKEFIELD:     Yes.

       3                THE COURT:    Thank you.

       4         Thank you.    Any additional witnesses?

       5                MS. WAKEFIELD:     One moment.

       6                THE COURT:    Let's take the afternoon recess.

       7   There's some legal issues for the Court to discuss with

       8   counsel, so the jury would be excused.        I'm assuming that the

       9   case will be submitted to the jury tomorrow.         So let me have

     10    the jury arrive tomorrow, we will make it at 9:30.

     11          So, again, traffic could be a little bit heavier at that

     12    time, so make sure you give yourself plenty of time to arrive

     13    here at 9:30.    Tomorrow I expect that I will provide jury

     14    instructions to you, hopefully counsel will be able to argue

     15    the case to you, and the case will be submitted to you tomorrow

     16    is the goal.    Thank you.

     17                 THE COURTROOM DEPUTY:      All rise for the jury,

     18    please.

     19          (Outside the presence of the jury.)

     20                 THE COURT:    Okay.   The jury has been excused.

     21          There are several issues to discuss:        one is the

     22    defendant's request to offer into evidence Exhibit Number 202.

     23    There was a Government objection to that exhibit.          The

     24    objection was hearsay.       And I understand the hearsay objection,

     25    but I do not understand why the Government would not want to




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       1   offer or have this received.

       2         On page 2 the letter unequivocally states that they,

       3   referring to, I would imagine, Mr. Shumake and those associated

       4   with him, do not enjoy the immunities and facilities of

       5   diplomatic envoys.

       6                MR. YANNIELLO:    Your Honor, we will withdraw the

       7   objection.

       8                MS. WAKEFIELD:    We will withdraw it from evidence.

       9                THE COURT:    The objection -- it's hearsay, so it's

     10    been withdrawn.

     11          And then we have the issue that just occurred regarding

     12    Mr. Shumake's prior criminal history, I just want to make it

     13    clear that the Court allowed counsel for the Government to

     14    inquire regarding that because, in the Court's view, the

     15    defense has opened the door in reference to questions asked of

     16    the special agent regarding his investigation of whether

     17    Mr. Shumake had any recognition from the United Nations.           So

     18    the door was opened, and the additional questions from the

     19    Government was allowed.

     20          We have the motion, Government's request for

     21    reconsideration of the Court's order re 404(b) evidence.           The

     22    Court has reviewed and read the request.         So let me -- so I

     23    have some questions.      The question -- I'm assuming that the --

     24    well, there were certain exhibits attached to the motion

     25    itself, to the request for reconsideration.         This is Document




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       1   Number 105.    I didn't see that the exhibits were lettered or

       2   numbered.

       3           On page 5 of the document, Document 105, do you have that

       4   page?    Let's make sure that both sides have a clear

       5   understanding of what I'm referring to.        So do you have

       6   Exhibit 105, both sides?

       7                 MS. RO:   Yes, Your Honor.

       8                 THE COURT:   Yes.

       9                 MS. WAKEFIELD:   Yes.

     10                  THE COURT:   So on page 5 -- page 5, on line 18

     11    references Exhibit A attached hereto, and I didn't see -- and

     12    the exhibits being lettered, I'm assuming because the first

     13    document, Exhibit A, appears to reference the first document.

     14    Exhibit A, I'm assuming, is the website for Mr. Flint.

     15                  MS. RO:   Yes, Your Honor.

     16                  THE COURT:   And it consists of two pages.

     17                  MS. RO:   Yes.

     18                  THE COURT:   So the Government, on page 5, on lines

     19    17 -- let's see, commencing on line -- let me find this.

     20    Commencing on line 16 references the attached Google search

     21    resulted in defendant's law office Web page shows the solo

     22    practice that defendant started out with was that of Douglas

     23    Hampton.    I don't see on Exhibit A any reference to Douglas

     24    Hampton.

     25                  MS. RO:   Your Honor, we are withdrawing the Douglas




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       1   Hampton mention.

       2                 THE COURT:   Okay.   So then we have Exhibit B, and

       3   Exhibit B is a bankruptcy document, United States Bankruptcy

       4   Court, Eastern District of Michigan, Southern Division.

       5   It's -- in this case it's identified as Document 105, page 14

       6   of 23, and page ID number 1327.       This appears to be a

       7   bankruptcy document that was filed on or about the 1st --

       8   January 21st, 2015, involving a bankruptcy of Mr. Shumake.

       9         And in the body of the document on page -- I'm looking at

     10    page 3 of 6, it references Mr. Flint's law firm and Mr. Douglas

     11    Hampton's law firm.     And then in the attachment thereto, there

     12    appears to be a summary of schedules associated with the

     13    bankruptcy proceeding.      And it appears that Mr. Flint seems to

     14    have made a claim in the bankruptcy court as a creditor for

     15    attorney fees involving -- it looks like, I'm assuming, monies

     16    owed by Mr. Shumake to Mr. Flint for attorney's fees in the sum

     17    of $25,000.

     18          So what's the import of this document?

     19                  MS. RO:   The import is that, Your Honor, this

     20    occurred -- predates September 2016, for when the defendant may

     21    have initially been -- or believed to have thought --

     22    Your Honor, if I may rephrase that.        That was poorly

     23    articulated.

     24          The import is that this offense -- or the defendant

     25    seeking money from Robert Shumake, it predates September 2016.




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       1   It predates October 2016.      So the theory that he was duped, the

       2   testimony that -- or the offer of proof -- there's no

       3   evidence -- this contradicts -- again, I cannot articulate this

       4   thoroughly, but it predates September 2016, and it predates

       5   October 2016.     The issue of whether the defendant was duped by

       6   Robert Shumake, this clearly impeaches that.         This is

       7   inconsistent with that offer that the defense has provided to

       8   the jury.

       9                 THE COURT:   And so do you have a certified copy of

     10    the bankruptcy proceeding?

     11                  MS. RO:   We do not have a certified copy,

     12    Your Honor, but this is self-authenticated, that we pulled it

     13    off PACER with the docket number at the bottom.

     14                  THE COURT:   So it would be offered under what

     15    exception to the hearsay rule?

     16                  MS. RO:   Your Honor, I would argue it's a public

     17    record.     It's publically available on PACER, and it's a court

     18    record used in -- itself self-authenticating for that purpose.

     19    The bottom of the header includes the case number, the file

     20    date, and the entered date.        Or the Court may also take

     21    judicial notice of a court document.

     22                  THE COURT:   Okay.    So do you wish to be heard on the

     23    issue of relevance, Ms. Wakefield?

     24                  MS. WAKEFIELD:   Are there specific documents that

     25    the Court would like me to address?




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       1                 THE COURT:   Yes.   Well, I'm looking at the document

       2   that's entitled "United States Bankruptcy Court, Eastern

       3   District of Michigan, Southern Division."         It consists of pages

       4   1 -- well, it's hard to -- let's see.        5, 6 -- it doesn't look

       5   like it's complete.     The document consists of pages 1 through

       6   6, and then there's a summary of schedules, and the summary of

       7   schedules references pages 1 through 25, but the pages that

       8   have been attached here are pages 1, 9, 10 and 11.

       9           I'm assuming that the remainder of the pages included in

     10    1 through 25 have nothing to do with the defendant in this

     11    case.    And the Government is offering this document to reflect

     12    that Mr. Flint was claiming to be a creditor of Mr. Shumake in

     13    a bankruptcy proceeding and claiming that Mr. Shumake owed him

     14    $25,000 in what appears to be attorney's fees.

     15            And it looks like the document was filed in the bankruptcy

     16    proceeding.    And the date of the document is -- and I'm looking

     17    at the schedule itself.      It looks like it was entered on

     18    4/20/2012, well before the incident involving Mr. Flint in this

     19    case here.    And the Government is claiming that this is -- that

     20    this schedule and the claim made by Mr. Flint in the bankruptcy

     21    proceeding is inconsistent with his claim that he was somehow

     22    duped by Mr. Shumake.

     23                  MS. WAKEFIELD:   Thank you, Your Honor.      A few

     24    points.    The first time we saw this document was this morning

     25    when the Government filed it, so there's that problem.           And I




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       1   don't understand the inference that because Mr. Flint -- and,

       2   also, I should say because we received it this morning, we

       3   haven't looked at the entire case on PACER to see what

       4   happened, whether this claim was withdrawn or what the ultimate

       5   outcome is.    So we haven't done that investigation yet, but I

       6   don't think it shows -- I don't think it's probative that

       7   Mr. Flint may have made a claim back in 2002, five years

       8   before -- or back in 2012, five years before the charged

       9   offense conduct.     And I don't think that if -- if to the extent

     10    that Mr. Shumake owed Mr. Flint money back in 2012, I don't

     11    know that that proves anything.

     12                  THE COURT:   The Government wish -- does the

     13    Government have any response?

     14                  MS. RO:   Yes, Your Honor.

     15          These documents were new to the Government as well, and we

     16    can concede this was provided to the defense as soon as we

     17    found them, which was early -- early this morning.          And we did

     18    search for these documents based off of the testimony

     19    elicited -- or the first day of trial, Your Honor.

     20          And I would also like to note one of the Court's ruling,

     21    the litigation with the motion in limine to admit certain

     22    portions of defendant's interview and the motion to exclude

     23    self-serving hearsay, one of the reasons why defense wanted to

     24    add a further explanation of how he came to know Mr. Shumake

     25    was that he met through a law school professor and had only




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       1   worked for a year.

       2         And the defense's argument was that defendant only

       3   tangentially had any relationship with Mr. Shumake.          And

       4   consistent with that statement, consistent with the opening,

       5   consistent with what's been represented through trial, the

       6   United States believes that the 2012 document where the

       7   defendant is now claiming -- or claimed that this individual

       8   Shumake owes him money, so the theory that he was defrauded or

       9   had only a tangential type of relationship or limited,

     10    relationship with Mr. Shumake, it's clearly inconsistent.

     11                 THE COURT:    It appears to the Court that the

     12    document would support the Government's argument here, but I

     13    think, at the very least, counsel for the defendant should be

     14    given additional opportunity to conduct a more thorough

     15    research regarding the bankruptcy proceedings to see if there's

     16    any additional information that the Court should consider

     17    before it makes a final ruling.       So you'll have until this

     18    evening to do that.

     19          And then we have a motion that needs to be heard.

     20                 MS. WAKEFIELD:    Yes.   Thank you, Your Honor.       One

     21    moment.

     22          Thank you, Your Honor.      I want to clarify sort of where we

     23    left off with Agent Williams -- or Marshal Williams and

     24    Agent Marriott.     I guess I should say, for the record, that I

     25    would like to make a motion for judgment of acquittal on all




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       1   elements and all bases, including venue.

       2         The reason why we were asking those questions of

       3   Ms. Marriott and Mr. Williams about Mr. Flint being taken off

       4   the plane is because the first element the Government must

       5   prove is that Mr. Flint knowingly and willfully entered

       6   Terminal 3 at LAX.     And we heard testimony that entry was not

       7   done voluntarily since it was done under the order of the

       8   federal government when the agent -- when the marshal went on

       9   the plane, didn't let any of the other passengers leave and

     10    removed Mr. Flint from the plane, thereby causing him to enter

     11    Terminal 3 at LAX.     So that's the first argument.

     12          The second element the Government has to prove is that

     13    entry was made in violation of security requirements prescribed

     14    under 49 U.S.C. 44901 and 44903, and I think the Government's

     15    proof has come up short.      That the testimony of Mr. Duretto was

     16    supposed to prove that element, but Mr. Duretto admitted that

     17    he was not an expert in LAX's security program.          He could only

     18    testify as to what areas were sterile areas, but not as to the

     19    security program that applied at LAX.

     20          And there is a provision of the United States Code and the

     21    Federal Rules of -- I'm sorry, the Code of Federal Regulations,

     22    so the first one is 49 U.S.C. 44903, which is charged in the

     23    indictment, and 49 CFR 1542.101.       And I can provide a written

     24    background on this law, but by law each airport must generate

     25    an airport security program containing the procedures applied




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       1   to control access at the airport.

       2         And Mr. Duretto said he was not an expert in those

       3   procedures.    He was an expert in the TSA Standard Operating

       4   Procedures and an expert in what areas were sterile areas.           And

       5   when I tried to ask him about screening checkpoints and things

       6   at LAX, he said he didn't know, and he didn't know those

       7   provisions under the airport security program at LAX.           And he

       8   told me that every airport has its own airport security

       9   program.

     10          So the Government would need to prove that LAX's airport

     11    security program established procedures and rules for

     12    controlling access to the sterile area, and the Government has

     13    not -- has not made that proof.       It's actually offered no

     14    evidence because Mr. Duretto admitted he was not an expert and

     15    could not provide that testimony.

     16          Finally, I want to argue that I think the law is clear

     17    that a conviction can only be based on any regulation

     18    promulgated under one of the listed statutes.         It cannot be

     19    based on a secret rule, and I think that's what the Standard

     20    Operating Procedures are.      We've heard testimony they are just

     21    guidance and they are an internal guide for the TSA employees.

     22    They don't create requirements for passengers because they're

     23    not published; they are not online.        So I don't see how a

     24    conviction can be based on a violation of a secret rule,

     25    especially when the intent requirements are knowingly and




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       1   willfully and with the intent to evade security.

       2         One moment.

       3         Your Honor, in one of our jury instructions we asked for

       4   an instruction on the joint union of intent and act, and I

       5   think that's really important in this case given that the

       6   testimony is that at the time Mr. Flint entered Terminal 3 at

       7   LAX, he was under escort and instruction and order to do so,

       8   and so I think there's a disjoint there.

       9         And also, the only evidence we've heard is that the

     10    security screening that was -- that might even be close to

     11    having been evaded happened at Midway, and so I don't think --

     12    I don't think that that can show that the intent existed at the

     13    time he entered LAX.      And also, we have testimony that he had a

     14    flight to Minneapolis-St. Paul in the middle, and we have heard

     15    absolutely no evidence from the Government about what happened

     16    at that airport.     So that's an intervening act in the middle of

     17    all of this.    It's not a direct flight from Midway to LAX.         So

     18    I don't think the Government's carried its burden on that

     19    either.

     20          I think that's all I have.

     21                 THE COURT:    Thank you.

     22          So I think certain of the arguments that have been raised

     23    are highly technical and may be meritorious, so the Court is

     24    going to require counsel for the Government to respond in

     25    writing.   We will continue with the trial.        So once the Court




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       1   has the opportunity to review the Government's opposition to

       2   the motion for judgment of acquittal, then I can rule at the

       3   appropriate time.     Tomorrow we should be prepared to -- counsel

       4   should be prepared to argue their case if the Court has not yet

       5   ruled on the motion, and jury instructions should be finalized

       6   also.    So I'm going to go into chambers and start looking at

       7   the jury instructions, and counsel should do the same, and then

       8   we can come out and have a hearing on the jury instructions.

       9           In reference to one of the arguments made by Ms. Wakefield

     10    concerning whether Mr. Flint was removed either through some

     11    type of force or coercion from the airplane itself and then

     12    entered a security area in the airport itself, I think the

     13    testimony that I recall from the witness, and I forget the

     14    gentleman's name, the head of security at LAX, he indicated

     15    that the entire tarmac area is a sterile or secured area, and

     16    so I think that issue is probably resolved based on the

     17    testimony of -- I want to say Mr. Duretto, yes.

     18                 MS. WAKEFIELD:    And, Your Honor, if I can just

     19    briefly respond.     The indictment charges Mr. Flint with

     20    entering Terminal 3 at LAX, and there is a provision of the

     21    statute that says "entering an aircraft."         That is not charged.

     22    So the aircraft provision of the statute is not charged here.

     23    It's that he entered a sterile area of LAX, and as alleged in

     24    the indictment, Terminal 3 at LAX.

     25                 THE COURT:    So the Government needs to prepare a




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       1   response to each of the arguments.

       2                MR. YANNIELLO:    And just for clarification,

       3   Your Honor, there's also testimony that once there's a

       4   deplaning process, then the arm attaches to the plane, that

       5   becomes a sterile area in the terminal.        But as far as what

       6   Your Honor wants the Government to respond, is the defense

       7   going to file a motion and then we are going to respond to the

       8   motion?

       9                THE COURT:    They made their motion.      And what I can

     10    do is order the reporter to provide you a transcript of the

     11    argument that was placed on the record today, and hopefully you

     12    can have it this evening, and then the Court expects an

     13    opposition in response tomorrow.       Okay.

     14                 MR. YANNIELLO:    Thank you, Your Honor.

     15                 THE COURT:    It's not going to be a finalized copy.

     16    It's whatever the reporter was able to achieve here, which

     17    looks pretty good to me here.

     18                 MS. WAKEFIELD:    I have a written background of law

     19    that I can file, if that's helpful.

     20                 THE COURT:    Yes, that would be helpful.

     21          And then so let's look at jury instructions.          So we are in

     22    recess.

     23                 THE COURTROOM DEPUTY:     The Court's in recess.

     24          (Recess taken from 3:48 p.m. to 4:34 p.m.)

     25          (Outside the presence of the jury.)




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       1                THE COURT:    We are back on the record on

       2   United States versus Flint, and we will commence the discussion

       3   regarding jury instructions.

       4          So I have several documents that have been filed here in

       5   reference to the charge to be given to the jury.          I have the

       6   joint proposed jury instructions.       And so the instructions that

       7   the parties have agreed to, and I'm looking at Document Number

       8   95 entitled "Joint Proposed Jury Instructions," the

       9   instructions that the parties have agreed to and which the

     10    Court will give include -- and if you start on page 20 of

     11    Document Number 95:     Instruction 3.1 will be given, Ninth

     12    Circuit Model Instruction; 3.2, presumption of innocence, will

     13    be given.    That will be given.     Defendant's decision not to

     14    testify, I'm not sure that has been decided yet, but if he does

     15    not testify, 3.3 will be given.

     16           And 3.4 should be removed if the defendant does not

     17    testify, and vice versa if he does.        3.6, what is evidence,

     18    will be given.    3.7 will be given.      This is model instruction

     19    3.7.   Next in order would be direct and circumstantial

     20    evidence, based on 3.8.      Credibility of witnesses, based on

     21    model instruction 3.9.

     22           The next would be 3 .18, on or about explained, Ninth

     23    Circuit Model Instruction 3.18.       And then we have testimony --

     24    or I'm sorry, statement by defendant, based on 4.1, that will

     25    be given.    Other crimes, wrongs or acts, 4.3, should be given




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       1   in light of the prior infraction issue.        And then we have

       2   opinion evidence expert witness, based on 4.14, that should be

       3   given.

       4         Then we have duty to deliberate based on 7.1.

       5   Consideration of the evidence; conduct of the jury, based on

       6   instruction 7.2; notes, based on 7.3; punishment, 7.4; and then

       7   the verdict form instruction based on 7.5.         And then the

       8   instruction 7.6, communications with the Court.

       9         So those are instructions that have been agreed to.

     10                  MS. WAKEFIELD:   Yes, Your Honor.     And on

     11    Instruction -- it's Joint Proposed Instruction Number 28 or

     12    Ninth Circuit Model Criminal Instruction 4.14, which deals with

     13    expert testimony.

     14                  THE COURT:   Uh-huh.

     15                  MS. WAKEFIELD:   Only one expert is identified.        I

     16    think there was testimony -- I think Ms. Danishgar's testimony

     17    also was expert testimony, so we would request to add her into

     18    this instruction.

     19                  THE COURT:   That should be accomplished.

     20                  MR. YANNIELLO:   Yes, Your Honor.

     21                  THE COURT:   I don't think it makes that much of a

     22    difference, but that should be accomplished.         That would be

     23    modified.     The Government would be ordered to accomplish the

     24    modification.

     25          Okay.    We go to the more important issues, the disputed




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       1   instructions.    And I have -- so I'm looking at Document -- so I

       2   have the indictment here to refresh my memory regarding the

       3   particular allegations contained therein, and it's Document

       4   Number 15.    And then I'm looking at the Government's disputed

       5   jury instructions and objections to defendant's proposed

       6   instructions, and that's Document Number 96.         And then I'm

       7   looking at defendant's proposed instructions, Document Number

       8   94.   And then we have the objections to the Government's

       9   proposed instructions, Document Number 98.

     10          So I'm going to start with Document Number 96, the

     11    Government's disputed jury instructions and objections to

     12    defendant's proposed instructions.        The first issue has to do

     13    with the reasonable doubt instruction.        The Government has

     14    proposed model instruction 3.5.       The defendants have proposed a

     15    competing reasonable doubt instruction based on O'Malley and

     16    Grenig, modified as based on O'Malley and Grenig.

     17          The Court is going to provide the instruction -- model

     18    instruction 3.5, sustain the Government's objection to the

     19    defendant's reasonable doubt instruction.         I will give the

     20    model instruction 3.5.

     21          The next issue concerns Disputed Instruction Number 2.

     22    Instruction Number 2 is the instruction that references the

     23    elements of the offense.      There are a couple of differences or

     24    distinctions between the competing instruction.          In the

     25    Government's proposed instruction in reference to the first




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       1   element, it references that the Government must prove each of

       2   the following elements beyond a reasonable doubt:          first, on or

       3   about July 25th, 2017, the defendant entered an airport area in

       4   Los Angeles International Airport.

       5         The defendant 's proposed instruction in reference to the

       6   first element identifies the particular area that the defendant

       7   allegedly entered unlawfully, and that would be the sterile

       8   area of Terminal 3 of Los Angeles International Airport.           So

       9   the indictment references that the defendant entered a secured

     10    and sterile area at Los Angeles International Airport.

     11          So unless I hear convincingly from the Government, I'm

     12    going to provide the defendant's proposed instruction at least

     13    as to Element 1.     Is there a reason that the Court should not

     14    do that?

     15                 MR. YANNIELLO:    Your Honor, I would just ask that it

     16    be admitted and say "a secure or sterile area."          I know there

     17    was some testimony from Mr. Duretto about secure areas as well

     18    as sterile areas.

     19                 THE COURT:    I'm sorry, you're --

     20                 MR. YANNIELLO:    Just the addition of "secure or"

     21    before the reference to sterile area.

     22                 THE COURT:    In your proposed instruction you didn't

     23    reference either.     You didn't reference the word or the term

     24    "secured or sterile."     So you're asking that the first element

     25    should read that defendant entered a sterile or secured --




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       1                MR. YANNIELLO:    That's right, Your Honor.

       2                THE COURT:    Of Terminal 3 at Los Angeles

       3   International Airport.

       4                MS. WAKEFIELD:    And I think we would object to the

       5   "or" in that proposal, "secure or sterile."         I think the jury

       6   would have to be unanimous as to whether it's secured or

       7   whether it's sterile.     And we proposed "sterile" because the

       8   regulation that's referenced in 44901 and 44903 refer to a

       9   sterile area, and I believe Mr. Duretto testified that it was a

     10    sterile area, that was the original.

     11                 THE COURT:    I'm not sure there's any distinction

     12    drawn between "sterile" and "secured."        As I understand

     13    Mr. Duretto's testimony and others, the terms are synonymous.

     14                 MR. YANNIELLO:    We will withdraw, Your Honor.

     15    "Secure" is fine -- sorry, "sterile."

     16                 THE COURT:    "Sterile."    So the first element will

     17    read that:    The defendant -- that the Government's proved

     18    beyond a reasonable doubt that on or about July 25th, the

     19    defendant entered a sterile airport area in Los Angeles

     20    International Airport -- sterile area of Terminal 3 at Los

     21    Angeles International Airport.       Okay?

     22          The next element -- the Government's proposed next element

     23    is that defendant did so in violation of the security

     24    requirements and regulations prescribed in 44901 and 44903 of

     25    Title 9 United States Code.      The defendant's proposed second




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       1   element is almost the same.        There's some minor differences.        I

       2   don't -- I think there are distinctions without a difference,

       3   so I would -- unless I hear further from counsel for the

       4   defendant, I'm going to provide the Element Number 2 as offered

       5   by the Government.

       6                MS. WAKEFIELD:    That's fine.    I think that we worded

       7   it the way we did because of sort of later issues with respect

       8   to the regulation that's charged.

       9                THE COURT:    Okay.    So Element Number 2 as offered by

     10    the Government will be provided.

     11          The third element offered by the Government that the

     12    Government must prove beyond a reasonable doubt is that the

     13    defendant acted knowingly and willfully, that is, the defendant

     14    acted both with knowledge that he was entering an airport area

     15    in violation of security requirements and that his conduct was

     16    unlawful.

     17          In the defendant's Proposed Instruction Number 2 you have

     18    divided up the elements, so there is a third element that was

     19    defendant acted knowingly and willfully, and then fourth, that

     20    the defendant acted with intent to evade the particular

     21    security regulation.

     22          So let me hear from Ms. Wakefield on this.

     23                 MS. WAKEFIELD:    Thank you, Your Honor.      This is --

     24    the intent to evade the security regulation is the critical

     25    element because it's what makes this offense a felony as




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       1   opposed to a misdemeanor under the statute.         So if it was just

       2   knowingly and willfully, it would be a misdemeanor violation.

       3   The statute provides that it's only a felony and it raises the

       4   stat max to 10 years if the defendant also acted with the

       5   intent to evade the security regulations.         So we think it's an

       6   important element that the jury needs to be instructed on.

       7                THE COURT:    Government?

       8                MR. YANNIELLO:    Yes, Your Honor.     We think, as we've

       9   noted in our objection, we think this is analogous to a drug

     10    quantity finding where the jury makes the finding on the

     11    verdict form and it's merely a penalty enhancement.          And so

     12    including the fourth element as a -- well, defendant's proposed

     13    fourth element seems inappropriate in this circumstance.

     14                 THE COURT:    I think the Court has to tread

     15    cautiously here, so the Court is going to provide or include

     16    Element Number 3, the third and fourth element as offered by

     17    the defendant.

     18          And then we have the next disputed instruction is the

     19    defendant's proposed instruction regarding entry defined.           The

     20    Government has objected to the defendant's special instruction

     21    on the grounds that the instruction regarding entry is

     22    unnecessary and misleading in that there is no requirement that

     23    the jury unanimously agree as to the precise point of entry.

     24    So long as the jury unanimously finds that the defendant

     25    knowingly and willfully entered a sterile area of LAX and did




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       1   so in violation of the security requirements.

       2         Ms. Wakefield, do you wish to be heard further?

       3                MS. WAKEFIELD:    Yes, Your Honor.     We're concerned

       4   that the jury is going to be tempted to convict Mr. Flint based

       5   on what happened at Midway Airport, and so we -- that's why

       6   we're requesting this instruction, so that it's clear that the

       7   entry is the precise moment at LAX, at the sterile area of

       8   Terminal 3 when he crosses that threshold into the terminal, as

       9   opposed to entering Midway Airport, in violation of the

     10    screening procedures there.

     11                 THE COURT:    So I think the jury would be guided by

     12    Instruction Number 2, which the Court will be giving, which in

     13    reference to Instruction Number 2 -- I'm referring to Disputed

     14    Instruction Number 2 which references that the Government must

     15    prove that on or about July 25th the defendant entered the

     16    sterile area of Terminal 3 at LAX.        That clearly avoids or

     17    eliminates any concern on the part of the defendant or counsel

     18    for the defendant that the jury may be confused here.

     19          So I think that they would not be confused, and the

     20    instruction is not necessary, so the Court will sustain the

     21    Government's objection.

     22          We have the Government's Proposed Instruction Number 4

     23    regarding the federal security requirements and regulations.

     24    And Instruction Number 4 is based on 49 U.S.C. 46314(b)(2),

     25    entering an aircraft or airport security area in violation of




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       1   security requirements, and then the other cited sections that

       2   are too numerous to mention here.

       3         The defendant has -- or defense counsel has provided a

       4   counter or opposing Instruction Number 4, and the Government

       5   has objected.    The basis of the objection includes that the

       6   defendant's proposed instruction focuses solely on

       7   identification requirements, rather than the screening

       8   requirements, that are the core of the case, and it's a

       9   misleading characterization of the security requirements

     10    prescribed in the statute.

     11          I tend to agree, unless I hear further from Ms. Wakefield.

     12                 MS. WAKEFIELD:    Yeah, what we're proposing is to

     13    strike everything that begins with -- that's -- everything

     14    after that section.     So we were just trying to put the entire

     15    regulation in the instruction, but we're proposing striking

     16    everything after "under Title 49 of the Code of Federal

     17    Regulations," et cetera, and then the next sentence and

     18    everything that follows.      So the instruction would be "In order

     19    to find," all the way down to the CFR citation.

     20                 THE COURT:    So I'm looking at your instruction,

     21    Proposed Instruction Number 4.        You would propose modifying it

     22    to eliminate the words -- or beginning on line 15?

     23                 MS. WAKEFIELD:    Line 11.

     24                 THE COURT:    Line 11?

     25                 MS. WAKEFIELD:    Yes.




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       1                THE COURT:    Let's see.

       2                MS. WAKEFIELD:    Let me put it on here.

       3         So everything from here, down.

       4                THE COURT:    But I think the jury would need to be

       5   guided by having additional information provided as to what the

       6   regulations prohibit or require, and if I stop after

       7   referencing Chapter XII, subchapter C, the jury may be

       8   confused.

       9                MS. WAKEFIELD:    So we're confused as well.       So, I

     10    mean, this is the heart of the issue here is this was the

     11    regulation that's charged in the indictment.         So this was where

     12    we are, and I think Title 49 of the CFR, that is the part that

     13    references the airport security program or includes the

     14    reference to the airport security program.         So that was part of

     15    the Rule 29 motion, but I don't think that the procedures under

     16    Title 49 relate to the Department of State's diplomatic notes.

     17    So I don't think the Government is offering an answer either.

     18                 THE COURT:    Okay.   Yes.

     19                 MR. YANNIELLO:    I can offer an answer, Your Honor.

     20                 THE COURT:    Yes.

     21                 MR. YANNIELLO:    The statute states that a person may

     22    not knowingly and willfully enter in violation of security

     23    requirements prescribed under, and then there lists the

     24    enabling statutes.

     25                 THE COURT:    Yes.




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       1                 MR. YANNIELLO:   The Government's proposed

       2   regulations that are listed in the proposed jury instruction

       3   are CFRs that are promulgated pursuant to that regulation.              As

       4   Your Honor notes, the TSA standard operating procedure is

       5   actually also promulgated under those statutes, so it would be

       6   a regulation that falls within what's described in these

       7   enabling statutes.

       8                 THE COURT:   The Court is going to sustain the

       9   Government's objection to defendant's proposed instruction as

     10    offered and modified.      The Court will be giving the

     11    Government's Proposed Instruction Number 4.

     12                  MS. WAKEFIELD:   There were a few other objections,

     13    Your Honor, to Government's Proposed Number 4, if I may.

     14                  THE COURT:   Yes, please.

     15                  MS. WAKEFIELD:   Well, I mean, the first is the

     16    circumventing or attempting to circumvent any security system,

     17    measure or procedure implemented to protect passengers or

     18    property on an aircraft, that's not charged in the indictment.

     19          And I actually brought the grand jury transcript with me

     20    to show the Court that is never referenced in the grand jury

     21    testimony, but, one, what is referenced is submitting to

     22    screening and inspection of his or her person and accessible

     23    property.    That's 1540.107(a).

     24          So the other two that follow, they're not charged in the

     25    indictment.    They weren't referenced in the complaint.         They




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       1   weren't presented to the grand jury.        And so we think that

       2   adding these will constitute a constructive amendment or fatal

       3   variance to the indictment.      And, also, they're phrased in the

       4   alternative, so the jury could find and not be unanimous as to

       5   which violation -- as to which regulation Mr. Flint's entry

       6   violated.

       7         So I think there are a few issues with instructing the

       8   jury in the alternative as to these uncharged regulations.           So

       9   if the Court is inclined to give the Government's instruction,

     10    we would ask that it end at -- on line 10, after the first

     11    option there, which is the one that's charged in the indictment

     12    and was presented to the grand jury.

     13                 THE COURT:    Well, that seems to make some sense, but

     14    let me hear from Mr. Yanniello.

     15                 MR. YANNIELLO:    So, Your Honor, what the defense

     16    counsel is trying to do here is they're focused on the term

     17    "submitting," and they may argue, "Well, he actually was never

     18    asked to submitted to anything except in Midway," and that,

     19    actually, I think would create the venue issue that counsel is

     20    concerned about.     There's the second CFR that the Government

     21    cites -- I'm sorry.     The third, which is -- let me make sure I

     22    have it right.

     23          It states:    No person may enter or be present within a

     24    sterile area without complying with procedures being applied to

     25    control access to such area, and that is 49 CFR 1540.105(a)(2).




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       1   And what that covers is the situation here that's charged in

       2   the indictment, where the specific language in the indictment

       3   is that the defendant entered a secure and sterile area of

       4   Terminal 3 carrying an item that had not been screened or

       5   inspected by TSA security administration.         So there's no

       6   reference to simply he didn't submit the bag for screening, but

       7   he also circumvented the security requirements.          And then when

       8   he entered LAX, he didn't comply with the requirements required

       9   for screening at the airport, so he was still in violation of

     10    security requirements.

     11                 THE COURT:    Why do you need -- in reference to the

     12    Government's proposed instruction, I'm looking at line -- on

     13    line 12, the last reference to entering a sterile area without

     14    complying with the procedures being applied to that area when

     15    you have numbered paragraph number 2, which references

     16    circumventing or attempting to circumvent any security measure

     17    or procedure implemented to protect passengers and property on

     18    an aircraft?

     19                 MR. YANNIELLO:    I acknowledge, Your Honor, there is

     20    some overlap there.     I think that the -- the second regulation,

     21    even though we proposed entering, it covers entering or being

     22    present.   I think it's a broader, more --

     23                 THE COURT:    So if I only give one -- paragraph

     24    numbered 1, the sentence number 1, and not the others, your

     25    concern is what?




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       1                MR. YANNIELLO:    My concern is that it may open the

       2   door for the defense making an argument that somebody could

       3   simply fly into another airport and have violated all kinds of

       4   security procedures, and even --

       5                THE COURT:    I don't understand the argument, so --

       6                MR. YANNIELLO:    Well -- so the argument is without

       7   complying -- without submitting to screening and inspection of

       8   his or her person, that it may -- it would mislead the jury

       9   because it opens the door for an argument that "Well, he wasn't

     10    asked to submit for screening because he landed.          He wasn't

     11    necessarily going through a checkpoint," and I think that would

     12    be incredibly misleading to the jury to not also be alerted to

     13    that you violate security procedures simply by not complying

     14    with the requirements for any entry into that area.

     15                 MS. WAKEFIELD:    And, Your Honor, if I may, we did

     16    file a motion for both particulars a long time ago.          This was

     17    entering the sterile area without submitting was the regulation

     18    that was identified by the Government.        Also, in the Court's

     19    order, Document Number 57, the Court construed the statute and

     20    the operative regulation 49 CFR 1540.107.

     21          The Government for the first time presented this

     22    regulation to us when it sent us its jury instructions and then

     23    filed them that same day.      So this regulation, the 1540.105,

     24    has never been a part of this case.        It wasn't presented to the

     25    grand jury, and the first time it was ever raised as a




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       1   potential violation was on October 12th.

       2           And so we've already gone through this, and the Court's

       3   already made its decision, and I also have the grand jury

       4   transcript where the agent is asked "Under federal law, are

       5   persons required to submit to screening and inspection of their

       6   persons and personal belongings at the airport?"          And that's

       7   essentially asking about this regulation, entering a sterile

       8   area without submitting to the screening and inspection of

       9   their person and accessible property.

     10                 THE COURT:    Any response?

     11                 MR. YANNIELLO:    Yes, Your Honor.

     12            I think that the -- again, looking at the transcript -- or

     13    looking at the grand jury transcript -- and I actually don't

     14    think that the Government made the representation that counsel

     15    made.    I don't have our bill of particulars on file, but

     16    without submitting to security procedures, I think, again, it

     17    covers -- having the second regulation referenced, and that's

     18    the Element 3 here, entering a sterile area without complying

     19    with the procedures being applied to that area, it covers

     20    the -- it makes clear that if you carry an unscreened bag into

     21    a sterile area, no matter how you get it in there, you're

     22    violating security requirements, and I think that's a clear --

     23                 THE COURT:    I think the Court is going to have to

     24    make a decision here, but I think Government's Proposed

     25    Instruction Number 4 would be consistent with the Instruction




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       1   Number 2, which the Court will be giving.         So the Court will

       2   overrule the objection of the defense.

       3                MS. WAKEFIELD:    I have a few more objections.         I'm

       4   really sorry, Your Honor.

       5                THE COURT:    Feel free.

       6                MS. WAKEFIELD:    We also objected to including

       7   instructing the jury that Chicago O'Hare Airport and Chicago

       8   Midway International Airport are airports for the purposes of

       9   these regulations.     Those are not the charged airports, so I

     10    don't think the jury should be instructed.         I think it's

     11    misleading about what is actually the charge here and where it

     12    occurred.

     13                 THE COURT:    Well, Instruction Number 2 I think

     14    guides the jury, so your additional objection would be

     15    overruled.

     16                 MS. WAKEFIELD:    And then we would object to -- in

     17    addition to objecting to everything, but we would also object

     18    to instructing the jury about the testimony provided by

     19    Mr. Duretto.    I think his testimony should stand for itself,

     20    and I don't think the jury should be instructed as to that

     21    testimony.

     22          And then finally, the diplomatic pouches section and

     23    beyond, that's all based on the diplomatic note on the state

     24    department's website.     A diplomatic note is not law.       It's

     25    correspondence between the U.S. government and foreign




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       1   governments, and so I don't think it's proper to instruct the

       2   jury about the contents of a correspondence between two

       3   countries.

       4                THE COURT:    The Court will strike on line 20,

       5   beginning with the words "You have heard testimony," that will

       6   be eliminated through line 23, ending with "an airport."

       7         And then in reference to the objections to the definition

       8   of diplomatic pouches and the other language that's contained

       9   therein, do you have any comment?

     10                 MR. YANNIELLO:    Yes, Your Honor.     So the -- if the

     11    SOP isn't cited here, the SOP is consistent with the

     12    requirements that are required by the state department, they're

     13    actually created to comply with the state department

     14    requirements.    So the Government stands by the proposed

     15    language.

     16                 THE COURT:    Yes.   And the remainder of the defense

     17    objection would be overruled.       The Court would provide the

     18    instruction as offered by the Government, with the exception of

     19    the sentence "You have heard," beginning with "You have heard"

     20    and then ending with "an airport," lines 20 through 23.

     21          Then we go to -- let's see.       Then we have Defendant's

     22    Proposed Instruction Number 5, third element, knowingly and

     23    willfully defined.     The Government's objection here is that the

     24    instruction is, I guess, too long and confusing, and the

     25    offense -- the elements of the offense sufficiently cover the




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       1   definition of knowingly and willfully.

       2         And then in the instructions that the Court will be

       3   giving, the jury would be instructed that the defendant must

       4   have acted deliberately with knowledge both that he was

       5   entering an airport area in violation of security requirements

       6   and that his conduct was unlawful.

       7         So why do you need this additional instruction?

       8                MS. WAKEFIELD:    The Ninth Circuit defines knowingly

       9   in an instruction, so we think it should be given since that's

     10    one of the intent elements of the offense.         And then willfully,

     11    in terms of our instruction, it's not that different from the

     12    Government's with respect to the first sentence.          So an act is

     13    done willfully if committed voluntarily with knowledge that it

     14    was prohibited by law and with the purpose of violating the law

     15    and not by mistake, accident or good faith.

     16          And then the good faith -- good-faith defense, which is

     17    recognized in the Ninth Circuit, added in that definition

     18    because it's the Government's burden to prove beyond a

     19    reasonable doubt that he did not have a good-faith belief.

     20                 THE COURT:    And certainly one of the focal points of

     21    the defense here is defendant's good faith.

     22          Do you have anything else to add?

     23                 MR. YANNIELLO:    Yes, just quickly, Your Honor.

     24          Given that the Court has ruled that the fourth element

     25    will be included, this attempt to evade security procedures, I




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       1   think that the jury is just going to be left with flipping

       2   through different instructions.       And I'm reading this, and when

       3   we were responding to it, it took me four or five times reading

       4   it.   I think just telling the jury they must act deliberately

       5   and with knowledge that they are violating the law and their

       6   conduct is unlawful is sufficient.

       7                THE COURT:    I think the instruction is a bit

       8   redundant, but I don't see it as prejudicing the Government.

       9   So the instruction -- Defense Instruction Number 5, which is

     10    important to the defendant's claim of good faith, I think

     11    should be given.     So I will give that instruction.

     12          Then we have Instruction Number -- Defendant's Proposed

     13    Instruction Number 6, defendant acts with intent to evade

     14    particular security regulation if he knows about the specific

     15    regulation and purposely violates it, and the Government has

     16    objected.    And the objection includes that there is no

     17    requirement that he be aware of the specific regulation.           And

     18    the Court is going to sustain the Government's objection to

     19    number 6.

     20          And then we have this joint union act and intent,

     21    Instruction Number 7 offered by the defense.         The Government

     22    has objected to it as being confusing and unnecessary.

     23          And then, Ms. Wakefield, do you wish to be heard on this

     24    last one?

     25                 MS. WAKEFIELD:    I think I articulated our concern in




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       1   this case, that we are concerned that the intent and that the

       2   act don't match up in terms of the Government's theory and the

       3   difference it will make to the jury.        We think that the

       4   Government will argue that the intent occurred in Chicago and

       5   the act occurred in L.A., so we think the jury should be

       6   instructed on that the act and the intent need to occur at the

       7   same time.

       8                 THE COURT:   The act and intent may have started in

       9   Chicago, and if the Government's witnesses are believed by the

     10    jury, continued all the way through LAX.

     11          Do you wish to be heard?      What's your concern here?

     12                  MR. YANNIELLO:   The concern is just, I guess, the

     13    cumulative effect of the different proposed jury instructions

     14    by the defense, that there are multiple mens rea components,

     15    and now there is something else they are going to muddy the

     16    waters with.

     17                  THE COURT:   They're not -- they're trying to, I

     18    think, provide a vigorous defense for their client, and so --

     19                  MR. YANNIELLO:   That's understandable, Your Honor.

     20    I guess our position --

     21                  THE COURT:   The question is whether it's going to

     22    confuse the jury.

     23                  MR. YANNIELLO:   And I think it will.

     24                  THE COURT:   So the Court will sustain the objection.

     25          Okay.    So it will be up to the Government to put the




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       1   instructions in order so that we have a final set of

       2   instructions that I can instruct the jury tomorrow.          Hopefully

       3   we can start that -- the Court would intend to instruct before

       4   argument of counsel.

       5           And then how much time do you anticipate argument will

       6   take?    How much time do you need, Ms. Wakefield?

       7                MS. WAKEFIELD:    Mr. Harbaugh suggested 45 minutes.

       8                THE COURT:    Who will be providing the argument?

       9   Mr. Harbaugh?

     10                 MR. HARBAUGH:    Yes, Your Honor.

     11                 THE COURT:    How much time do you need, Mr. Harbaugh?

     12                 MR. HARBAUGH:    45.

     13                 THE COURT:    45 minutes.

     14            And the Government?

     15                 MR. YANNIELLO:    I will be arguing, Your Honor.       I

     16    think less than that combined.

     17                 THE COURT:    Who is going to be providing rebuttal

     18    argument?

     19                 MR. YANNIELLO:    I will.

     20                 THE COURT:    So you can reserve any portion of your

     21    45 minutes for rebuttal.      So it's up to you.

     22            And then when can the Government provide an opposition or

     23    response to the motion for judgment of acquittal?

     24                 MR. YANNIELLO:    So, Your Honor, we were going to

     25    raise that with you.      We can get it done -- I mean, it's --




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       1   they've raised pretty substantial arguments.         There's four, I

       2   believe, arguments they are making.        When would the Court like

       3   us to file something?

       4                THE COURT:    Well, look, I recognize the time crunch,

       5   but certainly sometime tomorrow, early tomorrow.          So what do

       6   you suggest?

       7                MR. YANNIELLO:    How about the close of business

       8   tomorrow?

       9                THE COURT:    I think why don't we set it for 1:30

     10    tomorrow.

     11                 MR. YANNIELLO:    Okay.   Your Honor.

     12                 THE COURT:    I would like to be able to rule on these

     13    issues in the afternoon.

     14                 MS. WAKEFIELD:    Does the Court want a copy of the

     15    grand jury transcripts, or does the Court have that?

     16                 THE COURT:    I think that would be helpful, a copy of

     17    the grand jury transcripts.

     18          One concern that I have is what happened between Midway

     19    and LAX in terms of the stop and whether the defendant went

     20    through another screening process there, so --

     21                 MR. YANNIELLO:    Would you like me to respond?

     22                 THE COURT:    Yes, I would like your thoughts on that.

     23                 MR. YANNIELLO:    I think the inference drawn from the

     24    evidence and that's presented is that the defendant stayed

     25    within a sterile area and boarded another aircraft to get to




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       1   L.A., so --

       2                 THE COURT:   How do we know that?     What's the

       3   timeline?    Timeline would be important.      One inference is

       4   that -- I can extrapolate from personal experience that when

       5   you have a stop before your final destination, you generally

       6   stay in the sterile area, but if there's a long period of time,

       7   sometimes you leave the sterile area and you exit the airport

       8   and then you return.

       9                 MR. YANNIELLO:   We do have the flight record, and we

     10    are pulling it, Your Honor.

     11                  MR. HARBAUGH:    It wasn't introduced at trial, so you

     12    can't add to the case now.

     13                  THE COURT:   So it's something you should be prepared

     14    to address in your pleading, so okay.        We have other matters to

     15    handle.

     16                  MS. WAKEFIELD:   Thank you, Your Honor.

     17                  MR. HARBAUGH:    Thank you, Your Honor.

     18                  MS. RO:   I believe there is a dispute with the

     19    verdict form still.

     20                  THE COURT:   We will have to address that tomorrow.

     21    I have two other matters to handle.

     22                  MS. RO:   Yes, Your Honor, yes.

     23                    (Proceedings concluded at 5:16 p.m.)

     24                                   ---oOo---

     25




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       1                     CERTIFICATE OF OFFICIAL REPORTER

       2

       3   COUNTY OF LOS ANGELES      )
                                      )
       4   STATE OF CALIFORNIA        )

       5

       6                I, CAROL JEAN ZURBORG, Federal Official Realtime

       7   Court Reporter, in and for the United States District Court for

       8   the Central District of California, do hereby certify that

       9   pursuant to Section 753, Title 28, United States Code that the

     10    foregoing is a true and correct transcript of the

     11    stenographically reported proceedings held in the

     12    above-entitled matter and that the transcript page format is in

     13    conformance with the regulations of the judicial conference of

     14    the United States.

     15

     16    Date:   October 29, 2018

     17

     18

     19                                    /s/ CAROL JEAN ZURBORG

     20                        CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
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     21

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                               UNITED STATES DISTRICT COURT
